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 &lt;div class="ldml-decision"&gt;&lt;div class="ldml-decision"&gt;&lt;div class="ldml-header header ldml-header content__heading content__heading--depth1" data-content-heading-label="Header" data-refglobal="case:inrethemarriageoflafleurvpyfercaseno19sc1004479p3d869january11,2021"&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-cite"&gt;&lt;b class="ldml-bold"&gt;479 P.3d 869&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-party"&gt;In re the Marriage of &lt;span class="ldml-name"&gt;Dean LAFLEUR&lt;/span&gt;, &lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt;,&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;v.&lt;/b&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-party"&gt;&lt;span class="ldml-name"&gt;Timothy PYFER&lt;/span&gt;, &lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;Supreme Court &lt;span class="ldml-cite"&gt;Case No. 19SC1004&lt;/span&gt; &lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;b class="ldml-bold"&gt;&lt;span class="ldml-court"&gt;Supreme Court of Colorado&lt;/span&gt;.&lt;/b&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;January 11, 2021&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;p class="ldml-metadata"&gt;&lt;span class="ldml-date"&gt;&lt;b class="ldml-bold"&gt;Rehearing Denied February 16, 2021&lt;/b&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-counsel header ldml-header content__heading content__heading--depth1" data-content-heading-label="Counsel"&gt;&lt;p data-paragraph-id="195" class="ldml-paragraph no-indent mt-2"&gt;&lt;span data-paragraph-id="195" data-sentence-id="195" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Petitioner&lt;/span&gt;&lt;/span&gt;: &lt;span class="ldml-entity"&gt;Antolinez Miller, LLC&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Joseph H. Antolinez&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Melissa E. Miller&lt;/span&gt;&lt;/span&gt;, Centennial, Colorado, &lt;span class="ldml-lawfirm"&gt;Azizpour Donnelly, LLC&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Katayoun A. Donnelly&lt;/span&gt;&lt;/span&gt;, Denver, Colorado&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="368" class="ldml-paragraph no-indent mt-2"&gt;&lt;span data-paragraph-id="368" data-sentence-id="368" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-entity"&gt;&lt;span class="ldml-role"&gt;Respondent&lt;/span&gt;&lt;/span&gt;: &lt;span class="ldml-lawfirm"&gt;Law Offices of Rodger C. Daley&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Rodger C. Daley&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Carrie Vonachen&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Dorian Geisler&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-lawfirm"&gt;Denver, Colorado, Reilly LLP&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;John M. McHugh&lt;/span&gt;&lt;/span&gt;, Denver, Colorado&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="538" class="ldml-paragraph no-indent mt-2"&gt;&lt;span data-paragraph-id="538" data-sentence-id="538" class="ldml-sentence"&gt;Attorneys for &lt;span class="ldml-lawyerrole"&gt;Amici Curiae&lt;/span&gt; the &lt;span class="ldml-entity"&gt;Colorado LGBT Bar Association&lt;/span&gt;; the &lt;span class="ldml-entity"&gt;Colorado Women's Bar Association&lt;/span&gt;; &lt;span class="ldml-lawfirm"&gt;Lambda Legal&lt;/span&gt; Defense and Education Fund, Inc.; and the &lt;span class="ldml-lawfirm"&gt;National Center for Lesbian Rights&lt;/span&gt;: &lt;span class="ldml-lawfirm"&gt;Lambda Legal&lt;/span&gt; Defense and Education Fund, Inc., &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Shelly L. Skeen&lt;/span&gt;&lt;/span&gt;, Dallas, Texas, &lt;span class="ldml-lawfirm"&gt;Hogan Lovells US LLP&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-lawyer"&gt;Mark D. Gibson&lt;/span&gt;&lt;/span&gt;, Denver, Colorado&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;h2 class="ldml-opinionheading"&gt;&lt;span data-paragraph-id="862" class="ldml-paragraph "&gt;&lt;span class="ldml-judgepanel"&gt;&lt;span data-paragraph-id="862" data-sentence-id="862" class="ldml-sentence"&gt;En Banc&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/h2&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="869" class="ldml-paragraph no-indent mt-4"&gt;&lt;span class="ldml-opinionauthor content__heading content__heading--depth1" data-content-heading-label="Opinion (MÁRQUEZ, BOATRIGHT)"&gt;&lt;span data-paragraph-id="869" data-sentence-id="869" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;MÁRQUEZ&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-opiniontype"&gt;delivered &lt;span class="ldml-entity"&gt;the Opinion of &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="920" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="920" data-sentence-id="920" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_920"&gt;&lt;span class="ldml-cite"&gt;¶1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In &lt;span class="ldml-entity"&gt;2018&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Respondent&lt;/span&gt; &lt;span class="ldml-entity"&gt;Timothy Pyfer&lt;/span&gt; filed a dissolution of marriage petition, alleging that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; had entered into a common law marriage with his same-sex partner, &lt;span class="ldml-entity"&gt;Petitioner&lt;/span&gt; &lt;span class="ldml-entity"&gt;Dean LaFleur&lt;/span&gt;, when &lt;span class="ldml-entity"&gt;they&lt;/span&gt; held a ceremony before family and friends on &lt;span class="ldml-entity"&gt;November 30, 2003&lt;/span&gt;, and exchanged vows and rings.&lt;/span&gt; &lt;span data-paragraph-id="920" data-sentence-id="1211" class="ldml-sentence"&gt;LaFleur countered that Pyfer's claim was legally impossible because at the time of the &lt;span class="ldml-entity"&gt;2003&lt;/span&gt; ceremony, Colorado did not recognize same-sex marriages.&lt;/span&gt; &lt;span data-paragraph-id="920" data-sentence-id="1360" class="ldml-sentence"&gt;In the interim, however, the &lt;span class="ldml-entity"&gt;U.S. Supreme Court&lt;/span&gt; held that same-sex couples may exercise the fundamental right to marry and struck down state laws that excluded same-sex couples from civil marriage as unconstitutional.&lt;/span&gt; &lt;span data-paragraph-id="920" data-sentence-id="1578" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_1360"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell v. Hodges&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;576 U.S. 644, 674–75&lt;/span&gt;, &lt;span class="ldml-cite"&gt;135 S.Ct. 2584&lt;/span&gt;, &lt;span class="ldml-cite"&gt;192 L.Ed.2d 609&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2015&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="920" data-sentence-id="1663" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; accepted jurisdiction over &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;C.A.R. 50&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to address &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-val="874" data-id="pagenumber_1730" data-rep="P.3d" data-vol="479"&gt;&lt;/span&gt; whether, in light of &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_1663"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , a same-sex couple may prove a common law marriage entered in Colorado &lt;i class="ldml-italics"&gt;before&lt;/i&gt; &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; recognized same-sex couples’ fundamental right to marry.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="1908" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="1908" data-sentence-id="1908" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_1908"&gt;&lt;span class="ldml-cite"&gt;¶2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;This case&lt;/span&gt; is one of three &lt;span class="ldml-entity"&gt;we&lt;/span&gt; announce today addressing common law marriage in Colorado.&lt;/span&gt; &lt;span data-paragraph-id="1908" data-sentence-id="1999" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895630156" data-vids="895630156" class="ldml-reference" data-prop-ids="sentence_1908"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;In re Marriage of Hogsett &amp; Neale&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;2021 CO 1&lt;/span&gt;, &lt;span class="ldml-cite"&gt;478 P.3d 713&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895054554" data-vids="895054554" class="ldml-reference" data-prop-ids="sentence_1908"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;In re Estate of Yudkin&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;2021 CO 2&lt;/span&gt;, &lt;span class="ldml-cite"&gt;478 P.3d 713&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="1908" data-sentence-id="2116" class="ldml-sentence"&gt;In &lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895630156" data-vids="895630156" class="ldml-reference" data-prop-ids="sentence_2116"&gt;&lt;span class="ldml-refname"&gt;Hogsett&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; &lt;span class="ldml-entity"&gt;we&lt;/span&gt; refine the test for establishing a common law marriage first articulated in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888175630" data-vids="888175630" class="ldml-reference" data-prop-ids="sentence_2116"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;People v. Lucero&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;747 P.2d 660&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, to reflect changed circumstances since that decision, including the recognition of same-sex marriage.&lt;/span&gt; &lt;span data-paragraph-id="1908" data-sentence-id="2355" class="ldml-sentence"&gt;Like &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895630156" data-vids="895630156" class="ldml-reference" data-prop-ids="sentence_2355"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Hogsett&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; involves a same-sex relationship predating &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_2355"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; .&lt;/span&gt; &lt;span data-paragraph-id="1908" data-sentence-id="2435" class="ldml-sentence"&gt;But &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; raises a threshold question that no &lt;span class="ldml-entity"&gt;party&lt;/span&gt; contested in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895630156" data-vids="895630156" class="ldml-reference" data-prop-ids="sentence_2435"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Hogsett&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; : whether a same-sex couple may be deemed to have entered into a common law marriage pre- &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_2435"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; .&lt;a href="#note-fr1" class="ldml-noteanchor" id="note-ref-fr1"&gt;1&lt;/a&gt;&lt;/span&gt; &lt;/p&gt;&lt;p data-paragraph-id="2615" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="2615" data-sentence-id="2615" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2615"&gt;&lt;span class="ldml-cite"&gt;¶3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; hold that &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; may recognize a common law same-sex marriage entered in Colorado before &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; recognized same-sex couples’ fundamental right to marry.&lt;/span&gt; &lt;span data-paragraph-id="2615" data-sentence-id="2778" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; reach this conclusion for two reasons.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="2819" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="2819" data-sentence-id="2820" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_2820"&gt;&lt;span class="ldml-cite"&gt;¶4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; First, as stated, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_2820"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; struck down state laws that excluded same-sex couples from civil marriage as unconstitutional.&lt;/span&gt; &lt;span data-paragraph-id="2819" data-sentence-id="2947" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_2820"&gt;&lt;span class="ldml-cite"&gt;576 U.S. at 674–75&lt;/span&gt;, &lt;span class="ldml-cite"&gt;135 S.Ct. 2584&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="2819" data-sentence-id="2983" class="ldml-sentence"&gt;The general rule is that &lt;span class="ldml-entity"&gt;a statute&lt;/span&gt; that is declared unconstitutional is void &lt;span class="ldml-entity"&gt;ab&lt;/span&gt; initio; it is inoperative as if it had never been enacted.&lt;/span&gt; &lt;span data-paragraph-id="2819" data-sentence-id="3122" class="ldml-sentence"&gt;Consequently, state law restrictions held unconstitutional in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_3122"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; cannot serve as an impediment to the recognition of a same-sex marriage predating that decision.&lt;/span&gt; &lt;span data-paragraph-id="2819" data-sentence-id="3292" class="ldml-sentence"&gt;Indeed, recognition of a same-sex marriage is the remedy for a state's earlier violation of the couple's constitutional rights.&lt;/span&gt; &lt;span data-paragraph-id="2819" data-sentence-id="3420" class="ldml-sentence"&gt;Moreover, because &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_3420"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; held that states must allow same-sex couples to enter marriages on the same terms and conditions as different-sex couples, and because Colorado recognizes common law marriages between different-sex couples, it therefore must also recognize such marriages between same-sex couples—including those entered into pre- &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_3420"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; .&lt;/span&gt; &lt;span data-paragraph-id="2819" data-sentence-id="3776" class="ldml-sentence"&gt;Of course, to be recognized as a bona fide common law marriage, the relationship must satisfy the updated test &lt;span class="ldml-entity"&gt;we&lt;/span&gt; articulate today in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895630156" data-vids="895630156" class="ldml-reference" data-prop-ids="sentence_3776"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Hogsett&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;i class="ldml-italics"&gt;.&lt;/i&gt;&lt;/span&gt; &lt;span data-paragraph-id="2819" data-sentence-id="3920" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_3926,sentence_3776"&gt;&lt;span class="ldml-cite"&gt;¶ 49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[A]&lt;/span&gt; common law marriage may be established by the mutual consent or agreement of the couple to enter the legal and social institution of marriage, followed by conduct manifesting that mutual agreement.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;The key question is whether &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; mutually intended to enter a &lt;i class="ldml-italics"&gt;marital&lt;/i&gt; relationship—that is, to share a life together as spouses in a committed, intimate relationship of mutual support and mutual obligation."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;span data-paragraph-id="2819" data-sentence-id="4344" class="ldml-sentence"&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="4345" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="4345" data-sentence-id="4346" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4346"&gt;&lt;span class="ldml-cite"&gt;¶5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Second, to the extent &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_4346"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; did not merely recognize an existing fundamental right to marry but announced a new rule of federal law, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that the decision applies retroactively to marriages &lt;span class="ldml-parenthetical"&gt;(including common law marriages)&lt;/span&gt; predating that decision.&lt;/span&gt; &lt;span data-paragraph-id="4345" data-sentence-id="4610" class="ldml-sentence"&gt;Under &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;'s retroactivity jurisprudence in the civil law context, when &lt;span class="ldml-entity"&gt;the Supreme Court&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"applies a rule of federal law to &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; before it, that rule ... must be given full retroactive effect in all &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; still open on direct review and as to all events, regardless of whether such events predate or postdate &lt;span class="ldml-parenthetical"&gt;[the &lt;span class="ldml-entity"&gt;Court&lt;/span&gt;'s]&lt;/span&gt; announcement of the rule."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="4345" data-sentence-id="4972" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_4610" data-refglobal="case:harpervvirginiadeptoftaxation,509us86,97,113sct2510,125led2d74113sct2510509us86,113sct2510,125led2d741993"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Harper v. Va. Dep't of Tax'n&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;509 U.S. 86, 97&lt;/span&gt;, &lt;span class="ldml-cite"&gt;113 S.Ct. 2510&lt;/span&gt;, &lt;span class="ldml-cite"&gt;125 L.Ed.2d 74&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1993&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="4345" data-sentence-id="5059" class="ldml-sentence"&gt;Because &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_5059"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Court&lt;/span&gt; applied its rule of federal law to the litigants before it, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;'s holding in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_5059"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; that restrictions on same-sex marriages are unconstitutional must be given retroactive effect.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="5293" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="5293" data-sentence-id="5294" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5294"&gt;&lt;span class="ldml-cite"&gt;¶6&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; agree with &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; that &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; here were not, as a matter of law, barred from entering into a common law marriage in &lt;span class="ldml-entity"&gt;2003&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="5293" data-sentence-id="5452" class="ldml-sentence"&gt;Applying the refined test announced today in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895630156" data-vids="895630156" class="ldml-reference" data-prop-ids="sentence_5452"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Hogsett&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; for determining whether a couple has entered into a common law marriage, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; uphold &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s determination that &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; entered into a common law marriage.&lt;/span&gt; &lt;span data-paragraph-id="5293" data-sentence-id="5676" class="ldml-sentence"&gt;However, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reverse &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s division of property and award of spousal maintenance and remand for further findings in &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-val="875" data-id="pagenumber_5797" data-rep="P.3d" data-vol="479"&gt;&lt;/span&gt; accordance with &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5676"&gt;&lt;span class="ldml-cite"&gt;sections 14-10-113&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and - 114, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2020&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-content-heading-label="I. Facts and Procedural History" data-types="background" data-format="upper_case_roman_numeral" data-ordinal_end="1" data-confidences="very_high" data-id="heading_5858" data-value="I. Facts and Procedural History" data-specifier="I" data-ordinal_start="1" id="heading_5858" data-parsed="true"&gt;&lt;span data-paragraph-id="5858" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="5858" data-sentence-id="5858" class="ldml-sentence"&gt;I.&lt;/span&gt; &lt;span data-paragraph-id="5858" data-sentence-id="5861" class="ldml-sentence"&gt;Facts and Procedural History&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="5889" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="5889" data-sentence-id="5889" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_5889"&gt;&lt;span class="ldml-cite"&gt;¶7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; On &lt;span class="ldml-entity"&gt;January 19, 2018&lt;/span&gt;, &lt;span class="ldml-entity"&gt;Timothy Pyfer&lt;/span&gt; filed a dissolution of marriage petition, alleging that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; and his same-sex partner, &lt;span class="ldml-entity"&gt;Dean LaFleur&lt;/span&gt;, had entered into a common law marriage on &lt;span class="ldml-entity"&gt;November 30, 2003&lt;/span&gt;, when &lt;span class="ldml-entity"&gt;they&lt;/span&gt; held a ceremony.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="6113" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="6113" data-sentence-id="6113" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6113"&gt;&lt;span class="ldml-cite"&gt;¶8&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; LaFleur argued that, as a matter of law, the couple could not have entered into a common law marriage because &lt;span class="ldml-quotation quote"&gt;"same sex marriages were not recognized or protected under Colorado law"&lt;/span&gt; at that time.&lt;/span&gt; &lt;span data-paragraph-id="6113" data-sentence-id="6313" class="ldml-sentence"&gt;LaFleur further argued that, as a matter of fact, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; and Pyfer did not mutually agree to enter into a common law marriage, as required under the test articulated in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888175630" data-vids="888175630" class="ldml-reference" data-prop-ids="sentence_6313"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Lucero&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; .&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="6486" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="6486" data-sentence-id="6486" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_6486"&gt;&lt;span class="ldml-cite"&gt;¶9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Following an evidentiary hearing during which &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; heard testimony from &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; and several of their family members and friends, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; held that Pyfer and LaFleur entered into a common law marriage on &lt;span class="ldml-entity"&gt;November 30, 2003&lt;/span&gt;, the date of the ceremony.&lt;/span&gt; &lt;span data-paragraph-id="6486" data-sentence-id="6757" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; acknowledged that same-sex marriage was not recognized in Colorado until at least &lt;span class="ldml-entity"&gt;2014&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="6486" data-sentence-id="6855" class="ldml-sentence"&gt;It reasoned, however, that same-sex couples’ ability to marry was eventually &lt;span class="ldml-quotation quote"&gt;"recognized as a fundamental right that could not be denied"&lt;/span&gt; and that this right was not &lt;span class="ldml-quotation quote"&gt;"suddenly created"&lt;/span&gt; but &lt;span class="ldml-quotation quote"&gt;"existed prior to &lt;span class="ldml-entity"&gt;2014&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="6486" data-sentence-id="7069" class="ldml-sentence"&gt;Thus, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; concluded, Pyfer and LaFleur could enter into a common law marriage before Colorado recognized same-sex couples’ right to marry.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="7213" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="7213" data-sentence-id="7213" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_7213"&gt;&lt;span class="ldml-cite"&gt;¶10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The court&lt;/span&gt; acknowledged that it had to decide &lt;span class="ldml-quotation quote"&gt;"whether one can exhibit the intent to be married &lt;span class="ldml-parenthetical"&gt;[for purposes of establishing a common law marriage]&lt;/span&gt; when such a relationship is not cognizable under the law."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="7213" data-sentence-id="7424" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; then weighed the evidence from the hearing to determine &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;’ intent to enter a marital relationship.&lt;/span&gt; &lt;span data-paragraph-id="7213" data-sentence-id="7543" class="ldml-sentence"&gt;It found that Pyfer proposed marriage to LaFleur and that Pyfer intended to be married.&lt;/span&gt; &lt;span data-paragraph-id="7213" data-sentence-id="7631" class="ldml-sentence"&gt;LaFleur accepted the proposal in front of Pyfer's &lt;span class="ldml-entity"&gt;sister&lt;/span&gt;, and &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; later participated in a ceremony in which &lt;span class="ldml-entity"&gt;they&lt;/span&gt; exchanged vows and rings before family and friends.&lt;/span&gt; &lt;span data-paragraph-id="7213" data-sentence-id="7804" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; noted that this ceremony &lt;span class="ldml-quotation quote"&gt;"certainly appear&lt;span class="ldml-parenthetical"&gt;[ed]&lt;/span&gt; to be a wedding."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="7213" data-sentence-id="7879" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; highlighted photographs in evidence showing that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;here were rings, tuxes, attendance &lt;span class="ldml-parenthetical"&gt;[by friends and family]&lt;/span&gt;, &lt;span class="ldml-parenthetical"&gt;[a]&lt;/span&gt; toast, vows, &lt;span class="ldml-parenthetical"&gt;[and]&lt;/span&gt; a reverend,"&lt;/span&gt; and it observed that Pyfer and LaFleur signed a document titled &lt;span class="ldml-quotation quote"&gt;"Certificate of Holy Union."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="7213" data-sentence-id="8131" class="ldml-sentence"&gt;Moreover, after the ceremony, Pyfer &lt;span class="ldml-quotation quote"&gt;"held himself out as married to family and friends"&lt;/span&gt; and listed LaFleur as his spouse on an HR form in &lt;span class="ldml-entity"&gt;2016&lt;/span&gt; and on a vehicle in &lt;span class="ldml-entity"&gt;2017&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="7213" data-sentence-id="8300" class="ldml-sentence"&gt;LaFleur financially supported Pyfer and &lt;span class="ldml-entity"&gt;they&lt;/span&gt; cohabitated, sharing the same room until &lt;span class="ldml-quotation quote"&gt;"the last couple of years"&lt;/span&gt; before the &lt;span class="ldml-entity"&gt;dissolution petition&lt;/span&gt; was filed.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="8455" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="8455" data-sentence-id="8455" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8455"&gt;&lt;span class="ldml-cite"&gt;¶11&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; LaFleur testified that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; never intended to be married and would not have gone through with the ceremony had &lt;span class="ldml-entity"&gt;he&lt;/span&gt; thought it would be legally binding with respect to his assets.&lt;/span&gt; &lt;span data-paragraph-id="8455" data-sentence-id="8635" class="ldml-sentence"&gt;However, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; found that LaFleur knew that Pyfer was listing him as a spouse on documents and was telling his family and friends &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were married, and there was no evidence that LaFleur ever confronted Pyfer about doing so.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="8864" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="8864" data-sentence-id="8864" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_8864"&gt;&lt;span class="ldml-cite"&gt;¶12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The court&lt;/span&gt; acknowledged that neither Pyfer nor LaFleur &lt;span class="ldml-quotation quote"&gt;"really wore their wedding rings"&lt;/span&gt;; that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"did not share bank accounts"&lt;/span&gt;; that LaFleur's family &lt;span class="ldml-quotation quote"&gt;"denied that &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; were married"&lt;/span&gt; and &lt;span class="ldml-quotation quote"&gt;"minimized the impact of the ceremony"&lt;/span&gt;; and that LaFleur did not &lt;span class="ldml-quotation quote"&gt;"tell his co-workers &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was married,"&lt;/span&gt; although &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; also heard testimony that LaFleur worked in an environment that was &lt;span class="ldml-quotation quote"&gt;"not welcoming"&lt;/span&gt; of same-sex couples.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="9289" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="9289" data-sentence-id="9289" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9289"&gt;&lt;span class="ldml-cite"&gt;¶13&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; After weighing all of this evidence, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; ultimately found that, even if &lt;span class="ldml-entity"&gt;he&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"did not want all of the legal obligations that come with a marriage,"&lt;/span&gt; LaFleur &lt;span class="ldml-quotation quote"&gt;"acquiesced when &lt;span class="ldml-entity"&gt;he&lt;/span&gt; accepted &lt;span class="ldml-parenthetical"&gt;[Pyfer's marriage]&lt;/span&gt; proposal and went through with their ceremony"&lt;/span&gt; and &lt;span class="ldml-quotation quote"&gt;"intended to be joined with &lt;span class="ldml-parenthetical"&gt;[Pyfer]&lt;/span&gt; for the rest of his life"&lt;/span&gt; on the date of the ceremony.&lt;/span&gt; &lt;span data-paragraph-id="9289" data-sentence-id="9643" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; therefore concluded that Pyfer and LaFleur entered into a common law marriage on &lt;span class="ldml-entity"&gt;November 30, 2003&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="9752" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="9752" data-sentence-id="9752" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_9752"&gt;&lt;span class="ldml-cite"&gt;¶14&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The court&lt;/span&gt; then proceeded with the dissolution proceedings and entered a dissolution decree and permanent orders.&lt;/span&gt; &lt;span data-paragraph-id="9752" data-sentence-id="9869" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; awarded the entirety of the marital value of the home to LaFleur.&lt;/span&gt; &lt;span data-paragraph-id="9752" data-sentence-id="9945" class="ldml-sentence"&gt;It awarded &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-val="876" data-id="pagenumber_9956" data-rep="P.3d" data-vol="479"&gt;&lt;/span&gt; $50,000 of LaFleur's Roth IRA to Pyfer and ordered each &lt;span class="ldml-entity"&gt;party&lt;/span&gt; to pay the debts accrued in his name.&lt;/span&gt; &lt;span data-paragraph-id="9752" data-sentence-id="10057" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; acknowledged that the spousal maintenance guidelines provided for an award of $734 per month for seven and a half years.&lt;/span&gt; &lt;span data-paragraph-id="9752" data-sentence-id="10188" class="ldml-sentence"&gt;However, it deviated downward from the guidelines and ordered $700 per month for four years, reasoning that Pyfer &lt;span class="ldml-quotation quote"&gt;"lived rent-free"&lt;/span&gt; with LaFleur and, toward the end of the relationship, was engaged in an extramarital affair.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="10412" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="10412" data-sentence-id="10412" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10412"&gt;&lt;span class="ldml-cite"&gt;¶15&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Pyfer appealed, arguing that the division of property was inequitable and not supported by sufficient findings; that the maintenance award was an unjustified downward deviation from the guidelines; and that both rulings constituted abuses of discretion.&lt;/span&gt; &lt;span data-paragraph-id="10412" data-sentence-id="10670" class="ldml-sentence"&gt;LaFleur cross-appealed, challenging &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s ruling&lt;/span&gt; that &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; had entered into a common law marriage.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="10781" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="10781" data-sentence-id="10781" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_10781"&gt;&lt;span class="ldml-cite"&gt;¶16&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; After &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; granted certiorari to review &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895630156" data-vids="895630156" class="ldml-reference" data-prop-ids="sentence_10781"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Hogsett&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895054554" data-vids="895054554" class="ldml-reference" data-prop-ids="sentence_10781"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Yudkin&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; , LaFleur petitioned &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;C.A.R. 50&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to review &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; along with the other two.&lt;/span&gt; &lt;span data-paragraph-id="10781" data-sentence-id="10944" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; accepted jurisdiction and directed &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; to focus their oral argument on the question of whether a common law same-sex marriage entered in Colorado may be recognized as predating Colorado's recognition of formal same-sex marriages.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-content-heading-label="II. Timeliness of Cross-Appeal" data-types="crossappeal" data-format="upper_case_roman_numeral" data-ordinal_end="2" data-confidences="medium" data-id="heading_11184" data-value="II. Timeliness of Cross-Appeal" data-specifier="II" data-ordinal_start="2" id="heading_11184" data-parsed="true"&gt;&lt;span data-paragraph-id="11184" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="11184" data-sentence-id="11184" class="ldml-sentence"&gt;II.&lt;/span&gt; &lt;span data-paragraph-id="11184" data-sentence-id="11188" class="ldml-sentence"&gt;Timeliness of Cross-Appeal&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="11214" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="11214" data-sentence-id="11215" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11215"&gt;&lt;span class="ldml-cite"&gt;¶17&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; As a threshold matter, Pyfer challenges LaFleur's notice of cross-appeal as untimely filed and asserts that &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; has no jurisdiction to consider the question LaFleur raises regarding the retroactive effect of &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_11215"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; .&lt;/span&gt; &lt;span data-paragraph-id="11214" data-sentence-id="11447" class="ldml-sentence"&gt;Pyfer argues that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; issued a final judgment concerning the existence of a common law marriage on &lt;span class="ldml-entity"&gt;July 31, 2018&lt;/span&gt;, and that under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;C.A.R. 4&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, LaFleur had forty-nine days from the entry of that judgment to file a notice of appeal.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="11691" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="11691" data-sentence-id="11691" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_11691"&gt;&lt;span class="ldml-cite"&gt;¶18&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; have previously characterized a final judgment for purposes of an appeal &lt;span class="ldml-quotation quote"&gt;"as one that ends the particular action in which it is entered, leaving nothing further for &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; pronouncing it to do in order to completely determine the rights of &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; involved in the proceedings."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="11691" data-sentence-id="11983" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888267399" data-vids="888267399" class="ldml-reference" data-prop-ids="sentence_11691"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;People v. Guatney&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;214 P.3d 1049, 1051&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2009&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11691" data-sentence-id="12037" class="ldml-sentence"&gt;Here, after entering the order concluding that Pyfer and LaFleur were common law married, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; retained jurisdiction over &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; and entered a decree of dissolution and permanent orders.&lt;/span&gt; &lt;span data-paragraph-id="11691" data-sentence-id="12240" class="ldml-sentence"&gt;The decree entered on &lt;span class="ldml-entity"&gt;October 15, 2018&lt;/span&gt;, was a final judgment ending the action.&lt;/span&gt; &lt;span data-paragraph-id="11691" data-sentence-id="12320" class="ldml-sentence"&gt;Pyfer filed his notice of appeal on &lt;span class="ldml-entity"&gt;November 30, 2018&lt;/span&gt;, which was within forty-nine days of the entry of that order, and LaFleur filed his notice of cross-appeal fourteen days later.&lt;/span&gt; &lt;span data-paragraph-id="11691" data-sentence-id="12502" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_12519,sentence_12320"&gt;&lt;span class="ldml-cite"&gt;C.A.R. 4&lt;span class="ldml-parenthetical"&gt;(a)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"If a timely notice of appeal is filed by &lt;span class="ldml-entity"&gt;a party&lt;/span&gt;, any other &lt;span class="ldml-entity"&gt;party&lt;/span&gt; may file a notice of appeal within 14 days of the date on which the first notice of appeal is filed ...."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="11691" data-sentence-id="12694" class="ldml-sentence"&gt;Accordingly, LaFleur's cross-appeal was timely, and &lt;span class="ldml-entity"&gt;we&lt;/span&gt; may address his claim.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-content-heading-label="III. Analysis" data-types="analysis" data-format="upper_case_roman_numeral" data-ordinal_end="3" data-confidences="very_high" data-id="heading_12771" data-value="III. Analysis" data-specifier="III" data-ordinal_start="3" id="heading_12771" data-parsed="true"&gt;&lt;span data-paragraph-id="12771" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="12771" data-sentence-id="12771" class="ldml-sentence"&gt;III.&lt;/span&gt; &lt;span data-paragraph-id="12771" data-sentence-id="12776" class="ldml-sentence"&gt;Analysis&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="12784" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="12784" data-sentence-id="12784" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_12784"&gt;&lt;span class="ldml-cite"&gt;¶19&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; begin by explaining the development of marriage laws in Colorado, detailing the history of race- and gender-based restrictions on marriage.&lt;/span&gt; &lt;span data-paragraph-id="12784" data-sentence-id="12931" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; then address the question of whether &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; may recognize a common law same-sex marriage entered in Colorado before &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_12931"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; .&lt;/span&gt; &lt;span data-paragraph-id="12784" data-sentence-id="13064" class="ldml-sentence"&gt;Applying the general rule that an unconstitutional &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; is void &lt;span class="ldml-entity"&gt;ab&lt;/span&gt; initio, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that state law restrictions on same-sex marriage cannot serve as an impediment to the recognition of a same-sex marriage predating &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_13064"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; .&lt;/span&gt; &lt;span data-paragraph-id="12784" data-sentence-id="13298" class="ldml-sentence"&gt;Moreover, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that, under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13298" data-refglobal="case:harpervvirginiadeptoftaxation,509us86,97,113sct2510,125led2d74113sct2510509us86,113sct2510,125led2d741993"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Harper&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_13298"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; applies retroactively to marriages—including common law marriages—predating that decision.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="13442" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="13442" data-sentence-id="13442" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13442"&gt;&lt;span class="ldml-cite"&gt;¶20&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Having concluded that Pyfer and LaFleur were not, as a matter of law, barred from entering into a common law marriage, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; apply the refined framework announced in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895630156" data-vids="895630156" class="ldml-reference" data-prop-ids="sentence_13442"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Hogsett&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and conclude that &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; did in fact enter into a common law marriage.&lt;/span&gt; &lt;span data-paragraph-id="13442" data-sentence-id="13693" class="ldml-sentence"&gt;Finally, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; review the division of property and award of spousal maintenance and determine that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; abused its discretion in failing to follow the proper procedure or make appropriate findings as required by &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13693"&gt;&lt;span class="ldml-cite"&gt;sections 14-10-113&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and - 114.&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="A. Development of Marriage Laws in Colorado" data-ordinal_end="1" data-id="heading_13945" data-content-heading-label="A. Development of Marriage Laws in Colorado" data-format="upper_case_letters" data-specifier="A" data-ordinal_start="1" id="heading_13945" data-parsed="true"&gt;&lt;span data-paragraph-id="13945" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="13945" data-sentence-id="13945" class="ldml-sentence"&gt;A.&lt;/span&gt; &lt;span data-paragraph-id="13945" data-sentence-id="13948" class="ldml-sentence"&gt;Development of Marriage Laws in Colorado&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="13988" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="13988" data-sentence-id="13988" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_13988"&gt;&lt;span class="ldml-cite"&gt;¶21&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Colorado is one of a minority of states that still recognizes common law marriages.&lt;/span&gt; &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-val="877" data-id="pagenumber_14076" data-rep="P.3d" data-vol="479"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="14076" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="14076" data-sentence-id="14077" class="ldml-sentence"&gt;As early as &lt;span class="ldml-entity"&gt;1897&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the court of appeals&lt;/span&gt; explained that &lt;span class="ldml-quotation quote"&gt;"in this state&lt;span class="ldml-parenthetical"&gt;[,]&lt;/span&gt; a marriage simply by agreement of &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;, followed by cohabitation as husband and wife, ... may be valid and binding."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="14076" data-sentence-id="14273" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890413534" data-vids="890413534" class="ldml-reference" data-prop-ids="sentence_14077"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Taylor v. Taylor&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;10 Colo.App. 303&lt;/span&gt;, &lt;span class="ldml-cite"&gt;50 P. 1049, 1049&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1897&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="14334" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="14334" data-sentence-id="14334" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_14334"&gt;&lt;span class="ldml-cite"&gt;¶22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; As with statutory marriage, Colorado historically imposed restrictions on common law marriage that were later deemed to be unconstitutional.&lt;/span&gt; &lt;span data-paragraph-id="14334" data-sentence-id="14479" class="ldml-sentence"&gt;Until the mid-twentieth century, for example, common law marriage in Colorado was subject to anti-miscegenation laws.&lt;/span&gt; &lt;span data-paragraph-id="14334" data-sentence-id="14597" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887589916" data-vids="887589916" class="ldml-reference" data-prop-ids="sentence_14597"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Jackson v. City &amp; County of Denver&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;109 Colo. 196&lt;/span&gt;, &lt;span class="ldml-cite"&gt;124 P.2d 240, 241&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1942&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, an interracial couple who &lt;span class="ldml-quotation quote"&gt;"liv&lt;span class="ldml-parenthetical"&gt;[ed]&lt;/span&gt; together as though married"&lt;/span&gt; were convicted of vagrancy, which was defined under the Denver municipal code as &lt;span class="ldml-quotation quote"&gt;"lead&lt;span class="ldml-parenthetical"&gt;[ing]&lt;/span&gt; an ... immoral ... course of life."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="14334" data-sentence-id="14869" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(Omissions in &lt;span class="ldml-referencenote"&gt;original&lt;/span&gt;.)&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="14334" data-sentence-id="14894" class="ldml-sentence"&gt;The couple challenged their convictions, arguing on appeal that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were not vagrants because &lt;span class="ldml-entity"&gt;they&lt;/span&gt; had entered into a common law marriage.&lt;/span&gt; &lt;span data-paragraph-id="14334" data-sentence-id="15034" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887589916" data-vids="887589916" class="ldml-reference" data-prop-ids="sentence_14894"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="14334" data-sentence-id="15038" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;This court&lt;/span&gt; rejected that argument, relying on &lt;span class="ldml-entity"&gt;a statute&lt;/span&gt; that had been in force from Colorado's territorial days providing that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[a]&lt;/span&gt;ll marriages between negroes or mulattoes, of either sex, and white persons, are ... absolutely void."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="14334" data-sentence-id="15272" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887589916" data-vids="887589916" class="ldml-reference" data-prop-ids="sentence_15038"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="14334" data-sentence-id="15276" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; reasoned that the &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;defendants&lt;/span&gt; could not, either ceremonially &lt;i class="ldml-italics"&gt;or by common law&lt;/i&gt; , be married,"&lt;/span&gt; and therefore &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;they&lt;/span&gt; were, if living together, leading &lt;span class="ldml-quotation quote"&gt;‘an immoral course of life.’&lt;/span&gt; "&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="14334" data-sentence-id="15457" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887589916" data-vids="887589916" class="ldml-reference" data-prop-ids="sentence_15276"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;a href="#note-fr2" class="ldml-noteanchor" id="note-ref-fr2"&gt;2&lt;/a&gt;&lt;/span&gt; &lt;/p&gt;&lt;p data-paragraph-id="15479" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="15479" data-sentence-id="15479" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15479"&gt;&lt;span class="ldml-cite"&gt;¶23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Fifteen years later, in &lt;span class="ldml-entity"&gt;1957&lt;/span&gt;, the Colorado &lt;span class="ldml-entity"&gt;legislature&lt;/span&gt; repealed &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; imposing racial restrictions on ceremonial and common law marriage.&lt;/span&gt; &lt;span data-paragraph-id="15479" data-sentence-id="15627" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15479"&gt;&lt;span class="ldml-cite"&gt;Ch. 124, sec. 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15479"&gt;&lt;span class="ldml-cite"&gt;§ 90-1-2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_15479"&gt;&lt;span class="ldml-cite"&gt;1957 Colo. Sess. Laws 334, 334&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="15479" data-sentence-id="15686" class="ldml-sentence"&gt;And in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887647027" data-vids="887647027" class="ldml-reference" data-prop-ids="sentence_15686"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Loving v. Virginia&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;388 U.S. 1&lt;/span&gt;, &lt;span class="ldml-cite"&gt;87 S.Ct. 1817&lt;/span&gt;, &lt;span class="ldml-cite"&gt;18 L.Ed.2d 1010&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1967&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the &lt;span class="ldml-entity"&gt;U.S. Supreme Court&lt;/span&gt; deemed such anti-miscegenation laws unconstitutional.&lt;/span&gt; &lt;span data-paragraph-id="15479" data-sentence-id="15842" class="ldml-sentence"&gt;There, &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt; held that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[m]&lt;/span&gt;arriage is one of the &lt;span class="ldml-quotation quote"&gt;‘basic civil rights of man,’&lt;/span&gt; fundamental to our very existence and survival,"&lt;/span&gt; &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887647027" data-vids="887647027" class="ldml-reference" data-prop-ids="sentence_15842"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;id.&lt;/i&gt; at 12&lt;/span&gt;, &lt;span class="ldml-cite"&gt;87 S.Ct. 1817&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891417196" data-vids="891417196" class="ldml-reference" data-prop-ids="sentence_15842"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Skinner v. Oklahoma ex rel. Williamson&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;316 U.S. 535, 541&lt;/span&gt;, &lt;span class="ldml-cite"&gt;62 S.Ct. 1110&lt;/span&gt;, &lt;span class="ldml-cite"&gt;86 L.Ed. 1655&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1942&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;, and that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;here can be no doubt that restricting the freedom to marry solely because of racial classifications violates the central meaning of the Equal Protection Clause,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887647027" data-vids="887647027" class="ldml-reference" data-prop-ids="sentence_15842"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="16284" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="16284" data-sentence-id="16284" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_16284"&gt;&lt;span class="ldml-cite"&gt;¶24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Although &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; was never asked to determine whether &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887647027" data-vids="887647027" class="ldml-reference" data-prop-ids="sentence_16284"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Loving&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; applied to marriages predating that decision, &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; presented with the issue either expressly held that the ruling applied retroactively to both ceremonial and common law marriage, or assumed as much.&lt;/span&gt; &lt;span data-paragraph-id="16284" data-sentence-id="16554" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See, e.g.&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887836230" data-vids="887836230" class="ldml-reference" data-prop-ids="embeddedsentence_16615,sentence_16284"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Dick v. Reaves&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;434 P.2d 295, 298&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Okla.&lt;/span&gt; &lt;span class="ldml-date"&gt;1967&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;holding&lt;/span&gt; that, in accordance with the &lt;span class="ldml-entity"&gt;U.S. Supreme Court&lt;/span&gt;'s &lt;span class="ldml-quotation quote"&gt;"clear mandate"&lt;/span&gt; in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887647027" data-vids="887647027" class="ldml-reference" data-prop-ids="sentence_16284"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Loving&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , Oklahoma's anti-miscegenation laws violated equal protection and due process, and an interracial couple's &lt;span class="ldml-entity"&gt;1939&lt;/span&gt; marriage was therefore valid&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895062091" data-vids="895062091" class="ldml-reference" data-prop-ids="embeddedsentence_16936,sentence_16284"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Prudential Ins. Co. of Am. v. Lewis&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;306 F. Supp. 1177, 1183–84&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;N.D. Ala.&lt;/span&gt; &lt;span class="ldml-date"&gt;1969&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;holding&lt;/span&gt; that an interracial couple could validly enter into a common law marriage where one spouse died prior to &lt;span class="ldml-entity"&gt;the decision in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887647027" data-vids="887647027" class="ldml-reference" data-prop-ids="sentence_16284"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Loving&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892178618" data-vids="892178618" class="ldml-reference" data-prop-ids="embeddedsentence_17140,sentence_16284"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Vetrano v. Gardner&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;290 F. Supp. 200, 203–06&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;N.D. Miss.&lt;/span&gt; &lt;span class="ldml-date"&gt;1968&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;assuming, without expressly deciding, that &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887647027" data-vids="887647027" class="ldml-reference" data-prop-ids="sentence_16284"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Loving&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; operated retroactively, but nonetheless finding that the interracial couple in &lt;span class="ldml-entity"&gt;that case&lt;/span&gt; did not enter into a common law marriage before Mississippi abolished common law marriage in &lt;span class="ldml-entity"&gt;1956&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="17378" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="17378" data-sentence-id="17378" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17378"&gt;&lt;span class="ldml-cite"&gt;¶25&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Just as interracial marriages were prohibited in Colorado, so too were marriages between same-sex couples, though that legal history is more recent.&lt;/span&gt; &lt;span data-paragraph-id="17378" data-sentence-id="17531" class="ldml-sentence"&gt;In the early &lt;span class="ldml-entity"&gt;1970&lt;/span&gt;s, after the &lt;span class="ldml-entity"&gt;Minnesota Supreme Court&lt;/span&gt; ruled that a state &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; restricting marriage to different-sex couples was constitutional, &lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/893575102" data-vids="893575102" class="ldml-reference" data-prop-ids="sentence_17531"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Baker v. Nelson&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;291 Minn. 310&lt;/span&gt;, &lt;span class="ldml-cite"&gt;191 N.W.2d 185, 187&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1971&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, the &lt;span class="ldml-entity"&gt;U.S. Supreme Court&lt;/span&gt; dismissed the appeal of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"for want of a substantial federal question,"&lt;/span&gt; &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/924617319" data-vids="924617319" class="ldml-reference" data-prop-ids="sentence_17531"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Baker v. Nelson&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;409 U.S. 810, 810&lt;/span&gt;, &lt;span class="ldml-cite"&gt;93 S.Ct. 37&lt;/span&gt;, &lt;span class="ldml-cite"&gt;34 L.Ed.2d 65&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1972&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(mem.)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="17924" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="17924" data-sentence-id="17924" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_17924"&gt;&lt;span class="ldml-cite"&gt;¶26&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; At that time, Colorado &lt;span class="ldml-entity"&gt;statutes&lt;/span&gt; did not expressly restrict marriage to different-sex couples, which led to a dispute about whether Colorado would recognize marriages between &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-val="878" data-id="pagenumber_18102" data-rep="P.3d" data-vol="479"&gt;&lt;/span&gt; same-sex couples.&lt;/span&gt; &lt;span data-paragraph-id="17924" data-sentence-id="18121" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;1975&lt;/span&gt;, three years after &lt;span class="ldml-entity"&gt;the Supreme Court&lt;/span&gt; dismissed &lt;i class="ldml-italics"&gt;Baker&lt;/i&gt; , &lt;span class="ldml-entity"&gt;Clela Rorex&lt;/span&gt;, the &lt;span class="ldml-entity"&gt;Boulder County Clerk&lt;/span&gt;, issued the nation's first marriage license to a same-sex couple.&lt;/span&gt; &lt;span data-paragraph-id="17924" data-sentence-id="18288" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;i class="ldml-italics"&gt;County Clerk Changes History&lt;/i&gt;&lt;/span&gt; , PBS Independent Lens, &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;June 14, 2015&lt;/span&gt;)&lt;/span&gt;, https://www.pbs.org/independentlens/videos/county-clerk-changes-history/ &lt;span class="ldml-parenthetical"&gt;[https://perma.cc/9C7X-ZTRE]&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="17924" data-sentence-id="18461" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;Boulder County District Attorney&lt;/span&gt;'s office advised Rorex that Colorado law did not require marriage licenses to be between a man and a woman, and &lt;span class="ldml-entity"&gt;she&lt;/span&gt; issued several marriage licenses to same-sex couples until the Colorado &lt;span class="ldml-entity"&gt;Attorney General&lt;/span&gt;'s office directed her to stop.&lt;/span&gt; &lt;span data-paragraph-id="17924" data-sentence-id="18734" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18461"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="18737" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="18737" data-sentence-id="18737" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18737"&gt;&lt;span class="ldml-cite"&gt;¶27&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The issue of same-sex marriage re-emerged in &lt;span class="ldml-entity"&gt;1993&lt;/span&gt;, when the &lt;span class="ldml-entity"&gt;Hawaii Supreme Court&lt;/span&gt; ruled that &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;'s statutory ban on such marriages was presumed unconstitutional under Hawaii's equal protection clause.&lt;/span&gt; &lt;span data-paragraph-id="18737" data-sentence-id="18947" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_18737" data-refglobal="case:baehrvlewinno15689852p2d44,74haw530,74haw645,61uslw2697may5,1993"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-refname"&gt;Baehr v. Lewin&lt;/span&gt;, &lt;/i&gt; &lt;span class="ldml-cite"&gt;74 Haw. 530&lt;/span&gt;, &lt;span class="ldml-cite"&gt;852 P.2d 44, 67–68&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1993&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="18737" data-sentence-id="19004" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19004" data-refglobal="case:baehrvlewinno15689852p2d44,74haw530,74haw645,61uslw2697may5,1993"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Baehr&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; decision&lt;/span&gt;, which signaled the possibility that other jurisdictions might have to recognize same-sex marriages entered in Hawaii,&lt;a href="#note-fr3" class="ldml-noteanchor" id="note-ref-fr3"&gt;3&lt;/a&gt; prompted &lt;span class="ldml-entity"&gt;Congress&lt;/span&gt; to pass the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19004"&gt;&lt;span class="ldml-cite"&gt;Defense of Marriage Act&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19004"&gt;&lt;span class="ldml-cite"&gt;Pub. L. No. 104-199&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;,&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19004"&gt;&lt;span class="ldml-cite"&gt;110 Stat. 2419&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"DOMA"&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="18737" data-sentence-id="19243" class="ldml-sentence"&gt;DOMA defined marriage as &lt;span class="ldml-quotation quote"&gt;"a legal union between one man and one woman"&lt;/span&gt; for all federal purposes, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/944736869" data-vids="944736869" class="ldml-reference" data-prop-ids="sentence_19243"&gt;&lt;span class="ldml-cite"&gt;1 U.S.C. § 7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;i class="ldml-italics"&gt;invalidated by &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894644271" data-vids="894644271" class="ldml-reference" data-prop-ids="sentence_19243"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;United States v. Windsor&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;570 U.S. 744, 775&lt;/span&gt;, &lt;span class="ldml-cite"&gt;133 S.Ct. 2675&lt;/span&gt;, &lt;span class="ldml-cite"&gt;186 L.Ed.2d 808&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2013&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and allowed states to refuse to give full faith and credit to same-sex marriages lawfully entered in other states, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/943377217" data-vids="943377217" class="ldml-reference" data-prop-ids="sentence_19243"&gt;&lt;span class="ldml-cite"&gt;28 U.S.C. § 1738C&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;i class="ldml-italics"&gt;rendered obsolete by &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_19243"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;576 U.S. at 674–75&lt;/span&gt;, &lt;span class="ldml-cite"&gt;135 S.Ct. 2584&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="18737" data-sentence-id="19661" class="ldml-sentence"&gt;In the years that followed, most states adopted &lt;span class="ldml-entity"&gt;statutes&lt;/span&gt; and state constitutional &lt;span class="ldml-entity"&gt;amendments&lt;/span&gt; both prohibiting same-sex marriage within state borders and barring recognition of same-sex marriages entered elsewhere.&lt;/span&gt; &lt;span data-paragraph-id="18737" data-sentence-id="19875" class="ldml-sentence"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt; &lt;span class="ldml-entity"&gt;Michael J. Klarman&lt;/span&gt;, &lt;i class="ldml-italics"&gt;From the Closet to the Altar: &lt;span class="ldml-entity"&gt;Courts&lt;/span&gt;, Backlash, and the Struggle for Same-Sex Marriage&lt;/i&gt; , at xi &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2012&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;"Within a decade &lt;span class="ldml-parenthetical"&gt;[of &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_19875" data-refglobal="case:baehrvlewinno15689852p2d44,74haw530,74haw645,61uslw2697may5,1993"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Baehr&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; ]&lt;/span&gt;, more than thirty-five states ... passed laws to &lt;span class="ldml-quotation quote"&gt;‘defend’&lt;/span&gt; traditional marriage."&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="18737" data-sentence-id="20114" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;2000&lt;/span&gt;, Colorado similarly adopted &lt;span class="ldml-entity"&gt;a statute&lt;/span&gt; restricting marriage to &lt;span class="ldml-quotation quote"&gt;"one man and one woman."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="18737" data-sentence-id="20209" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20114"&gt;&lt;span class="ldml-cite"&gt;§ 14-2-104&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2000&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20114"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;id&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; .&lt;/span&gt; &lt;span data-paragraph-id="18737" data-sentence-id="20257" class="ldml-sentence"&gt;-104&lt;span class="ldml-headnoteanchor"&gt;&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(providing that a marriage between two persons of the same sex shall not be recognized regardless of where contracted)&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="20384" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="20384" data-sentence-id="20384" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20384"&gt;&lt;span class="ldml-cite"&gt;¶28&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Then, in a groundbreaking &lt;span class="ldml-entity"&gt;ruling in &lt;span class="ldml-entity"&gt;2003&lt;/span&gt;&lt;/span&gt;, the &lt;span class="ldml-entity"&gt;Massachusetts Supreme Judicial Court&lt;/span&gt; held that same-sex marriage bans were unconstitutional under that state's &lt;span class="ldml-entity"&gt;constitution&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20384" data-sentence-id="20559" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888558268" data-vids="888558268" class="ldml-reference" data-prop-ids="embeddedsentence_20638,sentence_20384"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Goodridge v. Dep't of Pub. Health&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;440 Mass. 309&lt;/span&gt;, &lt;span class="ldml-cite"&gt;798 N.E.2d 941, 948&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2003&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"The question before &lt;span class="ldml-entity"&gt;us&lt;/span&gt; is whether, consistent with the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_20873,sentence_20384"&gt;&lt;span class="ldml-cite"&gt;Massachusetts Constitution&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, the Commonwealth may deny the protections, benefits, and obligations conferred by civil marriage to two individuals of the same sex who wish to marry.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that it may not."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20384" data-sentence-id="20905" class="ldml-sentence"&gt;In the years after &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888558268" data-vids="888558268" class="ldml-reference" data-prop-ids="sentence_20905"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Goodridge&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , a handful of &lt;span class="ldml-entity"&gt;state supreme courts&lt;/span&gt; reached similar conclusions under their respective constitutions.&lt;/span&gt; &lt;span data-paragraph-id="20384" data-sentence-id="21036" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_20905" data-refglobal="case:inremarriagecasesnos147999183p3d384,76calrptr3d683,43cal4th757may15,2008"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;In re Marriage Cases&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;43 Cal.4th 757&lt;/span&gt;, &lt;span class="ldml-cite"&gt;76 Cal.Rptr.3d 683&lt;/span&gt;, &lt;span class="ldml-cite"&gt;183 P.3d 384&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2008&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;i class="ldml-italics"&gt;superseded by constitutional &lt;span class="ldml-entity"&gt;amendment&lt;/span&gt;&lt;/i&gt; , &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;Cal. Const. art. I, § 7.5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:kerriganvcommissionerofpublichealth,289conn135,274,957a2d4072008borden,j,dissenting"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Kerrigan v. Comm'r of Pub. Health&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;289 Conn. 135&lt;/span&gt;, &lt;span class="ldml-cite"&gt;957 A.2d 407&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2008&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:varnumvbrien,763nw2d862,878-79iowa2009"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Varnum v. Brien&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;763 N.W.2d 862&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Iowa&lt;/span&gt; &lt;span class="ldml-date"&gt;2009&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="20384" data-sentence-id="21309" class="ldml-sentence"&gt;In Colorado, by contrast, voters approved a &lt;span class="ldml-entity"&gt;2006&lt;/span&gt; constitutional &lt;span class="ldml-entity"&gt;amendment&lt;/span&gt; declaring that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[o]&lt;/span&gt;nly a union of one man and one woman shall be valid or recognized as a marriage in this state."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="20384" data-sentence-id="21498" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21309"&gt;&lt;span class="ldml-cite"&gt;Colo. Const. art. II, § 31&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="21525" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="21525" data-sentence-id="21525" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21525"&gt;&lt;span class="ldml-cite"&gt;¶29&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Although Colorado later passed &lt;span class="ldml-entity"&gt;legislation&lt;/span&gt; granting certain legal protections to same-sex couples through designated beneficiary agreements, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;§ 15-22-102, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2009&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and civil unions, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;§ 14-15-102, C.R.S.&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2013&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, these alternatives fell short of providing same-sex couples access to marriage on the same terms as different-sex couples.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="21866" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="21866" data-sentence-id="21866" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21866"&gt;&lt;span class="ldml-cite"&gt;¶30&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In &lt;span class="ldml-entity"&gt;2014&lt;/span&gt;, in companion &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; from Utah and Oklahoma, the Tenth Circuit struck down those states’ same-sex marriage bans under the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21866"&gt;&lt;span class="ldml-cite"&gt;Fourteenth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="21866" data-sentence-id="22021" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888427354" data-vids="888427354" class="ldml-reference" data-prop-ids="embeddedsentence_22083,sentence_21866"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Kitchen v. Herbert&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;755 F.3d 1193, 1229–30&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;10th Cir.&lt;/span&gt; &lt;span class="ldml-date"&gt;2014&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[W]&lt;/span&gt;e hold that under the Due Process &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-val="879" data-id="pagenumber_22121" data-rep="P.3d" data-vol="479"&gt;&lt;/span&gt; and Equal Protection Clauses of the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21866"&gt;&lt;span class="ldml-cite"&gt;United States Constitution&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, those who wish to marry a person of the same sex are entitled to exercise the same fundamental right as is recognized for persons who wish to marry a person of the opposite sex, and that &lt;span class="ldml-parenthetical"&gt;[Utah's same-sex marriage bans]&lt;/span&gt; do not withstand constitutional scrutiny."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892740188" data-vids="892740188" class="ldml-reference" data-prop-ids="embeddedsentence_22506,sentence_21866"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Bishop v. Smith&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;760 F.3d 1070, 1082&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;10th Cir.&lt;/span&gt; &lt;span class="ldml-date"&gt;2014&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[Oklahoma]&lt;/span&gt; may not, consistent with the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_21866"&gt;&lt;span class="ldml-cite"&gt;United States Constitution&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, prohibit same-sex marriages."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="21866" data-sentence-id="22607" class="ldml-sentence"&gt;Construing the Tenth Circuit's rulings to mean that Colorado's prohibitions on same-sex marriage were likewise unconstitutional, a state and &lt;span class="ldml-entity"&gt;federal district court&lt;/span&gt; in Colorado each entered orders enjoining enforcement and application of those laws.&lt;/span&gt; &lt;span data-paragraph-id="21866" data-sentence-id="22856" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886062790" data-vids="886062790" class="ldml-reference" data-prop-ids="sentence_22607"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Burns v. Hickenlooper&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;No. 14-cv-01817-RM-KLM&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2014 WL 3634834, at *1&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;D. Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;July 23, 2014&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_22607" data-refglobal="case:brinkmanvlong,nos13-cv-32572,14-cv-30731,2014wl3408024,at15–21colodistctjuly9,2014"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Brinkman v. Long&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;Nos. 13-CV-32572&lt;/span&gt;, &lt;span class="ldml-cite"&gt;14-CV-30731&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2014 WL 3408024, at *15–21&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo. Dist. Ct.&lt;/span&gt; &lt;span class="ldml-date"&gt;July 9, 2014&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="21866" data-sentence-id="23063" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;These courts&lt;/span&gt;’ rulings were stayed pending &lt;span class="ldml-entity"&gt;petitions for &lt;span class="ldml-entity"&gt;U.S. Supreme Court&lt;/span&gt; review&lt;/span&gt; of &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888427354" data-vids="888427354" class="ldml-reference" data-prop-ids="sentence_23063"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Kitchen&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/892740188" data-vids="892740188" class="ldml-reference" data-prop-ids="sentence_23063"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Bishop&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; .&lt;/span&gt; &lt;span data-paragraph-id="21866" data-sentence-id="23169" class="ldml-sentence"&gt;When &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt; later denied the petitions on &lt;span class="ldml-entity"&gt;October 6, 2014&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886502203" data-vids="886502203" class="ldml-reference" data-prop-ids="sentence_23169"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Herbert v. Kitchen&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;574 U.S. 874&lt;/span&gt;, &lt;span class="ldml-cite"&gt;135 S.Ct. 265&lt;/span&gt;, &lt;span class="ldml-cite"&gt;190 L.Ed.2d 138&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2014&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890705372" data-vids="890705372" class="ldml-reference" data-prop-ids="sentence_23169"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Smith v. Bishop&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;574 U.S. 875&lt;/span&gt;, &lt;span class="ldml-cite"&gt;135 S.Ct. 271&lt;/span&gt;, &lt;span class="ldml-cite"&gt;190 L.Ed.2d 139&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2014&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, the Tenth Circuit lifted its stay of the &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886062790" data-vids="886062790" class="ldml-reference" data-prop-ids="sentence_23169"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Burns&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; preliminary injunction, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; made its injunction permanent in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/884884169" data-vids="884884169" class="ldml-reference" data-prop-ids="sentence_23169"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Burns v. Hickenlooper&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;No. 14-cv-01817-RM-KLM&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2014 WL 5312541, at *1&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;D. Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;Oct. 17, 2014&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and Colorado began to recognize same-sex marriages.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="23648" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="23648" data-sentence-id="23648" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23648"&gt;&lt;span class="ldml-cite"&gt;¶31&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Eight months later, the &lt;span class="ldml-entity"&gt;U.S. Supreme Court&lt;/span&gt; handed down its &lt;span class="ldml-entity"&gt;decision in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_23648"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; .&lt;/span&gt; &lt;span data-paragraph-id="23648" data-sentence-id="23736" class="ldml-sentence"&gt;Reasoning that the fundamental right to marry &lt;span class="ldml-quotation quote"&gt;"appl&lt;span class="ldml-parenthetical"&gt;[ies]&lt;/span&gt; with equal force to same-sex couples,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_23736"&gt;&lt;span class="ldml-cite"&gt;576 U.S. at 665&lt;/span&gt;, &lt;span class="ldml-cite"&gt;135 S.Ct. 2584&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt; held that &lt;span class="ldml-quotation quote"&gt;"under the Due Process and Equal Protection Clauses of the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_23736"&gt;&lt;span class="ldml-cite"&gt;Fourteenth Amendment&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;[,]&lt;/span&gt; couples of the same&lt;span class="ldml-parenthetical"&gt;[ ]&lt;/span&gt;sex may not be deprived of that right and that liberty,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_23736"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;id.&lt;/i&gt; at 675&lt;/span&gt;, &lt;span class="ldml-cite"&gt;135 S.Ct. 2584&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="23648" data-sentence-id="24075" class="ldml-sentence"&gt;In so doing, &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt; expressly overruled its earlier decision in &lt;i class="ldml-italics"&gt;Baker&lt;/i&gt; , &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_24075"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , and held that it was unconstitutional for states &lt;span class="ldml-quotation quote"&gt;"to bar same-sex couples from marriage on the same terms as accorded to couples of the opposite sex,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_24075"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;id.&lt;/i&gt; at 680&lt;/span&gt;, &lt;span class="ldml-cite"&gt;135 S.Ct. 2584&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, or &lt;span class="ldml-quotation quote"&gt;"to refuse to recognize a lawful same-sex marriage performed in another &lt;span class="ldml-parenthetical"&gt;[s]&lt;/span&gt;tate on the ground of its same-sex character,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_24075"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;id.&lt;/i&gt; at 681&lt;/span&gt;, &lt;span class="ldml-cite"&gt;135 S.Ct. 2584&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="23648" data-sentence-id="24488" class="ldml-sentence"&gt;Notably, &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt; held that the various state laws challenged by the litigants in &lt;span class="ldml-entity"&gt;that case&lt;/span&gt;&lt;a href="#note-fr4" class="ldml-noteanchor" id="note-ref-fr4"&gt;4&lt;/a&gt; were &lt;span class="ldml-quotation quote"&gt;"invalid to the extent &lt;span class="ldml-entity"&gt;they&lt;/span&gt; exclude same-sex couples from civil marriage on the same terms and conditions as opposite-sex couples."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="23648" data-sentence-id="24718" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_24488"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 675–76&lt;/span&gt;, &lt;span class="ldml-cite"&gt;135 S.Ct. 2584&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="B. Recognition of a Common Law Same-Sex Marriage Before Obergefell" data-ordinal_end="2" data-id="heading_24748" data-content-heading-label="B. Recognition of a Common Law Same-Sex Marriage Before Obergefell" data-format="upper_case_letters" data-specifier="B" data-ordinal_start="2" id="heading_24748" data-parsed="true"&gt;&lt;span data-paragraph-id="24748" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="24748" data-sentence-id="24748" class="ldml-sentence"&gt;B.&lt;/span&gt; &lt;span data-paragraph-id="24748" data-sentence-id="24751" class="ldml-sentence"&gt;Recognition of a Common Law Same-Sex Marriage Before &lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="24814" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="24814" data-sentence-id="24814" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_24814"&gt;&lt;span class="ldml-cite"&gt;¶32&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The question raised in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; is whether &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; may recognize a common law same-sex marriage entered in Colorado before &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; recognized same-sex couples’ fundamental right to marry.&lt;/span&gt; &lt;span data-paragraph-id="24814" data-sentence-id="25009" class="ldml-sentence"&gt;LaFleur argues that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; and Pyfer could not have entered into a common law marriage predating &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_25009"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; because &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; could not, as a matter of law, have formed the requisite intent to enter into a common law marriage when same-sex marriage was not recognized as lawful; and &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_25009"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; did not have retroactive effect.&lt;/span&gt; &lt;span data-paragraph-id="24814" data-sentence-id="25342" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; disagree.&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-value="1. Obergefell Rendered Colorado's Restrictions on Same-Sex Marriage Void Ab Initio" data-ordinal_end="1" data-id="heading_25354" data-content-heading-label="1. Obergefell Rendered Colorado's Restrictions on Same-Sex Marriage Void Ab Initio" data-format="number" data-specifier="1" data-ordinal_start="1" id="heading_25354" data-parsed="true"&gt;&lt;span data-paragraph-id="25354" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="25354" data-sentence-id="25354" class="ldml-sentence"&gt;1.&lt;/span&gt; &lt;span data-paragraph-id="25354" data-sentence-id="25357" class="ldml-sentence"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt; Rendered Colorado's Restrictions on Same-Sex Marriage Void &lt;span class="ldml-entity"&gt;Ab&lt;/span&gt; Initio&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="25436" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="25436" data-sentence-id="25436" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25436"&gt;&lt;span class="ldml-cite"&gt;¶33&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_25436"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; struck down state laws that excluded same-sex couples from civil marriage as unconstitutional.&lt;/span&gt; &lt;span data-paragraph-id="25436" data-sentence-id="25546" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_25436"&gt;&lt;span class="ldml-cite"&gt;576 U.S. at 674–75&lt;/span&gt;, &lt;span class="ldml-cite"&gt;135 S.Ct. 2584&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="25436" data-sentence-id="25582" class="ldml-sentence"&gt;The longstanding general rule is that &lt;span class="ldml-entity"&gt;a statute&lt;/span&gt; that is declared unconstitutional is void &lt;span class="ldml-entity"&gt;ab&lt;/span&gt; initio; it is inoperative as if it had never been enacted.&lt;/span&gt; &lt;span data-paragraph-id="25436" data-sentence-id="25734" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/884767306" data-vids="884767306" class="ldml-reference" data-prop-ids="embeddedsentence_25814,sentence_25582"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Norton v. Shelby County&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;118 U.S. 425, 442&lt;/span&gt;, &lt;span class="ldml-cite"&gt;6 S.Ct. 1121&lt;/span&gt;, &lt;span class="ldml-cite"&gt;30 L.Ed. 178&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1886&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"An unconstitutional act is not a law; it confers no rights; it imposes no duties; it affords no protection; ... it is, in legal contemplation, as inoperative as though it had never been passed."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894682973" data-vids="894682973" class="ldml-reference" data-prop-ids="embeddedsentence_26080,sentence_25582"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Coulter v. Routt Cnty. Comm'rs&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;9 Colo. 258&lt;/span&gt;, &lt;span class="ldml-cite"&gt;11 P. 199, 203&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1886&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;&lt;span class="ldml-embeddedsentence"&gt;(&lt;span class="ldml-quotation quote"&gt;"When &lt;span class="ldml-entity"&gt;a statute&lt;/span&gt; is adjudged to be unconstitutional, it is as if it never had been."&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-parenthetical"&gt;(quoting &lt;span class="ldml-entity"&gt;Thomas M. Cooley&lt;/span&gt;, &lt;i class="ldml-italics"&gt;A Treatise on &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-val="880" data-id="pagenumber_26207" data-rep="P.3d" data-vol="479"&gt;&lt;/span&gt; the Constitutional Limitations Which Rest upon the Legislative Power of the States of the American Union&lt;/i&gt; 188 &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25582"&gt;&lt;span class="ldml-cite"&gt;2d ed. 1871&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;)&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;see also&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_25582"&gt;&lt;span class="ldml-cite"&gt;16A Am. Jur. 2d&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_26391"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Constitutional Law&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-cite"&gt;§ 194&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2020&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;&lt;span class="ldml-embeddedsentence"&gt;(&lt;span class="ldml-quotation quote"&gt;"Since unconstitutionality dates from the time of its &lt;span class="ldml-entity"&gt;enactment&lt;/span&gt; and not merely from the date of the decision so branding it, an unconstitutional law, in legal contemplation, is as inoperative as if it had never been passed and never existed; that is, it is void &lt;span class="ldml-entity"&gt;ab&lt;/span&gt; initio."&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;footnotes omitted&lt;/span&gt;)&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="26687" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="26687" data-sentence-id="26688" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26688"&gt;&lt;span class="ldml-cite"&gt;¶34&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Under this principle, state law restrictions on same-sex marriage—such as &lt;span class="ldml-entity"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26688"&gt;&lt;span class="ldml-cite"&gt;Colo. Const. art. II, § 31&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_26688"&gt;&lt;span class="ldml-cite"&gt;section 14-2-104&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; and - 104&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; —deemed unconstitutional in &lt;i class="ldml-italics"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_26688"&gt;&lt;span class="ldml-refname"&gt;Obergefell&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;,&lt;/i&gt; cannot stand as an impediment to the recognition of a same-sex marriage predating that decision.&lt;/span&gt; &lt;span data-paragraph-id="26687" data-sentence-id="26971" class="ldml-sentence"&gt;Recognition of a same-sex marriage is the remedy for &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;'s earlier violation of the couple's constitutional rights; the failure to recognize such a marriage effectively continues to enforce the very laws deemed invalid.&lt;/span&gt; &lt;span data-paragraph-id="26687" data-sentence-id="27197" class="ldml-sentence"&gt;By logical extension, because &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_27197"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; held that states must allow same-sex couples to enter marriages on the &lt;span class="ldml-quotation quote"&gt;"same terms and conditions as opposite-sex couples,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_27197"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;576 U.S. at 676&lt;/span&gt;, &lt;span class="ldml-cite"&gt;135 S.Ct. 2584&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, and because Colorado recognizes &lt;i class="ldml-italics"&gt;common law&lt;/i&gt; marriages between opposite sex-couples, it must also recognize such marriages between same-sex couples—including those entered into pre- &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_27197"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; .&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="27600" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="27600" data-sentence-id="27600" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_27600"&gt;&lt;span class="ldml-cite"&gt;¶35&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; find &lt;span class="ldml-entity"&gt;&lt;a href="/vid/884909361" data-vids="884909361" class="ldml-reference" data-prop-ids="sentence_27600"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;In re Estate of Carter&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;159 A.3d 970&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Pa. Super. Ct.&lt;/span&gt; &lt;span class="ldml-date"&gt;2017&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, instructive on this point.&lt;/span&gt; &lt;span data-paragraph-id="27600" data-sentence-id="27700" class="ldml-sentence"&gt;There, a &lt;span class="ldml-entity"&gt;Pennsylvania appellate court&lt;/span&gt; reversed a lower &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s ruling&lt;/span&gt; that it was &lt;span class="ldml-quotation quote"&gt;"legally impossible"&lt;/span&gt; for a same-sex couple to prove a common law marriage where &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; abolished common law marriages in &lt;span class="ldml-entity"&gt;2005&lt;/span&gt; and same-sex marriages were not recognized until &lt;span class="ldml-entity"&gt;May 2014&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="27600" data-sentence-id="27970" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/884909361" data-vids="884909361" class="ldml-reference" data-prop-ids="sentence_27700"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 977&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="27600" data-sentence-id="27982" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; observed that the premise of the lower &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;court&lt;/span&gt;'s analysis&lt;/span&gt;—that &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;'s now-invalidated exclusionary marriage law was legally binding during the time the couple might otherwise have entered into a common law marriage—&lt;span class="ldml-quotation quote"&gt;"misreads the fundamental import"&lt;/span&gt; of &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_27982"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; .&lt;/span&gt; &lt;span data-paragraph-id="27600" data-sentence-id="28260" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/884909361" data-vids="884909361" class="ldml-reference" data-prop-ids="sentence_27982"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="27600" data-sentence-id="28264" class="ldml-sentence"&gt;It concluded that &lt;span class="ldml-quotation quote"&gt;"a &lt;span class="ldml-entity"&gt;court&lt;/span&gt; today may not rely on the now-invalidated provisions of the Marriage Law to deny th&lt;span class="ldml-parenthetical"&gt;[e]&lt;/span&gt; constitutional reality"&lt;/span&gt; that &lt;span class="ldml-quotation quote"&gt;"same-sex couples have precisely the same capacity to enter marriage contracts as do opposite-sex couples,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/884909361" data-vids="884909361" class="ldml-reference" data-prop-ids="sentence_28264"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , and held that because different-sex couples may establish a common law marriage predating &lt;span class="ldml-entity"&gt;2005&lt;/span&gt;, same-sex couples must also have that right, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/884909361" data-vids="884909361" class="ldml-reference" data-prop-ids="sentence_28264"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;id.&lt;/i&gt; at 977–78&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="28675" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="28675" data-sentence-id="28675" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_28675"&gt;&lt;span class="ldml-cite"&gt;¶36&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; For the same reason, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; disagree with the &lt;span class="ldml-entity"&gt;South Carolina Court of Appeals&lt;/span&gt;’ &lt;span class="ldml-entity"&gt;decision in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889261868" data-vids="889261868" class="ldml-reference" data-prop-ids="sentence_28675"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Swicegood v. Thompson&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;431 S.C. 130&lt;/span&gt;, &lt;span class="ldml-cite"&gt;847 S.E.2d 104, 112&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;S.C. App.&lt;/span&gt; &lt;span class="ldml-date"&gt;2020&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, which held that &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;'s marriage &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;, although invalidated by &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_28675"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , nevertheless &lt;span class="ldml-quotation quote"&gt;"operated as an impediment to the formation of a common-law marriage between same-sex couples &lt;i class="ldml-italics"&gt;when it was still in force&lt;/i&gt; ."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="28675" data-sentence-id="29062" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;Emphasis added&lt;/span&gt;.)&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="28675" data-sentence-id="29080" class="ldml-sentence"&gt;This view mistakenly assumes that the unconstitutional law, although void, was ever in force.&lt;/span&gt; &lt;span data-paragraph-id="28675" data-sentence-id="29174" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[W]&lt;/span&gt;hat &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; does with regard to an unconstitutional law is simply to ignore it.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;It decides &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;‘&lt;i class="ldml-italics"&gt;disregarding the &lt;span class="ldml-parenthetical"&gt;[unconstitutional]&lt;/span&gt; law&lt;/i&gt; ,’&lt;/span&gt; because a law repugnant to &lt;span class="ldml-entity"&gt;the Constitution&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;‘is void, and is as no law.’&lt;/span&gt; "&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="28675" data-sentence-id="29397" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891026221" data-vids="891026221" class="ldml-reference" data-prop-ids="sentence_29174"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Reynoldsville Casket Co. v. Hyde&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;514 U.S. 749, 760&lt;/span&gt;, &lt;span class="ldml-cite"&gt;115 S.Ct. 1745&lt;/span&gt;, &lt;span class="ldml-cite"&gt;131 L.Ed.2d 820&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1995&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(Scalia, J., concurring)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;alteration in original&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;citations omitted&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(first quoting &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29174" data-refglobal="case:marburyvmadison,1cranch137,5us137,177,1803wl893,2led601803"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Marbury v. Madison&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;5 U.S. 137, 178&lt;/span&gt;, &lt;span class="ldml-cite"&gt;1 Cranch 137&lt;/span&gt;, &lt;span class="ldml-cite"&gt;2 L.Ed. 60&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1803&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; and then quoting &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_29174" data-refglobal="case:expartesiebold,100us371,384,10otto371,25led7171879"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Ex parte Siebold&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;100 U.S. 371, 376&lt;/span&gt;, &lt;span class="ldml-cite"&gt;25 L.Ed. 717&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1880&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="28675" data-sentence-id="29725" class="ldml-sentence"&gt;To treat a law repugnant to &lt;span class="ldml-entity"&gt;the Constitution&lt;/span&gt; as a barrier to forming an agreement to be married fails to disregard that unconstitutional law; indeed, it resurrects it.&lt;/span&gt; &lt;span data-paragraph-id="28675" data-sentence-id="29893" class="ldml-sentence"&gt;Put differently, to hold that a same-sex couple may enter a marriage only &lt;i class="ldml-italics"&gt;after &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_29893"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; wholly disregards the effect of that decision.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="30031" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="30031" data-sentence-id="30032" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30032"&gt;&lt;span class="ldml-cite"&gt;¶37&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Similarly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; reject LaFleur's contention that, as a matter of law, it was impossible for a same-sex couple to form the requisite intent to enter into a common law marriage before Colorado recognized same-sex couples’ fundamental right to marry.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="30281" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="30281" data-sentence-id="30282" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30282"&gt;&lt;span class="ldml-cite"&gt;¶38&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; As &lt;span class="ldml-entity"&gt;we&lt;/span&gt; hold today in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895630156" data-vids="895630156" class="ldml-reference" data-prop-ids="sentence_30282"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Hogsett&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , to enter the legal and social institution of marriage, a couple must mutually agree &lt;span class="ldml-quotation quote"&gt;"to enter a &lt;i class="ldml-italics"&gt;marital&lt;/i&gt; relationship—that is, to share a life together as spouses in a committed, intimate relationship of mutual support and obligation."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="30281" data-sentence-id="30551" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_30282"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Hogsett&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;¶ 3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="30281" data-sentence-id="30566" class="ldml-sentence"&gt;That the marital relationship was not recognized at the time does not change the nature of the relationship &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-val="881" data-id="pagenumber_30674" data-rep="P.3d" data-vol="479"&gt;&lt;/span&gt; itself.&lt;/span&gt; &lt;span data-paragraph-id="30281" data-sentence-id="30683" class="ldml-sentence"&gt;An analogy to anti-miscegenation laws is instructive.&lt;/span&gt; &lt;span data-paragraph-id="30281" data-sentence-id="30737" class="ldml-sentence"&gt;LaFleur's argument suggests that an interracial couple lacked the capacity, as a matter of law, to enter into a marriage pre- &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887647027" data-vids="887647027" class="ldml-reference" data-prop-ids="sentence_30737"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Loving&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; because &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; in which &lt;span class="ldml-entity"&gt;they&lt;/span&gt; resided did not recognize the relationship.&lt;/span&gt; &lt;span data-paragraph-id="30281" data-sentence-id="30946" class="ldml-sentence"&gt;But, as noted above, &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; rejected such logic in the wake of &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887647027" data-vids="887647027" class="ldml-reference" data-prop-ids="sentence_30946"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Loving&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; decision&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="30281" data-sentence-id="31030" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See, e.g.&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887836230" data-vids="887836230" class="ldml-reference" data-prop-ids="sentence_30946"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Reaves&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;434 P.2d at 298&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895062091" data-vids="895062091" class="ldml-reference" data-prop-ids="sentence_30946"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Lewis&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;306 F. Supp. at 1183–84&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="30281" data-sentence-id="31102" class="ldml-sentence"&gt;In the wake of &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_31102"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , &lt;span class="ldml-entity"&gt;we&lt;/span&gt; do the same for same-sex couples.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="31166" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="31166" data-sentence-id="31167" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_31167"&gt;&lt;span class="ldml-cite"&gt;¶39&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; To the extent that LaFleur contends that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did not anticipate that his relationship could carry legal consequences, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; are unpersuaded.&lt;/span&gt; &lt;span data-paragraph-id="31166" data-sentence-id="31308" class="ldml-sentence"&gt;Many couples may not appreciate or intend the legal consequences of entering into a marital relationship, or anticipate the ways in which those consequences may shift over time as the law evolves.&lt;a href="#note-fr5" class="ldml-noteanchor" id="note-ref-fr5"&gt;5&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="31166" data-sentence-id="31505" class="ldml-sentence"&gt;But a couple need not intend the &lt;i class="ldml-italics"&gt;legal consequences&lt;/i&gt; of a marital relationship in order to intend to enter into the relationship itself.&lt;/span&gt; &lt;span data-paragraph-id="31166" data-sentence-id="31641" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_31662,sentence_31505"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Hogsett&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;¶ 54&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-entity"&gt;Parties&lt;/span&gt; asserting a common law marriage need not prove that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; had detailed knowledge of and intent to obtain all the legal consequences that attach to marriage."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="31166" data-sentence-id="31830" class="ldml-sentence"&gt;Instead, the focus is on whether &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; intended to enter into a relationship that is &lt;i class="ldml-italics"&gt;marital in nature&lt;/i&gt; .&lt;/span&gt; &lt;span data-paragraph-id="31166" data-sentence-id="31941" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_31962,sentence_31830"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Hogsett&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;¶ 49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"The key question is whether &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; mutually intended to enter a &lt;i class="ldml-italics"&gt;marital&lt;/i&gt; relationship—that is, to share a life together as spouses in a committed, intimate relationship of mutual support and mutual obligation."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="31166" data-sentence-id="32180" class="ldml-sentence"&gt;The myriad rights, benefits, and responsibilities bestowed on the marital relationship by &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; reflect the government's and society's pledge to support and protect the union, but &lt;span class="ldml-entity"&gt;they&lt;/span&gt; are incidental to the marital relationship itself.&lt;/span&gt; &lt;span data-paragraph-id="31166" data-sentence-id="32420" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_32180"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;576 U.S. at 669–70&lt;/span&gt;, &lt;span class="ldml-cite"&gt;135 S.Ct. 2584&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="31166" data-sentence-id="32474" class="ldml-sentence"&gt;Thus, the fact that a couple did not anticipate or intend the legal consequences of entering a marital relationship does not render their intent to enter into such a relationship legally impossible.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-value="2. Any New Rule Announced in Obergefell Applies Retroactively" data-ordinal_end="2" data-id="heading_32672" data-content-heading-label="2. Any New Rule Announced in Obergefell Applies Retroactively" data-format="number" data-specifier="2" data-ordinal_start="2" id="heading_32672" data-parsed="true"&gt;&lt;span data-paragraph-id="32672" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="32672" data-sentence-id="32672" class="ldml-sentence"&gt;2.&lt;/span&gt; &lt;span data-paragraph-id="32672" data-sentence-id="32675" class="ldml-sentence"&gt;Any New Rule Announced in &lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt; Applies Retroactively&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="32733" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="32733" data-sentence-id="32734" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_32734"&gt;&lt;span class="ldml-cite"&gt;¶40&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; As a general rule, judicial decisions operate retroactively.&lt;/span&gt; &lt;span data-paragraph-id="32733" data-sentence-id="32799" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Courts&lt;/span&gt; apply settled precedent and legal principles to the disputes before them, and litigants typically have no basis to argue that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; are exempt from already-decided legal rules.&lt;/span&gt; &lt;span data-paragraph-id="32733" data-sentence-id="32982" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886836134" data-vids="886836134" class="ldml-reference" data-prop-ids="sentence_32799"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;James B. Beam Distilling Co. v. Georgia&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;501 U.S. 529, 534&lt;/span&gt;, &lt;span class="ldml-cite"&gt;111 S.Ct. 2439&lt;/span&gt;, &lt;span class="ldml-cite"&gt;115 L.Ed.2d 481&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="32733" data-sentence-id="33088" class="ldml-sentence"&gt;It is only when the law changes in some respect that the question of nonretroactivity arises—that is, whether &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; should apply the old rule or the new one.&lt;/span&gt; &lt;span data-paragraph-id="32733" data-sentence-id="33250" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886836134" data-vids="886836134" class="ldml-reference" data-prop-ids="sentence_33088"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="33253" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="33253" data-sentence-id="33254" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_33254"&gt;&lt;span class="ldml-cite"&gt;¶41&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_33254"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , &lt;span class="ldml-entity"&gt;the Supreme Court&lt;/span&gt; did not purport to announce a new right; instead, it declared that the long-recognized fundamental right to marry could &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[n]&lt;/span&gt;o longer ... be denied"&lt;/span&gt; to same-sex couples.&lt;/span&gt; &lt;span data-paragraph-id="33253" data-sentence-id="33461" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_33254"&gt;&lt;span class="ldml-cite"&gt;576 U.S. at 675&lt;/span&gt;, &lt;span class="ldml-cite"&gt;135 S.Ct. 2584&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="33253" data-sentence-id="33494" class="ldml-sentence"&gt;Thus, it is questionable whether &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_33494"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; calls for nonretroactivity analysis.&lt;/span&gt; &lt;span data-paragraph-id="33253" data-sentence-id="33575" class="ldml-sentence"&gt;However, even assuming &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_33575"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; did not merely recognize an existing fundamental right to marry but instead announced a new rule of federal law, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that the decision applies retroactively to marriages &lt;span class="ldml-parenthetical"&gt;(including common law marriages)&lt;/span&gt; predating that decision.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="33844" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="33844" data-sentence-id="33845" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_33845"&gt;&lt;span class="ldml-cite"&gt;¶42&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Whether &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_33845"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; applies retroactively is a question of federal law.&lt;/span&gt; &lt;span data-paragraph-id="33844" data-sentence-id="33920" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;U.S. Supreme Court&lt;/span&gt; has recognized that &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-val="882" data-id="pagenumber_33963" data-rep="P.3d" data-vol="479"&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;state courts&lt;/span&gt; enjoy freedom &lt;span class="ldml-quotation quote"&gt;"to limit the retroactive operation of their own interpretations of state law,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_33920" data-refglobal="case:harpervvirginiadeptoftaxation,509us86,97,113sct2510,125led2d74113sct2510509us86,113sct2510,125led2d741993"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Harper&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;509 U.S. at 100&lt;/span&gt;, &lt;span class="ldml-cite"&gt;113 S.Ct. 2510&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, but the &lt;span class="ldml-quotation quote"&gt;"question is a federal one where the rule at issue itself derives from federal law, constitutional or otherwise,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886836134" data-vids="886836134" class="ldml-reference" data-prop-ids="sentence_33920"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Beam Distilling Co.&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;501 U.S. at 535&lt;/span&gt;, &lt;span class="ldml-cite"&gt;111 S.Ct. 2439&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;a href="#note-fr6" class="ldml-noteanchor" id="note-ref-fr6"&gt;6&lt;/a&gt;&lt;/span&gt; &lt;/p&gt;&lt;p data-paragraph-id="34290" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="34290" data-sentence-id="34291" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34291"&gt;&lt;span class="ldml-cite"&gt;¶43&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Though the &lt;span class="ldml-entity"&gt;U.S. Supreme Court&lt;/span&gt;'s framework for assessing the retroactive effect of its decisions has evolved over the past thirty years, &lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889190574" data-vids="889190574" class="ldml-reference" data-prop-ids="sentence_34291"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Chevron Oil Co. v. Huson&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;404 U.S. 97, 106–07&lt;/span&gt;, &lt;span class="ldml-cite"&gt;92 S.Ct. 349&lt;/span&gt;, &lt;span class="ldml-cite"&gt;30 L.Ed.2d 296&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1971&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886836134" data-vids="886836134" class="ldml-reference" data-prop-ids="sentence_34291"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Beam Distilling Co.&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;501 U.S. at 535–39&lt;/span&gt;, &lt;span class="ldml-cite"&gt;111 S.Ct. 2439&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, under &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;'s more recent &lt;span class="ldml-entity"&gt;case law&lt;/span&gt;, it is clear that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[w]&lt;/span&gt;hen &lt;span class="ldml-parenthetical"&gt;&lt;span class="ldml-embeddedsentence"&gt;[the &lt;/span&gt;&lt;span class="ldml-embeddedsentence"&gt;U.S. Supreme]&lt;/span&gt;&lt;/span&gt; Court applies a rule of federal law to &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; before it, that rule is the controlling interpretation of federal law and must be given full retroactive effect in all &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; still open on direct review and &lt;i class="ldml-italics"&gt;as to all events, regardless of whether such events predate or postdate &lt;span class="ldml-parenthetical"&gt;[the &lt;span class="ldml-entity"&gt;Court&lt;/span&gt;'s]&lt;/span&gt; announcement of the rule&lt;/i&gt; ,"&lt;/span&gt; &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_34291" data-refglobal="case:harpervvirginiadeptoftaxation,509us86,97,113sct2510,125led2d74113sct2510509us86,113sct2510,125led2d741993"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Harper&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;509 U.S. at 97&lt;/span&gt;, &lt;span class="ldml-cite"&gt;113 S.Ct. 2510&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;a href="#note-fr7" class="ldml-noteanchor" id="note-ref-fr7"&gt;7&lt;/a&gt;&lt;/span&gt; &lt;/p&gt;&lt;p data-paragraph-id="35044" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="35044" data-sentence-id="35044" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_35044"&gt;&lt;span class="ldml-cite"&gt;¶44&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_35044"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , &lt;span class="ldml-entity"&gt;the Supreme Court&lt;/span&gt; did not reserve the question of whether the rule of law announced in &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;—that &lt;span class="ldml-entity"&gt;the Constitution&lt;/span&gt; entitles same-sex couples to civil marriage &lt;span class="ldml-quotation quote"&gt;"on the same terms and conditions as opposite-sex couples"&lt;/span&gt;—operated only prospectively.&lt;/span&gt; &lt;span data-paragraph-id="35044" data-sentence-id="35314" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_35044"&gt;&lt;span class="ldml-cite"&gt;576 U.S. at 674–76, 679–81&lt;/span&gt;, &lt;span class="ldml-cite"&gt;135 S.Ct. 2584&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="35044" data-sentence-id="35362" class="ldml-sentence"&gt;Rather, &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt; applied the ruling to &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; in the controversy before it.&lt;/span&gt; &lt;span data-paragraph-id="35044" data-sentence-id="35444" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_35362"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="35447" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="35447" data-sentence-id="35448" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_35448"&gt;&lt;span class="ldml-cite"&gt;¶45&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Thus, under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_35448" data-refglobal="case:harpervvirginiadeptoftaxation,509us86,97,113sct2510,125led2d74113sct2510509us86,113sct2510,125led2d741993"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Harper&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_35448"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; ’s holding that restrictions on same-sex marriages are unconstitutional &lt;span class="ldml-quotation quote"&gt;"must be given full retroactive effect ... as to all events, regardless of whether such events predate or postdate"&lt;/span&gt; the decision.&lt;/span&gt; &lt;span data-paragraph-id="35447" data-sentence-id="35703" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_35448" data-refglobal="case:harpervvirginiadeptoftaxation,509us86,97,113sct2510,125led2d74113sct2510509us86,113sct2510,125led2d741993"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Harper&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;509 U.S. at 97&lt;/span&gt;, &lt;span class="ldml-cite"&gt;113 S.Ct. 2510&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="35447" data-sentence-id="35744" class="ldml-sentence"&gt;Because a different-sex couple may prove a common law marriage in Colorado predating &lt;span class="ldml-entity"&gt;2014&lt;/span&gt;, a same-sex couple must also have that opportunity.&lt;/span&gt; &lt;span data-paragraph-id="35447" data-sentence-id="35886" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; may recognize a common law same-sex marriage entered in Colorado before &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; acknowledged the right of same-sex couples to marry.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="36040" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="36040" data-sentence-id="36040" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_36040"&gt;&lt;span class="ldml-cite"&gt;¶46&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Virtually every other jurisdiction to consider this question thus far has held that &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_36040"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; applies retroactively to allow recognition of a common law same-sex marriage predating the decision.&lt;/span&gt; &lt;span data-paragraph-id="36040" data-sentence-id="36240" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See, e.g.&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-entity"&gt;&lt;a href="/vid/890614884" data-vids="890614884" class="ldml-reference" data-prop-ids="embeddedsentence_36316,sentence_36040"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Ranolls v. Dewling&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;223 F. Supp. 3d 613, 622&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;E.D. Tex.&lt;/span&gt; &lt;span class="ldml-date"&gt;2016&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;concluding that under the framework set forth in &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886836134" data-vids="886836134" class="ldml-reference" data-prop-ids="sentence_36040"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Beam Distilling Co.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;and&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_36040" data-refglobal="case:harpervvirginiadeptoftaxation,509us86,97,113sct2510,125led2d74113sct2510509us86,113sct2510,125led2d741993"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Harper&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; , &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_36040"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-cert"&gt;applied&lt;/span&gt; retroactively&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894391168" data-vids="894391168" class="ldml-reference" data-prop-ids="embeddedsentence_36486,sentence_36040"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Gill v. Nostrand&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;206 A.3d 869, 874–75&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;D.C.&lt;/span&gt; &lt;span class="ldml-date"&gt;2019&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-entity"&gt;We&lt;/span&gt; now expressly recognize, as &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt; did and as &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_36040"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;[and other authorities]&lt;/span&gt; require, that a same-sex couple may enter into common-law marriage in the &lt;span class="ldml-entity"&gt;District of Columbia&lt;/span&gt; and that this rule applies retroactively."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887704144" data-vids="887704144" class="ldml-reference" data-prop-ids="embeddedsentence_36777,sentence_36040"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;In re J.K.N.A.&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;398 Mont. 72&lt;/span&gt;, &lt;span class="ldml-cite"&gt;454 P.3d 642, 649&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2019&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;" &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_36040"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;’s holding &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-val="883" data-id="pagenumber_36801" data-rep="P.3d" data-vol="479"&gt;&lt;/span&gt; that state prohibitions against same-sex marriage violate the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_36040"&gt;&lt;span class="ldml-cite"&gt;United States Constitution&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; operates retroactively in relation to &lt;span class="ldml-parenthetical"&gt;[a &lt;span class="ldml-entity"&gt;party&lt;/span&gt;'s]&lt;/span&gt; claim that a common law marriage existed with &lt;span class="ldml-parenthetical"&gt;[her same-sex partner]&lt;/span&gt; ...."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;a href="#note-fr8" class="ldml-noteanchor" id="note-ref-fr8"&gt;8&lt;/a&gt;&lt;/span&gt; &lt;/p&gt;&lt;p data-paragraph-id="37018" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="37018" data-sentence-id="37018" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_37018"&gt;&lt;span class="ldml-cite"&gt;¶47&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; One deviation from this trend is &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889261868" data-vids="889261868" class="ldml-reference" data-prop-ids="sentence_37018"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Swicegood&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; decision&lt;/span&gt; discussed above.&lt;/span&gt; &lt;span data-paragraph-id="37018" data-sentence-id="37095" class="ldml-sentence"&gt;Notably, &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889261868" data-vids="889261868" class="ldml-reference" data-prop-ids="sentence_37095"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Swicegood&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; court&lt;/span&gt; held &lt;span class="ldml-parenthetical"&gt;(consistent with &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/890614884" data-vids="890614884" class="ldml-reference" data-prop-ids="sentence_37095"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Ranolls&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894391168" data-vids="894391168" class="ldml-reference" data-prop-ids="sentence_37095"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Gill&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , and &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887704144" data-vids="887704144" class="ldml-reference" data-prop-ids="sentence_37095"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;In re J.K.N.A.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; )&lt;/span&gt; that its review of &lt;span class="ldml-entity"&gt;U.S. Supreme Court&lt;/span&gt; &lt;span class="ldml-entity"&gt;case law&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"compels the conclusion &lt;span class="ldml-parenthetical"&gt;[that]&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_37095"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; must be applied retroactively."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="37018" data-sentence-id="37305" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889261868" data-vids="889261868" class="ldml-reference" data-prop-ids="sentence_37095"&gt;&lt;span class="ldml-cite"&gt;847 S.E.2d at 110&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="37018" data-sentence-id="37324" class="ldml-sentence"&gt;And yet &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; reasoned that &lt;span class="ldml-entity"&gt;the state&lt;/span&gt;'s invalidated marriage &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; was &lt;span class="ldml-quotation quote"&gt;" &lt;span class="ldml-quotation quote"&gt;‘a pre-existing, separate, independent rule of state law, having nothing to do with retroactivity,’&lt;/span&gt; which formed an &lt;span class="ldml-quotation quote"&gt;‘independent legal basis’&lt;/span&gt; for"&lt;/span&gt; denying relief.&lt;/span&gt; &lt;span data-paragraph-id="37018" data-sentence-id="37566" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889261868" data-vids="889261868" class="ldml-reference" data-prop-ids="sentence_37324"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 112&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891026221" data-vids="891026221" class="ldml-reference" data-prop-ids="sentence_37324"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Reynoldsville Casket Co. v. Hyde&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;514 U.S. 749, 756&lt;/span&gt;, &lt;span class="ldml-cite"&gt;115 S.Ct. 1745&lt;/span&gt;, &lt;span class="ldml-cite"&gt;131 L.Ed.2d 820&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1995&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(majority opinion)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="37699" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="37699" data-sentence-id="37699" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_37699"&gt;&lt;span class="ldml-cite"&gt;¶48&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;The &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889261868" data-vids="889261868" class="ldml-reference" data-prop-ids="sentence_37699"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Swicegood&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; court&lt;/span&gt;'s reliance on &lt;span class="ldml-entity"&gt;&lt;a href="/vid/891026221" data-vids="891026221" class="ldml-reference" data-prop-ids="sentence_37699"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Reynoldsville Casket&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; is misguided.&lt;/span&gt; &lt;span data-paragraph-id="37699" data-sentence-id="37772" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;that case&lt;/span&gt;, the &lt;span class="ldml-entity"&gt;U.S. Supreme Court&lt;/span&gt; acknowledged that &lt;span class="ldml-quotation quote"&gt;"when two different rules of law each independently bar recovery, then a decision"&lt;/span&gt; that retroactively invalidates one rule will not affect the result so long as &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he other, constitutionally adequate rule remains in place."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="37699" data-sentence-id="38052" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891026221" data-vids="891026221" class="ldml-reference" data-prop-ids="sentence_37772"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Reynoldsville Casket&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;514 U.S. at 757&lt;/span&gt;, &lt;span class="ldml-cite"&gt;115 S.Ct. 1745&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="37699" data-sentence-id="38108" class="ldml-sentence"&gt;But this principle does not allow a same-sex marriage ban to operate as an impediment to the formation of a common law marriage because, for the reasons discussed earlier, such an impediment would &lt;span class="ldml-quotation quote"&gt;"critically depend&lt;span class="ldml-parenthetical"&gt;[ ]&lt;/span&gt; upon the continued application of ... a principle that &lt;span class="ldml-parenthetical"&gt;[the]&lt;/span&gt; &lt;span class="ldml-entity"&gt;Court&lt;/span&gt; has held unconstitutional."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="37699" data-sentence-id="38422" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891026221" data-vids="891026221" class="ldml-reference" data-prop-ids="sentence_38108"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;a href="#note-fr9" class="ldml-noteanchor" id="note-ref-fr9"&gt;9&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="37699" data-sentence-id="38426" class="ldml-sentence"&gt;Any impediment to marriage imposed by a same-sex marriage ban is not a &lt;span class="ldml-quotation quote"&gt;"constitutionally adequate rule"&lt;/span&gt;—it is part and parcel with the unconstitutional law itself.&lt;/span&gt; &lt;span data-paragraph-id="37699" data-sentence-id="38590" class="ldml-sentence"&gt;Holding otherwise, as &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889261868" data-vids="889261868" class="ldml-reference" data-prop-ids="sentence_38590"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Swicegood&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; decision&lt;/span&gt; itself demonstrates, renders the acknowledged retroactivity of &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_38590"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; utterly meaningless.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="38729" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="38729" data-sentence-id="38729" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_38729"&gt;&lt;span class="ldml-cite"&gt;¶49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In sum, for the reasons above, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; conclude that &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; may recognize a common law same-sex marriage entered in Colorado before &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; recognized same-sex couples’ fundamental right to marry.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="C. Application of the Updated Common Law Marriage Framework" data-ordinal_end="3" data-id="heading_38927" data-content-heading-label="C. Application of the Updated Common Law Marriage Framework" data-format="upper_case_letters" data-specifier="C" data-ordinal_start="3" id="heading_38927" data-parsed="true"&gt;&lt;span data-paragraph-id="38927" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="38927" data-sentence-id="38927" class="ldml-sentence"&gt;C.&lt;/span&gt; &lt;span data-paragraph-id="38927" data-sentence-id="38930" class="ldml-sentence"&gt;Application of the Updated Common Law Marriage Framework&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="38986" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="38986" data-sentence-id="38987" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_38987"&gt;&lt;span class="ldml-cite"&gt;¶50&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Having concluded that Pyfer and LaFleur were not, as a matter of law, barred from entering into a common law marriage, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; next determine whether a common law marriage was established under the refined test &lt;span class="ldml-entity"&gt;we&lt;/span&gt; announce in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895630156" data-vids="895630156" class="ldml-reference" data-prop-ids="sentence_38987"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Hogsett&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; .&lt;/span&gt; &lt;span data-paragraph-id="38986" data-sentence-id="39222" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"A determination of whether a common law marriage exists turns on issues of fact and credibility, which are properly within &lt;span class="ldml-entity"&gt;the trial court&lt;/span&gt;'s discretion."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="38986" data-sentence-id="39377" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888175630" data-vids="888175630" class="ldml-reference" data-prop-ids="sentence_39222"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Lucero&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;747 P.2d at 665&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="38986" data-sentence-id="39403" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; review &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s factual findings for clear error and its common law marriage finding for an abuse of discretion.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="39534" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="39534" data-sentence-id="39535" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_39535"&gt;&lt;span class="ldml-cite"&gt;¶51&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; LaFleur argues that &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; did not, as a factual matter, have the intent to enter into a common law marriage.&lt;/span&gt; &lt;span data-paragraph-id="39534" data-sentence-id="39654" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; disagree and conclude that the record supports &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s conclusion&lt;/span&gt; that Pyfer and LaFleur manifested a mutual intent to enter into a marital relationship.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="39823" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="39823" data-sentence-id="39824" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_39824"&gt;&lt;span class="ldml-cite"&gt;¶52&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[A]&lt;/span&gt; common law marriage may be established by the mutual consent or agreement of the couple to enter the legal and social institution of marriage, followed by conduct manifesting that mutual agreement."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="39823" data-sentence-id="40032" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_39824"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Hogsett&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;¶ 49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="39823" data-sentence-id="40048" class="ldml-sentence"&gt;&lt;span class="ldml-quotation quote"&gt;"In assessing whether a common law marriage has been established, &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; should give weight to evidence reflecting a couple's express agreement to marry."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="39823" data-sentence-id="40203" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_40048"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="39823" data-sentence-id="40207" class="ldml-sentence"&gt;In the absence of such evidence, &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; may infer such an agreement from &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;’ conduct.&lt;/span&gt; &lt;span data-paragraph-id="39823" data-sentence-id="40302" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_40207"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-embeddeddocument"&gt;&lt;p data-paragraph-id="40305" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="40305" data-sentence-id="40306" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_40306"&gt;&lt;span class="ldml-cite"&gt;¶53&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; As &lt;span class="ldml-entity"&gt;we&lt;/span&gt; explain in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895630156" data-vids="895630156" class="ldml-reference" data-prop-ids="sentence_40306"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Hogsett&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , the factors identified in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888175630" data-vids="888175630" class="ldml-reference" data-prop-ids="sentence_40306"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Lucero&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;747 P.2d at 665&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, can still be relevant to this inquiry.&lt;/span&gt; &lt;span data-paragraph-id="40305" data-sentence-id="40428" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Courts&lt;/span&gt; should therefore consider factors such as&lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-val="884" data-id="pagenumber_40476" data-rep="P.3d" data-vol="479"&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;blockquote data-paragraph-id="b_40476" class="ldml-blockquote"&gt; &lt;span data-sentence-id="40477" class="ldml-sentence"&gt;cohabitation&lt;span class="ldml-parenthetical"&gt;[;]&lt;/span&gt; reputation in the community as spouses&lt;span class="ldml-parenthetical"&gt;[;]&lt;/span&gt; maintenance of joint banking and credit accounts&lt;span class="ldml-parenthetical"&gt;[;]&lt;/span&gt; purchase and joint ownership of property&lt;span class="ldml-parenthetical"&gt;[;]&lt;/span&gt; filing of joint tax returns&lt;span class="ldml-parenthetical"&gt;[;]&lt;/span&gt; ... the use of one spouse's surname by the other or by children raised by &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;[;]&lt;/span&gt; ... evidence of shared financial responsibility, such as leases in both partners’ names, joint &lt;span class="ldml-entity"&gt;bills&lt;/span&gt;, or other payment records; evidence of joint estate planning, including wills, powers of attorney, beneficiary and emergency contact designations; ... symbols of commitment, such as ceremonies, anniversaries, cards, gifts, and the couple's references to or labels for one another&lt;span class="ldml-parenthetical"&gt;[;]&lt;/span&gt; ... &lt;span class="ldml-parenthetical"&gt;[and]&lt;/span&gt; &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;’ sincerely held beliefs regarding the institution of marriage.&lt;/span&gt;&lt;/blockquote&gt;&lt;/div&gt;&lt;p data-paragraph-id="41219" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="41219" data-sentence-id="41220" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Hogsett&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;¶¶ 55–56&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="41219" data-sentence-id="41240" class="ldml-sentence"&gt;These factors must be assessed in context, however, and &lt;span class="ldml-quotation quote"&gt;"the inferences to be drawn from &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;’ conduct may vary depending on the circumstances."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="41219" data-sentence-id="41392" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_41240"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;at ¶ 49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="41404" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="41404" data-sentence-id="41404" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_41404"&gt;&lt;span class="ldml-cite"&gt;¶54&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; As in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895630156" data-vids="895630156" class="ldml-reference" data-prop-ids="sentence_41404"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Hogsett&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[w]&lt;/span&gt;e begin by reviewing evidence of an express agreement to marry."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="41404" data-sentence-id="41493" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_41404"&gt;&lt;span class="ldml-cite"&gt;¶ 62&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="41404" data-sentence-id="41499" class="ldml-sentence"&gt;Here, Pyfer proposed marriage to LaFleur, and LaFleur accepted.&lt;/span&gt; &lt;span data-paragraph-id="41404" data-sentence-id="41563" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The parties&lt;/span&gt; then participated in a ceremony that, as &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; explained, &lt;span class="ldml-quotation quote"&gt;"certainly appear&lt;span class="ldml-parenthetical"&gt;[ed]&lt;/span&gt; to be a wedding."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="41404" data-sentence-id="41686" class="ldml-sentence"&gt;For instance, Pyfer and LaFleur exchanged vows during the ceremony, which was officiated by a reverend and was attended by friends and family.&lt;/span&gt; &lt;span data-paragraph-id="41404" data-sentence-id="41829" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;They&lt;/span&gt; exchanged rings and wore tuxedos.&lt;/span&gt; &lt;span data-paragraph-id="41404" data-sentence-id="41868" class="ldml-sentence"&gt;A toast was given.&lt;/span&gt; &lt;span data-paragraph-id="41404" data-sentence-id="41887" class="ldml-sentence"&gt;And Pyfer and LaFleur signed a document titled &lt;span class="ldml-quotation quote"&gt;"Certificate of Holy Union"&lt;/span&gt;—much like a couple would sign a marriage license.&lt;/span&gt; &lt;span data-paragraph-id="41404" data-sentence-id="42012" class="ldml-sentence"&gt;This evidence suggests, as &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; found, that &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; expressly agreed to enter into a common law marriage as of &lt;span class="ldml-entity"&gt;November 30, 2003&lt;/span&gt;, the date of the ceremony.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="42185" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="42185" data-sentence-id="42186" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_42186"&gt;&lt;span class="ldml-cite"&gt;¶55&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; That said, given the range of meanings that a same-sex couple might ascribe to such a ceremony before &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_42186"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , it is important to examine the other circumstances of the relationship to discern &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;’ intent.&lt;/span&gt; &lt;span data-paragraph-id="42185" data-sentence-id="42408" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_42186"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Hogsett&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;¶ 54 n.9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="42185" data-sentence-id="42428" class="ldml-sentence"&gt;Here, &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;’ conduct was such that, in addition to the ceremony, a mutual agreement to enter into a marital relationship may be inferred.&lt;/span&gt; &lt;span data-paragraph-id="42185" data-sentence-id="42572" class="ldml-sentence"&gt;Of course, some of the evidence does not point in either direction.&lt;/span&gt; &lt;span data-paragraph-id="42185" data-sentence-id="42640" class="ldml-sentence"&gt;While it would have been significant had one of &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; used the other's surname, for example, the fact that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; did not do so does not necessarily suggest that &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; did not intend to be married.&lt;/span&gt; &lt;span data-paragraph-id="42185" data-sentence-id="42848" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_42869,sentence_42640"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Hogsett&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;¶ 45&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[T]&lt;/span&gt;here may be any number of reasons, including cultural ones, that spouses and children do not take one partner's name at marriage."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="42185" data-sentence-id="43006" class="ldml-sentence"&gt;Similarly, &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;’ failure to file joint tax returns reveals little, especially given that for the majority of their relationship, this was not a possibility under federal law.&lt;/span&gt; &lt;span data-paragraph-id="42185" data-sentence-id="43188" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_43006"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Hogsett&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;¶ 66&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="43208" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="43208" data-sentence-id="43208" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_43208"&gt;&lt;span class="ldml-cite"&gt;¶56&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Other factors, by contrast, are more instructive.&lt;/span&gt; &lt;span data-paragraph-id="43208" data-sentence-id="43262" class="ldml-sentence"&gt;Although &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; did not share joint bank accounts or own property together, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; cohabitated, and LaFleur financially supported Pyfer, both in his day-to-day life and in his pursuit of a career.&lt;/span&gt; &lt;span data-paragraph-id="43208" data-sentence-id="43462" class="ldml-sentence"&gt;And Pyfer listed LaFleur as his spouse on several forms over the years.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="43533" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="43533" data-sentence-id="43534" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_43534"&gt;&lt;span class="ldml-cite"&gt;¶57&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; LaFleur did not tell his coworkers that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was married.&lt;/span&gt; &lt;span data-paragraph-id="43533" data-sentence-id="43594" class="ldml-sentence"&gt;But there was testimony that LaFleur worked in an environment that was not welcoming of same-sex couples; thus, viewed in context, his failure to publicize his relationship with Pyfer does not necessarily reflect a lack of mutual agreement to be married.&lt;/span&gt; &lt;span data-paragraph-id="43533" data-sentence-id="43849" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_43870,sentence_43594"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Hogsett&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;¶ 51&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"There may be &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; where, particularly for same-sex partners, a couple's choice not to broadly publicize the nature of their relationship may be explained by reasons other than their lack of mutual agreement to be married."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="43533" data-sentence-id="44097" class="ldml-sentence"&gt;Pyfer, by contrast, &lt;span class="ldml-quotation quote"&gt;"held himself out as married to family and friends"&lt;/span&gt; with LaFleur's knowledge.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="44194" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="44194" data-sentence-id="44195" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_44195"&gt;&lt;span class="ldml-cite"&gt;¶58&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; True, there was evidence, toward the end of their relationship, that Pyfer was involved in an extramarital affair and that Pyfer and LaFleur ceased sharing a bedroom and instead lived separately in the same house.&lt;/span&gt; &lt;span data-paragraph-id="44194" data-sentence-id="44413" class="ldml-sentence"&gt;However, &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;’ actions as their relationship deteriorated cannot be used to override their earlier agreement to be married.&lt;/span&gt; &lt;span data-paragraph-id="44194" data-sentence-id="44544" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_44565,sentence_44413"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Hogsett&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;¶ 57&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[C]&lt;/span&gt;onduct inconsistent with marriage that occurs as a relationship is breaking down should not negate a finding of common law marriage where there is evidence of &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-val="885" data-id="pagenumber_44732" data-rep="P.3d" data-vol="479"&gt;&lt;/span&gt; parties&lt;/span&gt;’ earlier mutual agreement to be married.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;In other words, infidelity, physical separation, or other conduct arising as the relationship is ending does not invalidate a couple's prior mutual agreement to enter a common law marriage."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;span data-paragraph-id="44194" data-sentence-id="44973" class="ldml-sentence"&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="44974" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="44974" data-sentence-id="44974" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_44974"&gt;&lt;span class="ldml-cite"&gt;¶59&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In short, viewing the record as a whole and considering the totality of the circumstances, &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s conclusion&lt;/span&gt; that &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; mutually agreed to be married and &lt;span class="ldml-quotation quote"&gt;"intended to be joined with &lt;span class="ldml-parenthetical"&gt;[each other]&lt;/span&gt; for the rest of &lt;span class="ldml-parenthetical"&gt;[their]&lt;/span&gt; li&lt;span class="ldml-parenthetical"&gt;[ves]&lt;/span&gt;"&lt;/span&gt; is supported by the record.&lt;/span&gt; &lt;span data-paragraph-id="44974" data-sentence-id="45254" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; affirm &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the court&lt;/span&gt;'s conclusion&lt;/span&gt; that Pyfer and LaFleur entered into a common law marriage.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth2" data-value="D. Allocation of Marital Assets and Debts and Award of Spousal Maintenance" data-ordinal_end="4" data-id="heading_45358" data-content-heading-label="D. Allocation of Marital Assets and Debts and Award of Spousal Maintenance" data-format="upper_case_letters" data-specifier="D" data-ordinal_start="4" id="heading_45358" data-parsed="true"&gt;&lt;span data-paragraph-id="45358" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="45358" data-sentence-id="45358" class="ldml-sentence"&gt;D.&lt;/span&gt; &lt;span data-paragraph-id="45358" data-sentence-id="45361" class="ldml-sentence"&gt;Allocation of Marital Assets and Debts and Award of Spousal Maintenance&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="45432" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="45432" data-sentence-id="45432" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_45432"&gt;&lt;span class="ldml-cite"&gt;¶60&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Pyfer contends that &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; abused its discretion in allocating the marital assets and debts between Pyfer and LaFleur, arguing that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; did not make adequate findings or adequately consider the statutory factors pursuant to &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_45432"&gt;&lt;span class="ldml-cite"&gt;section 14-10-113&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="45432" data-sentence-id="45697" class="ldml-sentence"&gt;Pyfer also contends that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; abused its discretion in awarding a grossly inadequate award of spousal maintenance, arguing that it &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; did not make adequate findings or adequately consider the statutory factors pursuant to &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_45697"&gt;&lt;span class="ldml-cite"&gt;section 14-10-114&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; incorrectly computed the guideline amount of maintenance; and &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; did not consider the division of property and denial of Pyfer's &lt;span class="ldml-entity"&gt;request for attorney's fees&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="45432" data-sentence-id="46107" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; agree and therefore remand for &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; to reconsider its property division and spousal maintenance award and make appropriate findings under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_46107"&gt;&lt;span class="ldml-cite"&gt;sections 14-10-113&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and - 114.&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-value="1. Division of Property" data-ordinal_end="1" data-id="heading_46291" data-content-heading-label="1. Division of Property" data-format="number" data-specifier="1" data-ordinal_start="1" id="heading_46291" data-parsed="true"&gt;&lt;span data-paragraph-id="46291" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="46291" data-sentence-id="46291" class="ldml-sentence"&gt;1.&lt;/span&gt; &lt;span data-paragraph-id="46291" data-sentence-id="46294" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;Division of Property&lt;/span&gt;&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="46314" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="46314" data-sentence-id="46315" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_46315"&gt;&lt;span class="ldml-cite"&gt;¶61&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The division of marital property is left to &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s discretion.&lt;/span&gt; &lt;span data-paragraph-id="46314" data-sentence-id="46396" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_46315" data-refglobal="case:inremarriageofcardona,2014co3,316p3d626"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;In re Marriage of Cardona &amp; Castro&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;2014 CO 3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_46315"&gt;&lt;span class="ldml-cite"&gt;¶ 9&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:316p3d626,629"&gt;&lt;span class="ldml-cite"&gt;316 P.3d 626, 629&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;citing&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:inrethemarriageofhuntnos93sc565,93sc631,93sc631909p2d525dec18,1995"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;In re Marriage of Hunt&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;909 P.2d 525, 537&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1995&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="46314" data-sentence-id="46534" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; will not disturb &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s division of property &lt;span class="ldml-quotation quote"&gt;"unless there has been a clear abuse of discretion,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_46534" data-refglobal="case:inrethemarriageofbalansonno99sc81125p3d28may29,2001"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;In re Balanson&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;25 P.3d 28, 35&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;2001&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, that, when viewed in relation to the property division as a whole, &lt;span class="ldml-quotation quote"&gt;"affects the substantial rights of &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_46534" data-refglobal="case:inrethemarriageofbalansonno99sc81125p3d28may29,2001"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;id.&lt;/i&gt; at 36&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="46821" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="46821" data-sentence-id="46821" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_46821"&gt;&lt;span class="ldml-cite"&gt;¶62&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_46821"&gt;&lt;span class="ldml-cite"&gt;Section 14-10-113&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; provides that &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"shall set apart to each spouse his or her property and shall divide the marital property, without regard to marital misconduct, in such proportions as &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; deems just."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="46821" data-sentence-id="47045" class="ldml-sentence"&gt;In making its equitable distribution of marital property, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; must consider &lt;span class="ldml-quotation quote"&gt;"all relevant factors,"&lt;/span&gt; including &lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; each spouse's contribution &lt;span class="ldml-quotation quote"&gt;"to the acquisition of the marital property, including the contribution of a spouse as homemaker;"&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he value of the property set apart to each spouse;"&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; each spouse's economic circumstances &lt;span class="ldml-quotation quote"&gt;"at the time the division of property is to become effective."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="46821" data-sentence-id="47459" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_47045"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="47462" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="47462" data-sentence-id="47463" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_47463"&gt;&lt;span class="ldml-cite"&gt;¶63&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; have interpreted &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_47463"&gt;&lt;span class="ldml-cite"&gt;section 14-10-113&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; to require a multi-step analysis.&lt;/span&gt; &lt;span data-paragraph-id="47462" data-sentence-id="47539" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_47463" data-refglobal="case:inrethemarriageofbalansonno99sc81125p3d28may29,2001"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Balanson&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;25 P.3d at 38&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="47462" data-sentence-id="47570" class="ldml-sentence"&gt;First, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; must determine &lt;span class="ldml-quotation quote"&gt;"whether an interest constitutes property."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="47462" data-sentence-id="47655" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_47570" data-refglobal="case:inrethemarriageofbalansonno99sc81125p3d28may29,2001"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="47462" data-sentence-id="47659" class="ldml-sentence"&gt;If so, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; then must classify such property as marital or separate.&lt;/span&gt; &lt;span data-paragraph-id="47462" data-sentence-id="47733" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_47659" data-refglobal="case:inrethemarriageofbalansonno99sc81125p3d28may29,2001"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="47462" data-sentence-id="47737" class="ldml-sentence"&gt;Finally, it must value and make an equitable distribution of the marital property after considering the statutory factors.&lt;/span&gt; &lt;span data-paragraph-id="47462" data-sentence-id="47860" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_47737" data-refglobal="case:inrethemarriageofbalansonno99sc81125p3d28may29,2001"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="47863" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="47863" data-sentence-id="47864" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_47864"&gt;&lt;span class="ldml-cite"&gt;¶64&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Here, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; cannot tell from the record whether &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; engaged in such an analysis.&lt;/span&gt; &lt;span data-paragraph-id="47863" data-sentence-id="47961" class="ldml-sentence"&gt;It was uncontested that the $160,000 increase in value of LaFleur's home was marital property.&lt;/span&gt; &lt;span data-paragraph-id="47863" data-sentence-id="48056" class="ldml-sentence"&gt;But LaFleur maintained multiple retirement accounts, some of which predated the marriage, and &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; did not classify the contents of those accounts as separate or marital property.&lt;/span&gt; &lt;span data-paragraph-id="47863" data-sentence-id="48241" class="ldml-sentence"&gt;Indeed, neither LaFleur nor &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; traced the contents of those retirement accounts—a requirement to claiming separate ownership.&lt;/span&gt; &lt;span data-paragraph-id="47863" data-sentence-id="48374" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_48442,sentence_48241" data-refglobal="case:inrethemarriageofseewaldno99ca115422p3d580march15,2001"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;In re Marriage of Seewald&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;22 P.3d 580, 586&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo. App.&lt;/span&gt; &lt;span class="ldml-date"&gt;2001&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;&lt;span class="ldml-embeddedsentence"&gt;(&lt;span class="ldml-quotation quote"&gt;"The &lt;span class="ldml-entity"&gt;court&lt;/span&gt; also did not make any findings concerning the classification of the specific assets comprising the trust, including whether husband was able to trace the present trust assets back to his premarital holdings sufficiently to overcome the presumption of marital property."&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;citing&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_48241" data-refglobal="case:inrethemarriageofreniervrenierno92ca0120854p2d1382may6,1993"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;In re Marriage of Renier&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;854 P.2d 1382, 1384&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo. App.&lt;/span&gt; &lt;span class="ldml-date"&gt;1993&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; )&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="47863" data-sentence-id="48801" class="ldml-sentence"&gt;Instead, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; awarded Pyfer $50,000 of LaFleur's Roth IRA and ordered that the remaining retirement assets be retained by the named account holder.&lt;/span&gt; &lt;span data-paragraph-id="47863" data-sentence-id="48954" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; took a similar approach &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-val="886" data-id="pagenumber_48988" data-rep="P.3d" data-vol="479"&gt;&lt;/span&gt; regarding each &lt;span class="ldml-entity"&gt;party&lt;/span&gt;'s debts, stating, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[E]&lt;/span&gt;ach &lt;span class="ldml-entity"&gt;party&lt;/span&gt; is to pay all debts in his name."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="47863" data-sentence-id="49076" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court&lt;/span&gt; did not attempt to determine whether such debt was separate or marital.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="49157" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="49157" data-sentence-id="49158" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_49158"&gt;&lt;span class="ldml-cite"&gt;¶65&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Consequently, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; are unable to determine whether &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s property division was inequitable, and &lt;span class="ldml-entity"&gt;we&lt;/span&gt; must set aside the property division and remand for further proceedings.&lt;/span&gt; &lt;span data-paragraph-id="49157" data-sentence-id="49347" class="ldml-sentence"&gt;Upon reconsideration, &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; may well end up in the same position.&lt;/span&gt; &lt;span data-paragraph-id="49157" data-sentence-id="49419" class="ldml-sentence"&gt;But &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; must first conduct the multi-step analysis by classifying each item of property as separate or marital, valuating the property, and considering the statutory factors identified in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_49419"&gt;&lt;span class="ldml-cite"&gt;section 14-10-113&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;a href="#note-fr10" class="ldml-noteanchor" id="note-ref-fr10"&gt;10&lt;/a&gt;&lt;/span&gt; &lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth3" data-value="2. Award of Spousal Maintenance" data-ordinal_end="2" data-id="heading_49632" data-content-heading-label="2. Award of Spousal Maintenance" data-format="number" data-specifier="2" data-ordinal_start="2" id="heading_49632" data-parsed="true"&gt;&lt;span data-paragraph-id="49632" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="49632" data-sentence-id="49632" class="ldml-sentence"&gt;2.&lt;/span&gt; &lt;span data-paragraph-id="49632" data-sentence-id="49635" class="ldml-sentence"&gt;Award of Spousal Maintenance&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="49663" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="49663" data-sentence-id="49664" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_49664"&gt;&lt;span class="ldml-cite"&gt;¶66&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[A]&lt;/span&gt;wards of spousal maintenance ... flow from the property distribution."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="49663" data-sentence-id="49743" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_49664" data-refglobal="case:inrethemarriageofdekoningvdekoningcaseno14sc152364p3d494january11,2016"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;In re Marriage of de Koning&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;2016 CO 2&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_49664"&gt;&lt;span class="ldml-cite"&gt;¶ 26&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-refglobal="case:inrethemarriageofdekoningvdekoningcaseno14sc152364p3d494january11,2016"&gt;&lt;span class="ldml-cite"&gt;364 P.3d 494, 498&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="49663" data-sentence-id="49809" class="ldml-sentence"&gt;In other words, &lt;span class="ldml-quotation quote"&gt;"the issues are interdependent."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="49663" data-sentence-id="49858" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_49809" data-refglobal="case:inrethemarriageofdekoningvdekoningcaseno14sc152364p3d494january11,2016"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="49663" data-sentence-id="49862" class="ldml-sentence"&gt;Therefore, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[w]&lt;/span&gt;hen &lt;span class="ldml-entity"&gt;a trial court&lt;/span&gt; is required to revisit a property division, it must also reevaluate &lt;span class="ldml-parenthetical"&gt;[the]&lt;/span&gt; maintenance ... award&lt;span class="ldml-parenthetical"&gt;[ ]&lt;/span&gt; in light of the updated property division."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="49663" data-sentence-id="50038" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_49862" data-refglobal="case:inrethemarriageofdekoningvdekoningcaseno14sc152364p3d494january11,2016"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="49663" data-sentence-id="50042" class="ldml-sentence"&gt;Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; also set aside the maintenance award and remand for reconsideration.&lt;/span&gt; &lt;span data-paragraph-id="49663" data-sentence-id="50127" class="ldml-sentence"&gt;On remand, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; should follow the detailed procedure set forth in &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_50127"&gt;&lt;span class="ldml-cite"&gt;section 14-10-114&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, making explicit factual findings where required and addressing the factors relevant to its determination.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-content-heading-label="IV. Conclusion" data-types="conclusion" data-format="upper_case_roman_numeral" data-ordinal_end="4" data-confidences="very_high" data-id="heading_50331" data-value="IV. Conclusion" data-specifier="IV" data-ordinal_start="4" id="heading_50331" data-parsed="true"&gt;&lt;span data-paragraph-id="50331" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="50331" data-sentence-id="50331" class="ldml-sentence"&gt;IV.&lt;/span&gt; &lt;span data-paragraph-id="50331" data-sentence-id="50335" class="ldml-sentence"&gt;Conclusion&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="50345" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="50345" data-sentence-id="50345" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_50345"&gt;&lt;span class="ldml-cite"&gt;¶67&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;We&lt;/span&gt; conclude that, because &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_50345"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; struck down state laws that excluded same-sex couples from civil marriage as unconstitutional, such laws cannot stand as an impediment to the recognition of a same-sex marriage predating that decision, but rather are treated as if &lt;span class="ldml-entity"&gt;they&lt;/span&gt; never existed.&lt;/span&gt; &lt;span data-paragraph-id="50345" data-sentence-id="50637" class="ldml-sentence"&gt;To the extent &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_50637"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; announced a new rule of federal law, that decision applies retroactively under &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_50637" data-refglobal="case:harpervvirginiadeptoftaxation,509us86,97,113sct2510,125led2d74113sct2510509us86,113sct2510,125led2d741993"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Harper&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; because &lt;span class="ldml-entity"&gt;the Court in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_50637"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; applied its rule of federal law to the litigants before it.&lt;/span&gt; &lt;span data-paragraph-id="50345" data-sentence-id="50840" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; therefore hold that &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; may recognize a common law same-sex marriage entered in Colorado before &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; recognized same-sex couples’ fundamental right to marry.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="51009" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="51009" data-sentence-id="51009" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_51009"&gt;&lt;span class="ldml-cite"&gt;¶68&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Accordingly, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; agree with &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; that &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; here were not, as a matter of law, barred from entering into a common law marriage in &lt;span class="ldml-entity"&gt;2003&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="51009" data-sentence-id="51168" class="ldml-sentence"&gt;Applying the updated framework announced in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895630156" data-vids="895630156" class="ldml-reference" data-prop-ids="sentence_51168"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Hogsett&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , &lt;span class="ldml-entity"&gt;we&lt;/span&gt; also agree with &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; that &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; did in fact enter into a common law marriage.&lt;/span&gt; &lt;span data-paragraph-id="51009" data-sentence-id="51314" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; nevertheless reverse &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s division of property and award of spousal maintenance and remand for further findings in accordance with &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_51314"&gt;&lt;span class="ldml-cite"&gt;sections 14-10-113&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and - 114.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="51493" class="ldml-paragraph no-indent mt-4"&gt;&lt;span class="ldml-opinionauthor"&gt;&lt;span data-paragraph-id="51493" data-sentence-id="51493" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;CHIEF JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;BOATRIGHT&lt;/span&gt;&lt;/span&gt; concurs in part and concurs in the judgment&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="51561" class="ldml-paragraph no-indent mt-4"&gt;&lt;span class="ldml-opinionauthor content__heading content__heading--depth1" data-content-heading-label="Dissenting,concurring Opinion (SAMOUR, BOATRIGHT)"&gt;&lt;span data-paragraph-id="51561" data-sentence-id="51561" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;SAMOUR&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-opiniontype"&gt;dissents&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="51585" class="ldml-paragraph no-indent mt-4"&gt;&lt;span class="ldml-opinionauthor"&gt;&lt;span data-paragraph-id="51585" data-sentence-id="51585" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;CHIEF JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;BOATRIGHT&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-opiniontype"&gt;concurring in part&lt;/span&gt; and &lt;span class="ldml-opiniontype"&gt;concurring in the judgment&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="51660" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="51660" data-sentence-id="51660" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_51660"&gt;&lt;span class="ldml-cite"&gt;¶69&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; For the reasons stated in my concurrence in the judgment only to &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895630156" data-vids="895630156" class="ldml-reference" data-prop-ids="sentence_51660"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;In re Marriage of Hogsett &amp; Neale&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;2021 CO 1&lt;/span&gt;, &lt;span class="ldml-cite"&gt;478 P.3d 713&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(Boatright, C.J., concurring in the judgment only)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, I disagree with the majority's decision to announce new factors for establishing common law marriage on &lt;span class="ldml-entity"&gt;the facts of &lt;span class="ldml-entity"&gt;that case&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="51660" data-sentence-id="51969" class="ldml-sentence"&gt;As a result, I do not think that the same new factors should be applied here.&lt;/span&gt; &lt;span data-paragraph-id="51660" data-sentence-id="52047" class="ldml-sentence"&gt;Furthermore, application of any factors is unnecessary because, in my view, the fact that &lt;span class="ldml-entity"&gt;Dean LaFleur&lt;/span&gt; and &lt;span class="ldml-entity"&gt;Timothy Pyfer&lt;/span&gt; had a ceremony that was—in every way—a wedding evinces their mutual intent to be married.&lt;/span&gt; &lt;span data-paragraph-id="51660" data-sentence-id="52258" class="ldml-sentence"&gt;In the simplest of terms, LaFleur and Pyfer are married because &lt;span class="ldml-entity"&gt;they&lt;/span&gt; had a wedding.&lt;/span&gt; &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-val="887" data-id="pagenumber_52342" data-rep="P.3d" data-vol="479"&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="52342" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="52342" data-sentence-id="52343" class="ldml-sentence"&gt;I do agree with the majority, however, that the fundamental right to marry as outlined in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_52343"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell v. Hodges&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;576 U.S. 644, 674–75&lt;/span&gt;, &lt;span class="ldml-cite"&gt;135 S.Ct. 2584&lt;/span&gt;, &lt;span class="ldml-cite"&gt;192 L.Ed.2d 609&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2015&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-quotation quote"&gt;"must be given retroactive effect."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="52342" data-sentence-id="52554" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_52343"&gt;&lt;span class="ldml-cite"&gt;Maj. op. ¶ 5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="52342" data-sentence-id="52568" class="ldml-sentence"&gt;I also agree that LaFleur and Pyfer did, in fact, enter into a common law marriage, and that remand is appropriate for &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; to reconsider its property division and spousal maintenance award as well as make appropriate findings.&lt;/span&gt; &lt;span data-paragraph-id="52342" data-sentence-id="52810" class="ldml-sentence"&gt;Accordingly, I concur in part and concur in the judgment.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="52867" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="52867" data-sentence-id="52867" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_52867"&gt;&lt;span class="ldml-cite"&gt;¶70&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; As the majority acknowledges, LaFleur and Pyfer held a ceremony on &lt;span class="ldml-entity"&gt;November 30, 2003&lt;/span&gt;, after Pyfer proposed marriage to LaFleur.&lt;/span&gt; &lt;span data-paragraph-id="52867" data-sentence-id="52999" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_52999"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; at &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_52999"&gt;&lt;span class="ldml-cite"&gt;¶¶ 7&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, 10.&lt;/span&gt; &lt;span data-paragraph-id="52867" data-sentence-id="53016" class="ldml-sentence"&gt;In &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s words, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;here were rings, tuxes, attendance &lt;span class="ldml-parenthetical"&gt;[by friends and family]&lt;/span&gt;, &lt;span class="ldml-parenthetical"&gt;[a]&lt;/span&gt; toast, vows, &lt;span class="ldml-parenthetical"&gt;[and]&lt;/span&gt; a reverend,"&lt;/span&gt; and the couple signed a &lt;span class="ldml-quotation quote"&gt;"Certificate of Holy Union."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="52867" data-sentence-id="53200" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_53016"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;at ¶ 10&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="52867" data-sentence-id="53213" class="ldml-sentence"&gt;This, &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; explained, &lt;span class="ldml-quotation quote"&gt;"certainly appear&lt;span class="ldml-parenthetical"&gt;[ed]&lt;/span&gt; to be a wedding."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="52867" data-sentence-id="53289" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_53213"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="52867" data-sentence-id="53293" class="ldml-sentence"&gt;I agree.&lt;/span&gt; &lt;span data-paragraph-id="52867" data-sentence-id="53302" class="ldml-sentence"&gt;In my view, this &lt;i class="ldml-italics"&gt;was&lt;/i&gt; indisputably a wedding ceremony and effectively an &lt;span class="ldml-quotation quote"&gt;"express agreement to marry."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="52867" data-sentence-id="53404" class="ldml-sentence"&gt;In fact, I struggle to imagine stronger evidence of the couple's &lt;span class="ldml-quotation quote"&gt;"mutual consent or agreement ... to enter the legal and social institution of marriage."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="52867" data-sentence-id="53558" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_53404"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Hogsett&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;¶ 3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="52867" data-sentence-id="53578" class="ldml-sentence"&gt;With such strong evidence substantiating mutual intent, therefore, it is clear—without application of factors—that LaFleur and Pyfer were in a common law marriage.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="53741" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="53741" data-sentence-id="53741" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_53741"&gt;&lt;span class="ldml-cite"&gt;¶71&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; As I stated in my concurrence in the judgment only in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895630156" data-vids="895630156" class="ldml-reference" data-prop-ids="sentence_53741"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Hogsett&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , when the record clearly establishes whether or not both &lt;span class="ldml-entity"&gt;parties&lt;/span&gt; intended to be married, a factors-based analysis proves a needlessly confusing and futile exercise.&lt;/span&gt; &lt;span data-paragraph-id="53741" data-sentence-id="53973" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;This case&lt;/span&gt; provides another good example of such an exercise: After reviewing the details of the ceremony and acknowledging &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s finding that—on the basis of the intent demonstrated by the ceremony—the &lt;span class="ldml-entity"&gt;parties&lt;/span&gt; entered into a common law marriage, the majority explains that, &lt;span class="ldml-quotation quote"&gt;"the &lt;span class="ldml-entity"&gt;parties&lt;/span&gt;’ conduct was such that, in addition to the ceremony, a mutual agreement to enter into a marital relationship may be inferred."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="53741" data-sentence-id="54402" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_53973"&gt;&lt;span class="ldml-cite"&gt;Maj. op. at ¶ 54–55&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="53741" data-sentence-id="54423" class="ldml-sentence"&gt;In the discussion that follows, the majority acknowledges that &lt;span class="ldml-quotation quote"&gt;"some of the evidence &lt;span class="ldml-parenthetical"&gt;[considered under the factors]&lt;/span&gt; does not point in either direction,"&lt;/span&gt; while &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[o]&lt;/span&gt;ther factors, by contrast, are more instructive."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="53741" data-sentence-id="54636" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_54423"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;at ¶¶ 55, 56&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="53741" data-sentence-id="54654" class="ldml-sentence"&gt;This evidence and these factors include &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;’ use of different surnames, failure to file joint tax returns, financial arrangements, cohabitation, public manifestations &lt;span class="ldml-parenthetical"&gt;(or lack thereof)&lt;/span&gt; of marriage, and behavior when the relationship disintegrated.&lt;/span&gt; &lt;span data-paragraph-id="53741" data-sentence-id="54910" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_54654"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;at ¶¶ 55–58&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="53741" data-sentence-id="54927" class="ldml-sentence"&gt;In reaching its conclusion, the majority explains that, &lt;span class="ldml-quotation quote"&gt;"viewing the record as a whole and considering the totality of the circumstances,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s &lt;span class="ldml-quotation quote"&gt;"conclusion that &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; mutually agreed to be married ... is supported by the record"&lt;/span&gt; and that, therefore, &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; entered into a common law marriage.&lt;/span&gt; &lt;span data-paragraph-id="53741" data-sentence-id="55247" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_54927"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;at ¶ 59&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="55259" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="55259" data-sentence-id="55259" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_55259"&gt;&lt;span class="ldml-cite"&gt;¶72&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; I agree with &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s conclusion&lt;/span&gt; that &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; mutually agreed to be married—on the basis of the intent demonstrated by the wedding ceremony.&lt;/span&gt; &lt;span data-paragraph-id="55259" data-sentence-id="55420" class="ldml-sentence"&gt;The majority's factor-based analysis does not add to &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt;'s already-apparent and correct conclusion.&lt;/span&gt; &lt;span data-paragraph-id="55259" data-sentence-id="55535" class="ldml-sentence"&gt;Thus, any factors-based analysis proves unnecessary.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="55587" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="55587" data-sentence-id="55587" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_55587"&gt;&lt;span class="ldml-cite"&gt;¶73&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In addition, establishing a specific date or at least an approximate timeframe for when &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; would have entered into a common law marriage is important because any conduct &lt;i class="ldml-italics"&gt;after&lt;/i&gt; the marriage began is not relevant—in a factor-based analysis or otherwise—to determining whether a common law marriage existed in the first place.&lt;/span&gt; &lt;span data-paragraph-id="55587" data-sentence-id="55924" class="ldml-sentence"&gt;The majority correctly notes in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895630156" data-vids="895630156" class="ldml-reference" data-prop-ids="sentence_55924"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Hogsett&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , and reiterates here, that &lt;span class="ldml-quotation quote"&gt;"conduct inconsistent with marriage that occurs as a relationship is breaking down does not negate a finding of common law marriage where there is evidence of &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;’ earlier mutual agreement to be married."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="55587" data-sentence-id="56205" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_55924"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Hogsett&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;¶ 57&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="55587" data-sentence-id="56221" class="ldml-sentence"&gt;This statement does not, in my view, go the full distance.&lt;/span&gt; &lt;span data-paragraph-id="55587" data-sentence-id="56280" class="ldml-sentence"&gt;Indeed, conduct inconsistent with marriage that occurs &lt;i class="ldml-italics"&gt;after&lt;/i&gt; the marriage &lt;i class="ldml-italics"&gt;began&lt;/i&gt; —not just as the relationship is breaking down—is not relevant.&lt;/span&gt; &lt;span data-paragraph-id="55587" data-sentence-id="56424" class="ldml-sentence"&gt;If the evidence demonstrates that &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; formed a mutual intent to be married, then &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; entered into a common law marriage at that time.&lt;/span&gt; &lt;span data-paragraph-id="55587" data-sentence-id="56574" class="ldml-sentence"&gt;Any post-marriage evidence falls outside the scope of the inquiry.&lt;/span&gt; &lt;span data-paragraph-id="55587" data-sentence-id="56641" class="ldml-sentence"&gt;Here, it is evident when &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;’ marriage began: at their wedding ceremony on &lt;span class="ldml-entity"&gt;November 30, &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-val="888" data-id="pagenumber_56737" data-rep="P.3d" data-vol="479"&gt;&lt;/span&gt; 2003&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="55587" data-sentence-id="56744" class="ldml-sentence"&gt;The majority's factor-based analysis nevertheless—and, in my view, erroneously—relies on evidence from after that point.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="56864" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="56864" data-sentence-id="56864" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_56864"&gt;&lt;span class="ldml-cite"&gt;¶74&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Furthermore, just as infidelity, separation, or other conduct inconsistent with marriage by a partner in a licensed marriage does not invalidate the licensed marriage, conduct inconsistent with marriage by a partner in a common law marriage does not invalidate the common law marriage.&lt;/span&gt; &lt;span data-paragraph-id="56864" data-sentence-id="57154" class="ldml-sentence"&gt;In other words, &lt;span class="ldml-entity"&gt;parties&lt;/span&gt; who enter into licensed or common law marriages remain married until &lt;span class="ldml-entity"&gt;they&lt;/span&gt; legally divorce, regardless of their conduct.&lt;/span&gt; &lt;span data-paragraph-id="56864" data-sentence-id="57298" class="ldml-sentence"&gt;To consider post-agreement-to-be-married evidence for common law marriages would be tantamount to considering the fictional concept of common law divorce.&lt;a href="#note-fr_1" class="ldml-noteanchor" id="note-ref-fr_1"&gt;1&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="56864" data-sentence-id="57453" class="ldml-sentence"&gt;Thus, the fact that LaFleur and Pyfer's relationship eventually deteriorated is not relevant to the fact that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; were common law married on &lt;span class="ldml-entity"&gt;November 30, 2003&lt;/span&gt;, and any factors relying on conduct after that date are, in my view, irrelevant.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="57693" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="57693" data-sentence-id="57693" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_57693"&gt;&lt;span class="ldml-cite"&gt;¶75&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In sum, I disagree with the majority's decision to announce new factors for establishing common law marriage in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895630156" data-vids="895630156" class="ldml-reference" data-prop-ids="sentence_57693"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Hogsett&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; on &lt;span class="ldml-entity"&gt;the facts of &lt;span class="ldml-entity"&gt;that case&lt;/span&gt;&lt;/span&gt;, and therefore, do not think those factors should be applied in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="57693" data-sentence-id="57918" class="ldml-sentence"&gt;Because I do agree with the majority, however, that the fundamental right to marry as outlined in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_57918"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;576 U.S. at 674–75&lt;/span&gt;, &lt;span class="ldml-cite"&gt;135 S.Ct. 2584&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-quotation quote"&gt;"must be given retroactive effect,"&lt;/span&gt; maj. &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;op. ¶ 5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt; that LaFleur and Pyfer did, in fact, enter into a common law marriage; and that remand is appropriate for &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; to reconsider its property division and spousal maintenance award as well as make appropriate findings, I concur in part and concur in the judgment.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-opinion"&gt;&lt;p data-paragraph-id="58388" class="ldml-paragraph no-indent mt-4"&gt;&lt;span class="ldml-opinionauthor content__heading content__heading--depth1" data-content-heading-label="Dissenting Opinion (SAMOUR)"&gt;&lt;span data-paragraph-id="58388" data-sentence-id="58388" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;JUSTICE &lt;span class="ldml-entity"&gt;&lt;span class="ldml-judge"&gt;SAMOUR&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-opiniontype"&gt;dissenting&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-content-heading-label="I. Introduction" data-types="introduction" data-format="upper_case_roman_numeral" data-ordinal_end="1" data-confidences="very_high" data-id="heading_58415" data-value="I. Introduction" data-specifier="I" data-ordinal_start="1" id="heading_58415" data-parsed="true"&gt;&lt;span data-paragraph-id="58415" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="58415" data-sentence-id="58415" class="ldml-sentence"&gt;I.&lt;/span&gt; &lt;span data-paragraph-id="58415" data-sentence-id="58418" class="ldml-sentence"&gt;Introduction&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="58430" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="58430" data-sentence-id="58430" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_58430"&gt;&lt;span class="ldml-cite"&gt;¶76&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Is it possible for a same-sex couple in Colorado to have &lt;i class="ldml-italics"&gt;mutually intended and agreed&lt;/i&gt; to enter into a &lt;i class="ldml-italics"&gt;legal&lt;/i&gt; marital relationship when both &lt;span class="ldml-entity"&gt;parties&lt;/span&gt; were aware that Colorado law prohibited same-sex marriage at the time?&lt;/span&gt; &lt;span data-paragraph-id="58430" data-sentence-id="58652" class="ldml-sentence"&gt;The answer is clearly no.&lt;/span&gt; &lt;span data-paragraph-id="58430" data-sentence-id="58678" class="ldml-sentence"&gt;When Pyfer and LaFleur participated in their wedding ceremony in &lt;span class="ldml-entity"&gt;November 2003&lt;/span&gt;, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; both understood that same-sex couples could not lawfully marry in Colorado because Colorado considered same-sex marriage unlawful, unenforceable, and invalid.&lt;/span&gt; &lt;span data-paragraph-id="58430" data-sentence-id="58922" class="ldml-sentence"&gt;Thus, Pyfer and LaFleur could not possibly have &lt;i class="ldml-italics"&gt;intended or agreed&lt;/i&gt; to enter into the &lt;i class="ldml-italics"&gt;legal&lt;/i&gt; relationship of marriage.&lt;/span&gt; &lt;span data-paragraph-id="58430" data-sentence-id="59039" class="ldml-sentence"&gt;And, because common law marriage in Colorado requires &lt;i class="ldml-italics"&gt;mutual intent and agreement&lt;/i&gt; to enter into the &lt;i class="ldml-italics"&gt;legal&lt;/i&gt; relationship of marriage, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/895630156" data-vids="895630156" class="ldml-reference" data-prop-ids="sentence_59039"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;In re Marriage of Hogsett &amp; Neale&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;2021 CO 1&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_59039"&gt;&lt;span class="ldml-cite"&gt;¶ 49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895630156" data-vids="895630156" class="ldml-reference" data-prop-ids="sentence_59039"&gt;&lt;span class="ldml-cite"&gt;478 P.3d 713, 723–24&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, Pyfer and LaFleur cannot be deemed to have entered into a common law marriage.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="59324" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="59324" data-sentence-id="59324" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_59324"&gt;&lt;span class="ldml-cite"&gt;¶77&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Only after &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the Supreme Court&lt;/span&gt;'s decision in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_59324"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell v. Hodges&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;576 U.S. 644&lt;/span&gt;, &lt;span class="ldml-cite"&gt;135 S.Ct. 2584&lt;/span&gt;, &lt;span class="ldml-cite"&gt;192 L.Ed.2d 609&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2015&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, rendered our state's ban on same-sex marriage unconstitutional could Pyfer and LaFleur have mutually intended and agreed to enter into a common law marriage.&lt;a href="#note-fr_1" class="ldml-noteanchor" id="note-ref-fr_1"&gt;1&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="59324" data-sentence-id="59606" class="ldml-sentence"&gt;But &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_59606"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; wasn't announced until &lt;span class="ldml-entity"&gt;June 2015&lt;/span&gt;—more than a decade after Pyfer and LaFleur had their wedding ceremony.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="59724" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="59724" data-sentence-id="59724" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_59724"&gt;&lt;span class="ldml-cite"&gt;¶78&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The majority correctly notes that our state's restriction on same-sex marriage was rendered void &lt;span class="ldml-entity"&gt;ab&lt;/span&gt; initio by &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_59724"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; and must be treated as though it never existed.&lt;/span&gt; &lt;span data-paragraph-id="59724" data-sentence-id="59897" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_59724"&gt;&lt;span class="ldml-cite"&gt;Maj. op. ¶ 33&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="59724" data-sentence-id="59912" class="ldml-sentence"&gt;But the majority then concludes—rather simplistically—that, as a result, there was no impediment to Pyfer and LaFleur being common law married.&lt;/span&gt; &lt;span data-paragraph-id="59724" data-sentence-id="60056" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_59912"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;at ¶ 34&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="59724" data-sentence-id="60069" class="ldml-sentence"&gt;Alternatively, the majority rules that &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_60069"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; applies retroactively.&lt;/span&gt; &lt;span data-paragraph-id="59724" data-sentence-id="60142" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_60069"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;at ¶ 41&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="59724" data-sentence-id="60155" class="ldml-sentence"&gt;The majority misses the mark on both fronts.&lt;/span&gt; &lt;span data-paragraph-id="59724" data-sentence-id="60200" class="ldml-sentence"&gt;As a matter of law, neither &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_60200"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; ’s effect on our state law nor &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_60200"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; ’s retroactive application can transform Pyfer and LaFleur's &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-val="889" data-id="pagenumber_60342" data-rep="P.3d" data-vol="479"&gt;&lt;/span&gt; mutual intent and agreement at the time of their wedding ceremony in &lt;span class="ldml-entity"&gt;2003&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="60417" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="60417" data-sentence-id="60417" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_60417"&gt;&lt;span class="ldml-cite"&gt;¶79&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Rather than concede that the mutual intent and agreement requirement is a fly in the analytical ointment, the majority shoehorns Pyfer and LaFleur's relationship into the confines of a common law marriage by engaging in a two-step dance.&lt;/span&gt; &lt;span data-paragraph-id="60417" data-sentence-id="60659" class="ldml-sentence"&gt;First, the majority pays lip service to, but declines to meaningfully embrace, the requirement regarding mutual intent and agreement to enter into a &lt;i class="ldml-italics"&gt;legal&lt;/i&gt; marital relationship—a requirement embedded in Colorado's common law marriage jurisprudence.&lt;/span&gt; &lt;span data-paragraph-id="60417" data-sentence-id="60907" class="ldml-sentence"&gt;In the process, the majority clouds the issue by downgrading this requirement and affording preeminence to a different requirement—intent and agreement to enter into &lt;i class="ldml-italics"&gt;any&lt;/i&gt; type of marital relationship &lt;span class="ldml-parenthetical"&gt;(legal or otherwise)&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="60417" data-sentence-id="61128" class="ldml-sentence"&gt;Second, the majority curiously rules that, while it is true that &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; must have intended and agreed to enter into the &lt;i class="ldml-italics"&gt;legal&lt;/i&gt; and social &lt;i class="ldml-italics"&gt;institution&lt;/i&gt; of marriage, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; need not have intended and agreed to incur the consequences of a legally sanctioned marriage.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="61393" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="61393" data-sentence-id="61393" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_61393"&gt;&lt;span class="ldml-cite"&gt;¶80&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The majority attempts to maneuver a judicial tightrope today.&lt;/span&gt; &lt;span data-paragraph-id="61393" data-sentence-id="61459" class="ldml-sentence"&gt;But I find its approach, at best, strained beyond the breaking point and, at worst, internally inconsistent.&lt;/span&gt; &lt;span data-paragraph-id="61393" data-sentence-id="61568" class="ldml-sentence"&gt;Because the majority's position is legally untenable, utterly unfair to LaFleur as well as many others in his shoes, and likely to foster further confusion in this area of the law, I respectfully dissent.&lt;a href="#note-fr_2" class="ldml-noteanchor" id="note-ref-fr_2"&gt;2&lt;/a&gt;&lt;/span&gt; &lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-content-heading-label="II. Analysis" data-types="analysis" data-format="upper_case_roman_numeral" data-ordinal_end="2" data-confidences="very_high" data-id="heading_61773" data-value="II. Analysis" data-specifier="II" data-ordinal_start="2" id="heading_61773" data-parsed="true"&gt;&lt;span data-paragraph-id="61773" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="61773" data-sentence-id="61773" class="ldml-sentence"&gt;II.&lt;/span&gt; &lt;span data-paragraph-id="61773" data-sentence-id="61777" class="ldml-sentence"&gt;Analysis&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="61785" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="61785" data-sentence-id="61785" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_61785"&gt;&lt;span class="ldml-cite"&gt;¶81&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; As &lt;span class="ldml-entity"&gt;we&lt;/span&gt; observed in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888175630" data-vids="888175630" class="ldml-reference" data-prop-ids="sentence_61785"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;People v. Lucero&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;747 P.2d 660, 663&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, Colorado recognizes common law marriage, which dispenses with the formalities of a statutory, licensed marriage.&lt;/span&gt; &lt;span data-paragraph-id="61785" data-sentence-id="61971" class="ldml-sentence"&gt;In a common law marriage, two &lt;span class="ldml-entity"&gt;people&lt;/span&gt; create a &lt;i class="ldml-italics"&gt;legally valid&lt;/i&gt; marital relationship without having to hold a marriage ceremony conducted in accordance with statutory requirements.&lt;/span&gt; &lt;span data-paragraph-id="61785" data-sentence-id="62148" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_61971" data-refglobal="case:inremarriageofjmhrouse,143p3d1116,1117coloapp2006jmh"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;In re Marriage of J.M.H. &amp; Rouse&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;143 P.3d 1116, 1118&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo. App.&lt;/span&gt; &lt;span class="ldml-date"&gt;2006&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="61785" data-sentence-id="62222" class="ldml-sentence"&gt;A common law marriage is established &lt;span class="ldml-quotation quote"&gt;"by the mutual consent or agreement of &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;"&lt;/span&gt; to enter into a &lt;i class="ldml-italics"&gt;lawful&lt;/i&gt; marital relationship, &lt;span class="ldml-quotation quote"&gt;"followed by a mutual and open assumption"&lt;/span&gt; of that relationship.&lt;/span&gt; &lt;span data-paragraph-id="61785" data-sentence-id="62421" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/888175630" data-vids="888175630" class="ldml-reference" data-prop-ids="sentence_62222"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Lucero&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;747 P.2d at 663&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="62446" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="62446" data-sentence-id="62446" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_62446"&gt;&lt;span class="ldml-cite"&gt;¶82&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Today, in the companion case of &lt;i class="ldml-italics"&gt;In re Marriage of Hogsett &amp; Neale&lt;/i&gt; , the majority gives the relevant factors &lt;span class="ldml-entity"&gt;we&lt;/span&gt; articulated in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888175630" data-vids="888175630" class="ldml-reference" data-prop-ids="sentence_62446"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Lucero&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; a much-needed tune-up to account for our society's evolution during the last three-plus decades.&lt;/span&gt; &lt;span data-paragraph-id="62446" data-sentence-id="62680" class="ldml-sentence"&gt;I applaud those efforts.&lt;/span&gt; &lt;span data-paragraph-id="62446" data-sentence-id="62705" class="ldml-sentence"&gt;However, the majority and I part ways because, while it purports to preserve the analytical framework forged by &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888175630" data-vids="888175630" class="ldml-reference" data-prop-ids="sentence_62705"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Lucero&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , it effectively endorses a new common law marriage test by eroding the significance of &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;’ intent and agreement to enter into a &lt;i class="ldml-italics"&gt;legal&lt;/i&gt; marital relationship.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="62989" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="62989" data-sentence-id="62989" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_62989"&gt;&lt;span class="ldml-cite"&gt;¶83&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The majority echoes &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888175630" data-vids="888175630" class="ldml-reference" data-prop-ids="sentence_62989"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Lucero&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; ’s principal lesson and holds that &lt;span class="ldml-quotation quote"&gt;"a common law marriage may be established by the mutual consent or agreement of the couple to enter the &lt;i class="ldml-italics"&gt;legal&lt;/i&gt; and social institution of marriage, followed by conduct manifesting that mutual agreement."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="62989" data-sentence-id="63257" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_62989"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Hogsett&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;¶ 3&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="62989" data-sentence-id="63289" class="ldml-sentence"&gt;But it then backtracks, explaining that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he core query is whether &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; intended to enter a &lt;i class="ldml-italics"&gt;marital&lt;/i&gt; relationship—that is, to share a life together as spouses in a committed, intimate relationship of mutual support and obligation."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="62989" data-sentence-id="63529" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_63289"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="62989" data-sentence-id="63533" class="ldml-sentence"&gt;What happened to the &lt;span class="ldml-quotation quote"&gt;"legal"&lt;/span&gt; aspect of the test?&lt;/span&gt; &lt;span data-paragraph-id="62989" data-sentence-id="63582" class="ldml-sentence"&gt;Why isn't that part of the &lt;span class="ldml-quotation quote"&gt;"core query"&lt;/span&gt;?&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="63622" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="63622" data-sentence-id="63622" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_63622"&gt;&lt;span class="ldml-cite"&gt;¶84&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Apparently, the majority considers mutual intent and agreement to enter into a &lt;i class="ldml-italics"&gt;legal&lt;/i&gt; marital relationship a &lt;i class="ldml-italics"&gt;peripheral requirement&lt;/i&gt; of common law marriage.&lt;/span&gt; &lt;span data-paragraph-id="63622" data-sentence-id="63781" class="ldml-sentence"&gt;But I don't understand the difference the majority draws between a core requirement and a peripheral requirement: Either something is a requirement or it isn't.&lt;/span&gt; &lt;span data-paragraph-id="63622" data-sentence-id="63942" class="ldml-sentence"&gt;And a peripheral requirement is, by definition, still a requirement.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="64010" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="64010" data-sentence-id="64010" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_64010"&gt;&lt;span class="ldml-cite"&gt;¶85&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Must &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; have intended and agreed to enter into a &lt;i class="ldml-italics"&gt;legal&lt;/i&gt; marital relationship?&lt;/span&gt; &lt;span data-paragraph-id="64010" data-sentence-id="64100" class="ldml-sentence"&gt;Or does it suffice that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; intended and agreed to enter into &lt;i class="ldml-italics"&gt;any&lt;/i&gt; marital relationship &lt;span class="ldml-parenthetical"&gt;(legal or otherwise)&lt;/span&gt;?&lt;/span&gt; &lt;span data-paragraph-id="64010" data-sentence-id="64210" class="ldml-sentence"&gt;It can't be both.&lt;/span&gt; &lt;span data-paragraph-id="64010" data-sentence-id="64228" class="ldml-sentence"&gt;If it's the former, I'm not sure why the majority demotes to peripheral status the &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-val="890" data-id="pagenumber_64311" data-rep="P.3d" data-vol="479"&gt;&lt;/span&gt; requirement of mutual intent and agreement to enter into a legal marital relationship.&lt;/span&gt; &lt;span data-paragraph-id="64010" data-sentence-id="64399" class="ldml-sentence"&gt;And if it's the latter, the majority ought to come out and admit that it's overturning decades of precedent construing the common law as requiring a mutual intent and agreement to enter into a legal marital relationship.&lt;/span&gt; &lt;span data-paragraph-id="64010" data-sentence-id="64620" class="ldml-sentence"&gt;It is difficult to conclude that the majority isn't changing the common law today.&lt;/span&gt; &lt;span data-paragraph-id="64010" data-sentence-id="64703" class="ldml-sentence"&gt;After all, by framing the &lt;span class="ldml-quotation quote"&gt;"core query"&lt;/span&gt; as it does, the majority drains all the life out of our longstanding common law marriage requirement that couples mutually intend and agree to enter into a legal marital relationship.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="64925" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="64925" data-sentence-id="64925" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_64925"&gt;&lt;span class="ldml-cite"&gt;¶86&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Here, Pyfer cannot satisfy the requirement of mutual intent and agreement to enter into a legal marital relationship.&lt;/span&gt; &lt;span data-paragraph-id="64925" data-sentence-id="65047" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The district court&lt;/span&gt; found that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; proposed marriage to LaFleur, that LaFleur accepted his proposal, and that the two held a wedding ceremony in &lt;span class="ldml-entity"&gt;November 2003&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="64925" data-sentence-id="65205" class="ldml-sentence"&gt;But, at that time, the &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_65205"&gt;&lt;span class="ldml-cite"&gt;Colorado Constitution&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; stated that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[o]&lt;/span&gt;nly a union of one man and one woman shall be valid or recognized as a marriage in this state."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="64925" data-sentence-id="65362" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_65362"&gt;&lt;span class="ldml-cite"&gt;Colo. Const. art. 2, § 31&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;i class="ldml-italics"&gt;invalidated by &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_65362"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell v. Hodges&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;576 U.S. 644&lt;/span&gt;, &lt;span class="ldml-cite"&gt;135 S.Ct. 2584&lt;/span&gt;, &lt;span class="ldml-cite"&gt;192 L.Ed.2d 609&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2015&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="64925" data-sentence-id="65482" class="ldml-sentence"&gt;Similarly, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_65482"&gt;&lt;span class="ldml-cite"&gt;section 14-2-104&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, C.R.S. &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;2003&lt;/span&gt;)&lt;/span&gt;, &lt;i class="ldml-italics"&gt;invalidated by &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_65482"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell v. Hodges&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;576 U.S. 644&lt;/span&gt;, &lt;span class="ldml-cite"&gt;135 S.Ct. 2584&lt;/span&gt;, &lt;span class="ldml-cite"&gt;192 L.Ed.2d 609&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2015&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, provided, as pertinent here, that &lt;span class="ldml-quotation quote"&gt;"a marriage is valid in this state if ... &lt;span class="ldml-parenthetical"&gt;[i]&lt;/span&gt;t is only between one man and one woman."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="64925" data-sentence-id="65740" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_65482"&gt;&lt;span class="ldml-cite"&gt;§ 14-2-104&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt;&lt;span class="ldml-parenthetical"&gt;(b)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="64925" data-sentence-id="65758" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_65758"&gt;&lt;span class="ldml-cite"&gt;Subsection &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; of the same &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; reiterated that &lt;span class="ldml-quotation quote"&gt;"any marriage contracted within ... this state"&lt;/span&gt; not between one man and one woman shall not be &lt;span class="ldml-quotation quote"&gt;"recognized as valid in this state."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="64925" data-sentence-id="65941" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_65758"&gt;&lt;span class="ldml-cite"&gt;§ 14-2-104&lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="65955" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="65955" data-sentence-id="65955" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_65955"&gt;&lt;span class="ldml-cite"&gt;¶87&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Neither Pyfer nor LaFleur claims that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; was unaware that Colorado law did not recognize same-sex marriage in &lt;span class="ldml-entity"&gt;2003&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="65955" data-sentence-id="66075" class="ldml-sentence"&gt;To the contrary, the record reflects that each was well aware of this restriction.&lt;/span&gt; &lt;span data-paragraph-id="65955" data-sentence-id="66158" class="ldml-sentence"&gt;Consequently, whatever marriage Pyfer and LaFleur intended to enter into in &lt;span class="ldml-entity"&gt;2003&lt;/span&gt;, one thing is for certain: It could not possibly have been a &lt;i class="ldml-italics"&gt;legal&lt;/i&gt; marriage.&lt;/span&gt; &lt;span data-paragraph-id="65955" data-sentence-id="66316" class="ldml-sentence"&gt;That is, as a matter of law, Pyfer and LaFleur could not have intended or agreed to enter into a marital relationship recognized as legal, enforceable, and valid in Colorado.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="66490" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="66490" data-sentence-id="66490" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_66490"&gt;&lt;span class="ldml-cite"&gt;¶88&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Because the marriage Pyfer and LaFleur entered into in &lt;span class="ldml-entity"&gt;2003&lt;/span&gt; was not legally binding—something &lt;span class="ldml-entity"&gt;they&lt;/span&gt; both realized—there was no basis for either of them to believe that a dissolution proceeding could ever be initiated in the event the marriage failed.&lt;/span&gt; &lt;span data-paragraph-id="66490" data-sentence-id="66744" class="ldml-sentence"&gt;Nor did &lt;span class="ldml-entity"&gt;they&lt;/span&gt; have reason to think that &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; could ever be called upon to distribute their assets and debts or to order either of them to pay maintenance.&lt;/span&gt; &lt;span data-paragraph-id="66490" data-sentence-id="66901" class="ldml-sentence"&gt;It follows that neither Pyfer nor LaFleur had cause to consider a prenuptial agreement or any other type of premarital arrangement to protect himself in case the marriage failed.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="67079" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="67079" data-sentence-id="67079" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_67079"&gt;&lt;span class="ldml-cite"&gt;¶89&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; LaFleur, &lt;span class="ldml-entity"&gt;the party&lt;/span&gt; who owns almost all the assets in this relationship, confirms that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; didn't expect there could be legal consequences if his marriage with Pyfer failed.&lt;/span&gt; &lt;span data-paragraph-id="67079" data-sentence-id="67255" class="ldml-sentence"&gt;Not only was that a reasonable expectation, it was the only rational one.&lt;/span&gt; &lt;span data-paragraph-id="67079" data-sentence-id="67329" class="ldml-sentence"&gt;Indeed, how could there be &lt;i class="ldml-italics"&gt;legal&lt;/i&gt; consequences vis-à-vis a dissolution proceeding as a result of entering into a marriage that was not recognized as a marriage under Colorado law and was thus devoid of legal effect?&lt;/span&gt; &lt;span data-paragraph-id="67079" data-sentence-id="67544" class="ldml-sentence"&gt;Something that's not legally binding cannot simultaneously be legally binding.&lt;/span&gt; &lt;span data-paragraph-id="67079" data-sentence-id="67623" class="ldml-sentence"&gt;In meteorological terms, it's either raining or it isn't.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="67680" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="67680" data-sentence-id="67680" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_67680"&gt;&lt;span class="ldml-cite"&gt;¶90&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The majority responds that nothing is amiss here because, following &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_67680"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , &lt;span class="ldml-entity"&gt;we&lt;/span&gt; have to treat our now-defunct constitutional and statutory provisions prohibiting same-sex marriage as though &lt;span class="ldml-entity"&gt;they&lt;/span&gt; never existed.&lt;/span&gt; &lt;span data-paragraph-id="67680" data-sentence-id="67898" class="ldml-sentence"&gt;Therefore, urges the majority, there was no obstacle preventing Pyfer and LaFleur from entering into a common law marriage in &lt;span class="ldml-entity"&gt;2003&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="68029" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="68029" data-sentence-id="68029" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_68029"&gt;&lt;span class="ldml-cite"&gt;¶91&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The inherent flaw in the majority's facile rationale is that it overlooks that a requirement of common law marriage is &lt;i class="ldml-italics"&gt;mutual intent and agreement&lt;/i&gt; to be &lt;i class="ldml-italics"&gt;lawfully&lt;/i&gt; married.&lt;/span&gt; &lt;span data-paragraph-id="68029" data-sentence-id="68204" class="ldml-sentence"&gt;Treating, as &lt;span class="ldml-entity"&gt;we&lt;/span&gt; must, our state law barring same-sex marriage nonexistent in &lt;span class="ldml-entity"&gt;2003&lt;/span&gt; does not alter the fact that Pyfer and LaFleur did not mutually intend or agree to enter into a legal marriage.&lt;/span&gt; &lt;span data-paragraph-id="68029" data-sentence-id="68398" class="ldml-sentence"&gt;Nor could &lt;span class="ldml-entity"&gt;they&lt;/span&gt; have done so—&lt;span class="ldml-entity"&gt;they&lt;/span&gt; weren't clairvoyant, and their intent and agreement could only have been based on what &lt;span class="ldml-entity"&gt;they&lt;/span&gt; knew at the time.&lt;/span&gt; &lt;span data-paragraph-id="68029" data-sentence-id="68541" class="ldml-sentence"&gt;How can two individuals mutually intend and agree to enter into a legally binding relationship when &lt;span class="ldml-entity"&gt;they&lt;/span&gt; both know that the law &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-val="891" data-id="pagenumber_68669" data-rep="P.3d" data-vol="479"&gt;&lt;/span&gt; doesn't recognize that relationship and, in fact, deems it unlawful, unenforceable, and wholly invalid?&lt;/span&gt; &lt;span data-paragraph-id="68029" data-sentence-id="68774" class="ldml-sentence"&gt;Asked differently, how could Pyfer and LaFleur have intended and agreed to enter into a &lt;i class="ldml-italics"&gt;legal&lt;/i&gt; marriage when &lt;span class="ldml-entity"&gt;they&lt;/span&gt; both knew such a marriage was &lt;i class="ldml-italics"&gt;illegal&lt;/i&gt; in Colorado?&lt;/span&gt; &lt;span data-paragraph-id="68029" data-sentence-id="68938" class="ldml-sentence"&gt;That &lt;span class="ldml-entity"&gt;we&lt;/span&gt; must treat a certain state law in &lt;span class="ldml-entity"&gt;2003&lt;/span&gt; as though it never saw the light of day doesn't mean that &lt;span class="ldml-entity"&gt;we&lt;/span&gt; can somehow retroactively metamorphose Pyfer and LaFleur's mutual intent and agreement in &lt;span class="ldml-entity"&gt;2003&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="69141" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="69141" data-sentence-id="69141" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_69141"&gt;&lt;span class="ldml-cite"&gt;¶92&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Alternatively, the majority argues that &lt;span class="ldml-entity"&gt;&lt;span class="ldml-entity"&gt;the Supreme Court&lt;/span&gt;'s holding in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_69141"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; applies retroactively.&lt;/span&gt; &lt;span data-paragraph-id="69141" data-sentence-id="69250" class="ldml-sentence"&gt;But even assuming &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_69250"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; ’s retroactivity, it doesn't obviate the Sisyphean challenge presented by the common law marriage requirement of mutual intent and agreement to enter into the &lt;i class="ldml-italics"&gt;legal&lt;/i&gt; relationship of marriage.&lt;a href="#note-fr_3" class="ldml-noteanchor" id="note-ref-fr_3"&gt;3&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="69141" data-sentence-id="69470" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_69470"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; may have changed &lt;i class="ldml-italics"&gt;our state law&lt;/i&gt; retroactively, but it lacks the power to change &lt;i class="ldml-italics"&gt;anyone's intent&lt;/i&gt; or &lt;i class="ldml-italics"&gt;any couple's agreement&lt;/i&gt; retroactively.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="69616" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="69616" data-sentence-id="69616" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_69616"&gt;&lt;span class="ldml-cite"&gt;¶93&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Significantly, &lt;span class="ldml-entity"&gt;the Supreme Court&lt;/span&gt; wisely predicted a quarter of a century ago that even when &lt;span class="ldml-entity"&gt;courts&lt;/span&gt; apply retroactively a new rule of law to a pending case, &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-entity"&gt;they&lt;/span&gt; will find instances where that new rule, for well-established legal reasons, does not determine the outcome of &lt;span class="ldml-entity"&gt;the case&lt;/span&gt;."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="69616" data-sentence-id="69904" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891026221" data-vids="891026221" class="ldml-reference" data-prop-ids="sentence_69616"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Reynoldsville Casket Co. v. Hyde&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;514 U.S. 749, 758–59&lt;/span&gt;, &lt;span class="ldml-cite"&gt;115 S.Ct. 1745&lt;/span&gt;, &lt;span class="ldml-cite"&gt;131 L.Ed.2d 820&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1995&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="69616" data-sentence-id="70001" class="ldml-sentence"&gt;In those instances there may be:&lt;/span&gt;&lt;/p&gt;&lt;blockquote data-paragraph-id="b_70033" class="ldml-blockquote"&gt;&lt;span data-sentence-id="70033" class="ldml-sentence"&gt;&lt;span class="ldml-parenthetical"&gt;(1)&lt;/span&gt; an alternative way of curing the constitutional violation, or &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; a previously existing, independent legal basis &lt;span class="ldml-parenthetical"&gt;(having nothing to do with retroactivity)&lt;/span&gt; for denying relief, or &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt; ... a well-established general legal rule that trumps the new rule of law, which general rule reflects &lt;i class="ldml-italics"&gt;both&lt;/i&gt; reliance interests and other significant policy justifications, or &lt;span class="ldml-parenthetical"&gt;(4)&lt;/span&gt; a principle of law, such as that of &lt;span class="ldml-quotation quote"&gt;"finality"&lt;/span&gt; ... , that limits the principle of retroactivity itself.&lt;/span&gt;&lt;/blockquote&gt;&lt;p data-paragraph-id="70501" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="70501" data-sentence-id="70502" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891026221" data-vids="891026221" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 759&lt;/span&gt;, &lt;span class="ldml-cite"&gt;115 S.Ct. 1745&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;a href="#note-fr_4" class="ldml-noteanchor" id="note-ref-fr_4"&gt;4&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="70501" data-sentence-id="70530" class="ldml-sentence"&gt;In my opinion, &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; fits nicely within at least two of these categories—categories &lt;span class="ldml-parenthetical"&gt;(2)&lt;/span&gt; and &lt;span class="ldml-parenthetical"&gt;(3)&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="70630" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="70630" data-sentence-id="70630" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_70630"&gt;&lt;span class="ldml-cite"&gt;¶94&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; First, the mutual intent and agreement requirement is a previously existing, independent legal basis for denying relief in &lt;span class="ldml-entity"&gt;this case&lt;/span&gt;: Pyfer cannot demonstrate that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; and LaFleur mutually intended and agreed to enter into the legal relationship of marriage under Colorado law prior to &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_70630"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; .&lt;/span&gt; &lt;span data-paragraph-id="70630" data-sentence-id="70932" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-signal"&gt;&lt;i class="ldml-italics"&gt;See&lt;/i&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_70630"&gt;&lt;span class="ldml-cite"&gt;Colo. Const. art. 2, § 31&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_70630"&gt;&lt;span class="ldml-cite"&gt;§ 14-2-104&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="70975" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="70975" data-sentence-id="70975" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_70975"&gt;&lt;span class="ldml-cite"&gt;¶95&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Second, the general rule requiring Pyfer and LaFleur to have mutually intended and agreed to enter into the legal relationship of marriage, &lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888175630" data-vids="888175630" class="ldml-reference" data-prop-ids="sentence_70975"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Lucero&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;747 P.2d at 663&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, is well-established and reflects reliance interests and other significant policy considerations.&lt;/span&gt; &lt;span data-paragraph-id="70975" data-sentence-id="71247" class="ldml-sentence"&gt;Indeed, requiring mutual intent and agreement to enter into the legal relationship of marriage ensures that couples are on notice that legal consequences could flow from the relationship.&lt;/span&gt; &lt;span data-paragraph-id="70975" data-sentence-id="71435" class="ldml-sentence"&gt;Without it, someone like LaFleur could unwittingly enter into a marital relationship that's explicitly deemed invalid by the law, only to find out more than a decade later when the relationship fails that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; is nevertheless subject to significant legal consequences in a dissolution proceeding.&lt;/span&gt; &lt;span data-paragraph-id="70975" data-sentence-id="71730" class="ldml-sentence"&gt;The due process concerns inherent in this type of after-the-fact surprise cannot be brushed aside.&lt;/span&gt; &lt;span data-paragraph-id="70975" data-sentence-id="71829" class="ldml-sentence"&gt;Yet, that's precisely what the majority does.&lt;/span&gt; &lt;span data-paragraph-id="70975" data-sentence-id="71875" class="ldml-sentence"&gt;The majority dismisses LaFleur's accurate assertion that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; and Pyfer could not have mutually intended or agreed to enter into a legally binding marriage because the idea of a same-sex couple entering into a lawful marriage in Colorado in &lt;span class="ldml-entity"&gt;2003&lt;/span&gt; was unthinkable.&lt;/span&gt; &lt;span data-paragraph-id="70975" data-sentence-id="72136" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_71875"&gt;&lt;span class="ldml-cite"&gt;Maj. op. ¶ 39 n.5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="72154" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="72154" data-sentence-id="72154" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_72154"&gt;&lt;span class="ldml-cite"&gt;¶96&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Notably, I'm not alone in thinking that the mutual intent and agreement requirement throws a monkey wrench into the majority's analysis.&lt;/span&gt; &lt;span data-paragraph-id="72154" data-sentence-id="72295" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;A panel of the Court of Appeals of South Carolina&lt;/span&gt; is in the same camp.&lt;/span&gt; &lt;span data-paragraph-id="72154" data-sentence-id="72366" class="ldml-sentence"&gt;Its recent &lt;span class="ldml-entity"&gt;decision in &lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-val="892" data-id="pagenumber_72389" data-rep="P.3d" data-vol="479"&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889261868" data-vids="889261868" class="ldml-reference" data-prop-ids="sentence_72366"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Swicegood v. Thompson&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;431 S.C. 130&lt;/span&gt;, &lt;span class="ldml-cite"&gt;847 S.E.2d 104&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;S.C. App.&lt;/span&gt; &lt;span class="ldml-date"&gt;2020&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, is illuminating.&lt;/span&gt; &lt;span data-paragraph-id="72154" data-sentence-id="72478" class="ldml-sentence"&gt;There, as here, at the time the same-sex couple agreed to live as a married couple, both &lt;span class="ldml-entity"&gt;parties&lt;/span&gt; were aware that state law prohibited same-sex marriage.&lt;/span&gt; &lt;span data-paragraph-id="72154" data-sentence-id="72631" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889261868" data-vids="889261868" class="ldml-reference" data-prop-ids="sentence_72478"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 113&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="72154" data-sentence-id="72643" class="ldml-sentence"&gt;Though &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; determined that &lt;span class="ldml-entity"&gt;the Supreme Court&lt;/span&gt;'s jurisprudence on retroactivity compelled &lt;span class="ldml-quotation quote"&gt;"the conclusion &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_72643"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; must be applied retroactively,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889261868" data-vids="889261868" class="ldml-reference" data-prop-ids="sentence_72643"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;id.&lt;/i&gt; at 110&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, it held that retroactive application of the decision was not dispositive, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889261868" data-vids="889261868" class="ldml-reference" data-prop-ids="sentence_72643"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;id.&lt;/i&gt; at 110–12&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="72154" data-sentence-id="72897" class="ldml-sentence"&gt;In so doing, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; focused in part on the mutual intent and agreement requirement of common law marriage in South Carolina:&lt;/span&gt;&lt;/p&gt;&lt;blockquote data-paragraph-id="b_73024" class="ldml-blockquote"&gt;&lt;span data-sentence-id="73024" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;A party&lt;/span&gt; ... must at least know that his actions will render him married as that word is commonly understood.&lt;/span&gt; &lt;span data-sentence-id="73133" class="ldml-sentence"&gt;&lt;i class="ldml-italics"&gt;If &lt;span class="ldml-entity"&gt;a party&lt;/span&gt; does not comprehend that his intentions and actions will bind him in a legally binding marital relationship, then &lt;span class="ldml-entity"&gt;he&lt;/span&gt; lacks intent to be married.&lt;/i&gt;&lt;/span&gt; &lt;span data-sentence-id="73289" class="ldml-sentence"&gt;The proponent of the alleged marriage has the burden of proving the elements by a preponderance of the evidence.&lt;/span&gt;&lt;/blockquote&gt;&lt;p data-paragraph-id="73401" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="73401" data-sentence-id="73402" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889261868" data-vids="889261868" class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt; at 113&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;emphasis added&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-referencenote"&gt;internal quotation marks and citations omitted&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="73401" data-sentence-id="73480" class="ldml-sentence"&gt;Because both &lt;span class="ldml-entity"&gt;parties&lt;/span&gt; knew that South Carolina law prevented them from lawfully marrying in that state during their relationship, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; found that, as a matter of law, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"could not have formed the intent and mutual agreement to enter a legally binding marital relationship."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="73401" data-sentence-id="73761" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889261868" data-vids="889261868" class="ldml-reference" data-prop-ids="sentence_73480"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="73401" data-sentence-id="73765" class="ldml-sentence"&gt;Therefore, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; could not have been common law married during that timeframe.&lt;/span&gt; &lt;span data-paragraph-id="73401" data-sentence-id="73843" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889261868" data-vids="889261868" class="ldml-reference" data-prop-ids="sentence_73765"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="73846" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="73846" data-sentence-id="73846" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_73846"&gt;&lt;span class="ldml-cite"&gt;¶97&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; So it is here.&lt;/span&gt; &lt;span data-paragraph-id="73846" data-sentence-id="73865" class="ldml-sentence"&gt;Prior to &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_73865"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , Pyfer and LaFleur were both aware that &lt;span class="ldml-entity"&gt;they&lt;/span&gt; could not enter into the legal relationship of marriage in Colorado.&lt;/span&gt; &lt;span data-paragraph-id="73846" data-sentence-id="74000" class="ldml-sentence"&gt;Consequently, as a matter of law, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; could not have mutually intended or agreed to be in a legally binding marital relationship before &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_74000"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; .&lt;/span&gt; &lt;span data-paragraph-id="73846" data-sentence-id="74150" class="ldml-sentence"&gt;Pyfer and LaFleur could not have intended or agreed to enter into the legal relationship of marriage in &lt;span class="ldml-entity"&gt;2003&lt;/span&gt; any more than a driver with a revoked driver's license can intend to drive legally.&lt;/span&gt; &lt;span data-paragraph-id="73846" data-sentence-id="74343" class="ldml-sentence"&gt;That's true even if the law that prohibits driving with a revoked driver's license is declared unconstitutional at some point in the future and that change is applied retroactively.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="74524" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="74524" data-sentence-id="74524" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_74524"&gt;&lt;span class="ldml-cite"&gt;¶98&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Perhaps recognizing the problems inherent in retroactively imputing to Pyfer and LaFleur the required intent to be legally married when &lt;span class="ldml-entity"&gt;they&lt;/span&gt; could not have known that their marriage would subject them to any legal consequences, the majority plucks a new rule out of thin air.&lt;/span&gt; &lt;span data-paragraph-id="74524" data-sentence-id="74804" class="ldml-sentence"&gt;It declares, rather paradoxically, that, while Pyfer and LaFleur must have intended and agreed to enter into &lt;span class="ldml-quotation quote"&gt;"the &lt;i class="ldml-italics"&gt;legal&lt;/i&gt; and social &lt;i class="ldml-italics"&gt;institution&lt;/i&gt; of marriage,"&lt;/span&gt; maj. &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;op. ¶ 4&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-cert"&gt;quoting&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Hogsett&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;¶ 49&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;( &lt;span class="ldml-referencenote"&gt;emphases added&lt;/span&gt;)&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;they&lt;/span&gt; need not have intended or agreed to incur &lt;span class="ldml-quotation quote"&gt;"the &lt;i class="ldml-italics"&gt;legal consequences&lt;/i&gt; of a marital relationship,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_74804"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;at ¶ 39&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="74524" data-sentence-id="75130" class="ldml-sentence"&gt;But the majority's unprecedented and troubling approach begs the following question: How can a couple intend and agree to enter into a legal marriage without intending and agreeing to incur the legal consequences that flow from entering into such a marriage?&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="75388" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="75388" data-sentence-id="75388" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_75388"&gt;&lt;span class="ldml-cite"&gt;¶99&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; The majority attempts to justify its holding by speculating that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[m]&lt;/span&gt;any couples may not appreciate or intend the legal consequences of entering into a marital relationship, or anticipate the ways in which those consequences may shift over time as the law evolves."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="75388" data-sentence-id="75658" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_75388"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="75388" data-sentence-id="75662" class="ldml-sentence"&gt;However, in the same breath that it questions an average couple's awareness of the legal consequences of entering into a legal marital relationship, the majority unrealistically attributes to LaFleur knowledge of a &lt;span class="ldml-entity"&gt;federal court&lt;/span&gt; in a different state striking down a ban on same-sex marriage, and then unfairly penalizes him for failing to presciently anticipate that Colorado law would undergo a similar seismic change.&lt;/span&gt; &lt;span data-paragraph-id="75388" data-sentence-id="76082" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_75662"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;Id.&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;at ¶ 39 n.5&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="75388" data-sentence-id="76099" class="ldml-sentence"&gt;The majority cannot have its cake and eat it too.&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="76148" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="76148" data-sentence-id="76148" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_76148"&gt;&lt;span class="ldml-cite"&gt;¶100&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Moreover, even assuming that not every single couple possesses &lt;span class="ldml-quotation quote"&gt;"detailed knowledge of and intent to obtain all the legal consequences that attach to marriage,"&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Hogsett&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;¶ 54&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, that can hardly support the majority's incongruous conclusion.&lt;/span&gt; &lt;span data-paragraph-id="76148" data-sentence-id="76392" class="ldml-sentence"&gt;The vast majority of couples who enter into a legal marital relationship appreciate and intend that some significant legal consequences will flow from that choice.&lt;/span&gt; &lt;span data-paragraph-id="76148" data-sentence-id="76556" class="ldml-sentence"&gt;Surely the majority doesn't mean to suggest that the average person is unaware that entering into a legal marriage may result in the division of marital property, lead to an award of spousal maintenance, and implicate child custody and child support issues.&lt;span class="ldml-pagenumber" data-page_type="bracketed_cite" data-val="893" data-id="pagenumber_76813" data-rep="P.3d" data-vol="479"&gt;&lt;/span&gt;&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="76813" class="ldml-paragraph "&gt; &lt;span data-paragraph-id="76813" data-sentence-id="76814" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_76814"&gt;&lt;span class="ldml-cite"&gt;¶101&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; In sum, I commend the majority's efforts to avoid perpetuating the exclusionary marriage regime &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_76814"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; struck down.&lt;/span&gt; &lt;span data-paragraph-id="76813" data-sentence-id="76939" class="ldml-sentence"&gt;But giving effect to our common law on the mutual intent and agreement requirement in no way does so.&lt;a href="#note-fr_5" class="ldml-noteanchor" id="note-ref-fr_5"&gt;5&lt;/a&gt;&lt;/span&gt; &lt;span data-paragraph-id="76813" data-sentence-id="77041" class="ldml-sentence"&gt;Rather, it properly guarantees that any &lt;span class="ldml-entity"&gt;party&lt;/span&gt; with exposure to a legal dissolution proceeding goes into a marital relationship with eyes wide open.&lt;/span&gt; &lt;span data-paragraph-id="76813" data-sentence-id="77189" class="ldml-sentence"&gt;If, in the event a marriage fails, someone like LaFleur may be forced to go through a legal dissolution proceeding and face consequences such as property division and spousal maintenance, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; should demand that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; be on notice of that up front.&lt;/span&gt; &lt;span data-paragraph-id="76813" data-sentence-id="77433" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;He&lt;/span&gt;'s entitled to be alerted by the law that if &lt;span class="ldml-entity"&gt;he&lt;/span&gt; chooses to enter into the legal relationship of marriage, &lt;span class="ldml-entity"&gt;he&lt;/span&gt; will be subject to the legal rights, benefits, and consequences that are triggered by that choice.&lt;/span&gt; &lt;span data-paragraph-id="76813" data-sentence-id="77643" class="ldml-sentence"&gt;The majority's newly minted framework robs LaFleur of that opportunity.&lt;/span&gt; &lt;span data-paragraph-id="76813" data-sentence-id="77715" class="ldml-sentence"&gt;To the extent &lt;span class="ldml-entity"&gt;he&lt;/span&gt; feels duped by the system, I can hardly blame him.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-section"&gt;&lt;section class="ldml-heading content__heading content__heading--depth1" data-content-heading-label="III. Conclusion" data-types="conclusion" data-format="upper_case_roman_numeral" data-ordinal_end="3" data-confidences="very_high" data-id="heading_77782" data-value="III. Conclusion" data-specifier="III" data-ordinal_start="3" id="heading_77782" data-parsed="true"&gt;&lt;span data-paragraph-id="77782" class="ldml-paragraph "&gt;&lt;b class="ldml-bold"&gt;&lt;span data-paragraph-id="77782" data-sentence-id="77782" class="ldml-sentence"&gt;III.&lt;/span&gt; &lt;span data-paragraph-id="77782" data-sentence-id="77787" class="ldml-sentence"&gt;Conclusion&lt;/span&gt;&lt;/b&gt;&lt;/span&gt;&lt;/section&gt;&lt;p data-paragraph-id="77797" class="ldml-paragraph "&gt;&lt;span data-paragraph-id="77797" data-sentence-id="77797" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_77797"&gt;&lt;span class="ldml-cite"&gt;¶102&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; Because I disagree with the majority that, post- &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_77797"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , &lt;span class="ldml-entity"&gt;a court&lt;/span&gt; can somehow transform a pre- &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_77797"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; same-sex marital relationship in Colorado from one lacking legal effect to one that was legally binding from the moment of inception, I respectfully dissent.&lt;/span&gt; &lt;span data-paragraph-id="77797" data-sentence-id="78070" class="ldml-sentence"&gt;I would reverse and remand with instructions to return &lt;span class="ldml-entity"&gt;the case&lt;/span&gt; to &lt;span class="ldml-entity"&gt;the district court&lt;/span&gt; to determine whether &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; mutually intended and agreed to be in a &lt;i class="ldml-italics"&gt;legal&lt;/i&gt; marital relationship and were in a common law marriage after &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_78070"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; was decided in &lt;span class="ldml-entity"&gt;June 2015&lt;/span&gt;.&lt;a href="#note-fr_6" class="ldml-noteanchor" id="note-ref-fr_6"&gt;6&lt;/a&gt;&lt;/span&gt; &lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;div class="ldml-notes content__heading content__heading--depth1" data-content-heading-label="Footnotes"&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="78333" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr1" class="ldml-notemarker" id="note-fr1"&gt;1&lt;/a&gt; &lt;span data-paragraph-id="78333" data-sentence-id="78334" class="ldml-sentence"&gt;As discussed in this opinion, &lt;i class="ldml-italics"&gt;infra&lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_78334"&gt;&lt;span class="ldml-cite"&gt;¶¶ 30–31&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, Colorado recognized same-sex marriage approximately eight months before &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_78334"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; did so nationwide.&lt;/span&gt; &lt;span data-paragraph-id="78333" data-sentence-id="78482" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; nevertheless use the phrase &lt;span class="ldml-quotation quote"&gt;"pre-&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_78482"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; "&lt;/span&gt; in this opinion as shorthand to refer generally to the time predating states’ &lt;span class="ldml-parenthetical"&gt;(including Colorado's)&lt;/span&gt; recognition of same-sex couples’ fundamental right to marry.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="78692" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr2" class="ldml-notemarker" id="note-fr2"&gt;2&lt;/a&gt; &lt;span data-paragraph-id="78692" data-sentence-id="78693" class="ldml-sentence"&gt;Though the couple challenged &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; on equal protection grounds, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; rejected their argument.&lt;/span&gt; &lt;span data-paragraph-id="78692" data-sentence-id="78791" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/887589916" data-vids="887589916" class="ldml-reference" data-prop-ids="embeddedsentence_78818,sentence_78693"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Jackson&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;124 P.2d at 241&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;concluding that &lt;span class="ldml-entity"&gt;the statute&lt;/span&gt; did not discriminate on the basis of race because &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[t]&lt;/span&gt;he &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; applies to both white and black"&lt;/span&gt; persons&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="78692" data-sentence-id="78954" class="ldml-sentence"&gt;Today, &lt;span class="ldml-entity"&gt;we&lt;/span&gt; disavow our &lt;span class="ldml-entity"&gt;decision in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/887589916" data-vids="887589916" class="ldml-reference" data-prop-ids="sentence_78954"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Jackson&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; and our failure in &lt;span class="ldml-entity"&gt;that case&lt;/span&gt; to recognize the racism animating Colorado's anti-miscegenation &lt;span class="ldml-entity"&gt;statute&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="79097" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr3" class="ldml-notemarker" id="note-fr3"&gt;3&lt;/a&gt; &lt;span data-paragraph-id="79097" data-sentence-id="79098" class="ldml-sentence"&gt;Ultimately, Hawaii voters approved &lt;span class="ldml-entity"&gt;an amendment&lt;/span&gt; to &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; &lt;span class="ldml-entity"&gt;constitution&lt;/span&gt; empowering &lt;span class="ldml-entity"&gt;the legislature&lt;/span&gt; to &lt;span class="ldml-quotation quote"&gt;"reserve marriage to opposite-sex couples."&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="79097" data-sentence-id="79246" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_79098"&gt;&lt;span class="ldml-cite"&gt;Haw. Const. art. I, § 23&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="79097" data-sentence-id="79272" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;Hawaii Supreme Court&lt;/span&gt; subsequently concluded that &lt;span class="ldml-entity"&gt;the state&lt;/span&gt; constitutional &lt;span class="ldml-entity"&gt;amendment&lt;/span&gt; rendered the challenge to the marriage &lt;span class="ldml-entity"&gt;statute&lt;/span&gt; moot.&lt;/span&gt; &lt;span data-paragraph-id="79097" data-sentence-id="79413" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_79272" data-refglobal="case:baehrvmiike,no20371,1999wl35643448,at1hawdec9,1999sdo"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Baehr v. Miike&lt;/i&gt; , No. 91-1394-05&lt;/span&gt;, &lt;span class="ldml-cite"&gt;1999 WL 35643448, at *1&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Haw.&lt;/span&gt; &lt;span class="ldml-date"&gt;Dec. 9, 1999&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="79490" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr4" class="ldml-notemarker" id="note-fr4"&gt;4&lt;/a&gt; &lt;span data-paragraph-id="79490" data-sentence-id="79491" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_79491"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; involved a collection of &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; that originated in Michigan, Kentucky, Ohio, and Tennessee and were brought by fourteen same-sex couples and two men whose same-sex partners were deceased.&lt;/span&gt; &lt;span data-paragraph-id="79490" data-sentence-id="79689" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_79491"&gt;&lt;span class="ldml-cite"&gt;576 U.S. at 652–53&lt;/span&gt;, &lt;span class="ldml-cite"&gt;135 S.Ct. 2584&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="79724" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr5" class="ldml-notemarker" id="note-fr5"&gt;5&lt;/a&gt; &lt;span data-paragraph-id="79724" data-sentence-id="79725" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; disagree with LaFleur's attempt to paint lawful same-sex marriage as an unthinkable turn of events at the time of &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt;’ ceremony, given that &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888558268" data-vids="888558268" class="ldml-reference" data-prop-ids="sentence_79725"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Goodridge&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; opinion&lt;/span&gt; that struck down Massachusetts's same-sex marriage ban had been announced just two weeks earlier and was widely reported.&lt;/span&gt; &lt;span data-paragraph-id="79724" data-sentence-id="80020" class="ldml-sentence"&gt;&lt;i class="ldml-italics"&gt;See, e.g.&lt;/i&gt; , &lt;i class="ldml-italics"&gt;Gay-Marriage Ruling Hits Home—Both Sides See Extended Fight over Issue in Colorado&lt;/i&gt; , Denver Post, &lt;span class="ldml-entity"&gt;Nov. 20, 2003&lt;/span&gt;, at B-01, NewsBank &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-relatingauthority"&gt;explaining&lt;/span&gt; that &lt;span class="ldml-quotation quote"&gt;"&lt;span class="ldml-parenthetical"&gt;[v]&lt;/span&gt;olleys were already being fired between pro- and anti-gay rights factions &lt;span class="ldml-parenthetical"&gt;[in Colorado]&lt;/span&gt;, fewer than 24 hours after the controversial ruling by the &lt;span class="ldml-entity"&gt;Massachusetts Supreme Court&lt;/span&gt;"&lt;/span&gt; and speculating that &lt;span class="ldml-quotation quote"&gt;"the Massachusetts decision will serve as a launching pad"&lt;/span&gt; for the invalidation of similar state and federal laws)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_80020"&gt;&lt;span class="ldml-refname"&gt;Peggy Lowe &amp; M.E. Sprengelmeyer, &lt;i class="ldml-italics"&gt;State Split on Gay Ruling—Massachusetts Court Leaves Some Happy, Others Steaming&lt;/i&gt; , Rocky Mountain News&lt;/span&gt;, &lt;span class="ldml-date"&gt;Nov. 19, 2003&lt;/span&gt;, &lt;span class="ldml-cite"&gt;at 5A&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, NewsBank; &lt;span class="ldml-entity"&gt;David Von Drehle&lt;/span&gt;, &lt;i class="ldml-italics"&gt;Gay Marriage is a Right, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_80020"&gt;&lt;span class="ldml-cite"&gt;Massachusetts Court Rules&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/i&gt; , Wash. Post &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;Nov. 19, 2003&lt;/span&gt;)&lt;/span&gt;, https://www.washingtonpost.com/archive/politics/&lt;span class="ldml-entity"&gt;2003&lt;/span&gt;/11/19/gay-marriage-is-a-right-massachusetts-&lt;span class="ldml-entity"&gt;court&lt;/span&gt;-rules/98368878-a113-4710-9813-7c98ac5630d9/ &lt;span class="ldml-parenthetical"&gt;[https://perma.cc/QM7Q-SV27]&lt;/span&gt;; &lt;span class="ldml-entity"&gt;Elizabeth Mehren&lt;/span&gt;, &lt;i class="ldml-italics"&gt;Mass. High &lt;span class="ldml-entity"&gt;Court&lt;/span&gt; Backs Gay Marriage&lt;/i&gt; , L.A. Times &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;Nov. 19, 2003&lt;/span&gt;)&lt;/span&gt;, https://www.latimes.com/archives/la-xpm-&lt;span class="ldml-entity"&gt;2003&lt;/span&gt;-nov-19-na-marriage19-story.html &lt;span class="ldml-parenthetical"&gt;[https://perma.cc/BPG8-E9TR]&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="81132" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr6" class="ldml-notemarker" id="note-fr6"&gt;6&lt;/a&gt; &lt;span data-paragraph-id="81132" data-sentence-id="81133" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The parties&lt;/span&gt; briefed &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; under the standards governing retroactivity that &lt;span class="ldml-entity"&gt;this court&lt;/span&gt; identified in &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/889451134" data-vids="889451134" class="ldml-reference" data-prop-ids="sentence_81133"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Marinez v. Industrial Commission of the State of Colorado&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;746 P.2d 552, 556&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1987&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;applying the factors from &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;U.S. Supreme Court&lt;/span&gt; decision in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889190574" data-vids="889190574" class="ldml-reference" data-prop-ids="embeddedsentence_81329"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Chevron Oil Co. v. Huson&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;404 U.S. 97&lt;/span&gt;, &lt;span class="ldml-cite"&gt;92 S.Ct. 349&lt;/span&gt;, &lt;span class="ldml-cite"&gt;30 L.Ed.2d 296&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1971&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt; &lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="81132" data-sentence-id="81469" class="ldml-sentence"&gt;However, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889451134" data-vids="889451134" class="ldml-reference" data-prop-ids="sentence_81469"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Marinez&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; involved &lt;span class="ldml-entity"&gt;a &lt;span class="ldml-entity"&gt;&lt;i class="ldml-italics"&gt;state&lt;/i&gt; court&lt;/span&gt; ruling&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="81132" data-sentence-id="81517" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; have relied on &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889190574" data-vids="889190574" class="ldml-reference" data-prop-ids="sentence_81517"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Chevron Oil&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; factors&lt;/span&gt; in determining whether to apply &lt;span class="ldml-entity"&gt;a &lt;span class="ldml-entity"&gt;state court&lt;/span&gt; ruling&lt;/span&gt; retroactively, &lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/888689735" data-vids="888689735" class="ldml-reference" data-prop-ids="sentence_81517"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Martin Marietta Corp. v. Lorenz&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;823 P.2d 100, 112 n.7&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-court"&gt;Colo.&lt;/span&gt; &lt;span class="ldml-date"&gt;1992&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;continuing &lt;span class="ldml-quotation quote"&gt;"to adhere to &lt;span class="ldml-entity"&gt;the &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889190574" data-vids="889190574" class="ldml-reference" data-prop-ids="embeddedsentence_81702"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Chevron&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; analysis&lt;/span&gt; in resolving the issue of retroactive or prospective application of &lt;span class="ldml-parenthetical"&gt;[a]&lt;/span&gt; state judicial decision"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="81132" data-sentence-id="81847" class="ldml-sentence"&gt;But &lt;span class="ldml-entity"&gt;this case&lt;/span&gt; concerns retroactive application of a question of &lt;i class="ldml-italics"&gt;federal&lt;/i&gt; constitutional law.&lt;/span&gt; &lt;span data-paragraph-id="81132" data-sentence-id="81939" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;We&lt;/span&gt; are therefore bound by the &lt;span class="ldml-entity"&gt;U.S. Supreme Court&lt;/span&gt;'s &lt;span class="ldml-entity"&gt;case law&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="81132" data-sentence-id="82000" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886836134" data-vids="886836134" class="ldml-reference" data-prop-ids="embeddedsentence_82060,sentence_81939"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Beam Distilling Co.&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;501 U.S. at 544&lt;/span&gt;, &lt;span class="ldml-cite"&gt;111 S.Ct. 2439&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;deviating from the &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889190574" data-vids="889190574" class="ldml-reference" data-prop-ids="sentence_81939"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Chevron Oil&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; retroactivity analysis&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="82115" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr7" class="ldml-notemarker" id="note-fr7"&gt;7&lt;/a&gt; &lt;span data-paragraph-id="82115" data-sentence-id="82116" class="ldml-sentence"&gt;Though this approach &lt;span class="ldml-quotation quote"&gt;"has been attacked for its failure to take account of reliance on"&lt;/span&gt; now-changed law, &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886836134" data-vids="886836134" class="ldml-reference" data-prop-ids="sentence_82116"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Beam Distilling Co.&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;501 U.S. at 536&lt;/span&gt;, &lt;span class="ldml-cite"&gt;111 S.Ct. 2439&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, it comports with the declaratory theory of law that judges &lt;span class="ldml-quotation quote"&gt;"find the law"&lt;/span&gt; rather than &lt;span class="ldml-quotation quote"&gt;"make it"&lt;/span&gt; or amend it, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/886836134" data-vids="886836134" class="ldml-reference" data-prop-ids="sentence_82116"&gt;&lt;span class="ldml-cite"&gt;&lt;i class="ldml-italics"&gt;id.&lt;/i&gt; at 535–36&lt;/span&gt;, &lt;span class="ldml-cite"&gt;111 S.Ct. 2439&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt; &lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;see also&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/886836134" data-vids="886836134" class="ldml-reference" data-prop-ids="sentence_82116"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;James B. Beam Distilling Co. v. Georgia&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;501 U.S. 529, 549&lt;/span&gt;, &lt;span class="ldml-cite"&gt;111 S.Ct. 2439&lt;/span&gt;, &lt;span class="ldml-cite"&gt;115 L.Ed.2d 481&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;1991&lt;/span&gt;)&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(Scalia, J., concurring)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;&lt;span class="ldml-relatingauthority"&gt;observing&lt;/span&gt; that judges &lt;span class="ldml-quotation quote"&gt;"make"&lt;/span&gt; the law only insofar as &lt;span class="ldml-entity"&gt;they&lt;/span&gt; &lt;span class="ldml-quotation quote"&gt;"find"&lt;/span&gt; it, &lt;span class="ldml-quotation quote"&gt;"discerning what the law &lt;i class="ldml-italics"&gt;is&lt;/i&gt; , rather than decreeing what it is today &lt;i class="ldml-italics"&gt;changed to&lt;/i&gt; , or what it will &lt;i class="ldml-italics"&gt;tomorrow&lt;/i&gt; be"&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;span class="ldml-referenceseparator"&gt;;&lt;/span&gt;&lt;/span&gt; &lt;span class="ldml-entity"&gt;Kermit Roosevelt III&lt;/span&gt;, &lt;i class="ldml-italics"&gt;A Retroactivity Retrospective, with Thoughts for the Future: What &lt;span class="ldml-entity"&gt;the Supreme Court&lt;/span&gt; Learned from &lt;span class="ldml-entity"&gt;Paul Mishkin&lt;/span&gt; and What it &lt;/i&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Might&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;95 Cal. L. Rev. 1677, 1680–81&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-date"&gt;2007&lt;/span&gt;)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"&lt;span class="ldml-parenthetical"&gt;[T]&lt;/span&gt;he &lt;span class="ldml-entity"&gt;Court&lt;/span&gt; has no power to make law; law's source is never &lt;span class="ldml-entity"&gt;the Court&lt;/span&gt;.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;An overruled decision is thus simply mistaken, and once the overruling &lt;span class="ldml-entity"&gt;court&lt;/span&gt; recognizes the mistake, it must also conclude that the law has always been what it is now declared to be."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;span data-paragraph-id="82115" data-sentence-id="83181" class="ldml-sentence"&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="83182" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr8" class="ldml-notemarker" id="note-fr8"&gt;8&lt;/a&gt; &lt;span data-paragraph-id="83182" data-sentence-id="83183" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The court of appeals&lt;/span&gt; division in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895630156" data-vids="895630156" class="ldml-reference" data-prop-ids="sentence_83183"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Hogsett&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; arrived at the same conclusion.&lt;/span&gt; &lt;span data-paragraph-id="83182" data-sentence-id="83256" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_83183" data-refglobal="case:inremarriageofhogsettneale,2018coa176"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;In re Marriage of Hogsett &amp; Neale&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;2018 COA 176&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;, &lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="sentence_83183"&gt;&lt;span class="ldml-cite"&gt;¶ 22&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;&lt;/span&gt;, &lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_83326" data-refglobal="case:inrethemarriageofhogsettvnealeno17ca1484480p3d696december13,2018"&gt;&lt;span class="ldml-cite"&gt;480 P.3d 696&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"Inherent in our conclusion is the recognition that &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; applies retroactively in determining the existence of a common law marriage."&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;span data-paragraph-id="83182" data-sentence-id="83467" class="ldml-sentence"&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="83468" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr9" class="ldml-notemarker" id="note-fr9"&gt;9&lt;/a&gt; &lt;span data-paragraph-id="83468" data-sentence-id="83469" class="ldml-sentence"&gt;This fact distinguishes South Carolina's same-sex marriage ban from other &lt;span class="ldml-quotation quote"&gt;"impediments"&lt;/span&gt; to marriage discussed by &lt;span class="ldml-entity"&gt;the court&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="83468" data-sentence-id="83593" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;i class="ldml-italics"&gt;&lt;span class="ldml-signal"&gt;See&lt;/span&gt; &lt;/i&gt; &lt;span class="ldml-entity"&gt;&lt;a href="/vid/889261868" data-vids="889261868" class="ldml-reference" data-prop-ids="embeddedsentence_83629,sentence_83469"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Swicegood&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;847 S.E.2d at 109&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;discussing impediments such as where one &lt;span class="ldml-entity"&gt;party&lt;/span&gt; has an existing marriage or where &lt;span class="ldml-entity"&gt;the parties&lt;/span&gt; reside in a jurisdiction that does not recognize common law marriage&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="83792" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr10" class="ldml-notemarker" id="note-fr10"&gt;10&lt;/a&gt; &lt;span data-paragraph-id="83792" data-sentence-id="83793" class="ldml-sentence"&gt;On remand, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; should consider each &lt;span class="ldml-entity"&gt;party&lt;/span&gt;'s financial, emotional, and other contributions to the relationship.&lt;/span&gt; &lt;span data-paragraph-id="83792" data-sentence-id="83910" class="ldml-sentence"&gt;For example, at the permanent orders hearing, &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; noted that Pyfer stayed home and did not work or pay rent to LaFleur.&lt;/span&gt; &lt;span data-paragraph-id="83792" data-sentence-id="84036" class="ldml-sentence"&gt;Yet in marital relationships, one spouse often financially supports the other.&lt;/span&gt; &lt;span data-paragraph-id="83792" data-sentence-id="84115" class="ldml-sentence"&gt;Having concluded that Pyfer and LaFleur had entered into a common law marriage, it is not clear why &lt;span class="ldml-entity"&gt;the court&lt;/span&gt; expected one spouse to pay rent to the other to live in the couple's marital home.&lt;/span&gt; &lt;span data-paragraph-id="83792" data-sentence-id="84308" class="ldml-sentence"&gt;Moreover, the fact that Pyfer did not hold a steady job does not mean &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did not contribute to the marital relationship in a meaningful way, nor should the fact that &lt;span class="ldml-entity"&gt;he&lt;/span&gt; did not work be held against Pyfer in equitably distributing the marital assets and debts or awarding spousal maintenance.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="84599" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr_1" class="ldml-notemarker" id="note-fr_1"&gt;1&lt;/a&gt; &lt;span data-paragraph-id="84599" data-sentence-id="84600" class="ldml-sentence"&gt;No one asserts that common law divorce exists; and no one would reasonably argue that infidelity, separation, or other conduct inconsistent with marriage would constitute evidence that &lt;span class="ldml-entity"&gt;parties&lt;/span&gt; did not originally intend to be married—especially after the couple had a wedding ceremony.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="84884" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr_1" class="ldml-notemarker" id="note-fr_1"&gt;1&lt;/a&gt; &lt;span data-paragraph-id="84884" data-sentence-id="84885" class="ldml-sentence"&gt;The majority points out that in &lt;span class="ldml-entity"&gt;2014&lt;/span&gt;, eight months before &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_84885"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , two Tenth Circuit &lt;span class="ldml-entity"&gt;cases&lt;/span&gt; out of Utah and Oklahoma had effectively declared Colorado's prohibition on same-sex marriage unconstitutional.&lt;/span&gt; &lt;span data-paragraph-id="84884" data-sentence-id="85092" class="ldml-sentence"&gt;&lt;span class="ldml-referencechain"&gt;&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference" data-prop-ids="embeddedsentence_85107,sentence_84885"&gt;&lt;span class="ldml-cite"&gt;Maj. op. ¶ 30&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-embeddedsentence"&gt;indicating that &lt;span class="ldml-quotation quote"&gt;"Colorado began to recognize same-sex marriages"&lt;/span&gt; in &lt;span class="ldml-entity"&gt;October 2014&lt;/span&gt;&lt;/span&gt;)&lt;/span&gt;&lt;/span&gt;.&lt;/span&gt; &lt;span data-paragraph-id="84884" data-sentence-id="85190" class="ldml-sentence"&gt;Be that as it may, given the way &lt;span class="ldml-entity"&gt;we&lt;/span&gt; framed the question &lt;span class="ldml-entity"&gt;we&lt;/span&gt; agreed to review, I assume for purposes of this dissent that Colorado's prohibition on same-sex marriage became unconstitutional when &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_85190"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; was penned in &lt;span class="ldml-entity"&gt;June 2015&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="85418" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr_2" class="ldml-notemarker" id="note-fr_2"&gt;2&lt;/a&gt; &lt;span data-paragraph-id="85418" data-sentence-id="85419" class="ldml-sentence"&gt;I wholeheartedly agree with the concerns Justice Hart eloquently expresses about common law marriage in her special concurrence in &lt;span class="ldml-entity"&gt;&lt;a href="/vid/895630156" data-vids="895630156" class="ldml-reference" data-prop-ids="sentence_85419"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;In re Marriage of Hogsett &amp; Neale&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;2021 CO 1&lt;/span&gt;, &lt;span class="ldml-cite"&gt;478 P.3d 713&lt;/span&gt; &lt;span class="ldml-parenthetical"&gt;(Hart, J., specially concurring)&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="85643" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr_3" class="ldml-notemarker" id="note-fr_3"&gt;3&lt;/a&gt; &lt;span data-paragraph-id="85643" data-sentence-id="85644" class="ldml-sentence"&gt;Sisyphus was &lt;span class="ldml-quotation quote"&gt;&lt;span class="ldml-embeddedsentence"&gt;"a king in classic mythology who offended Zeus and was punished by being forced to roll an enormous boulder to the top of a steep hill.&lt;/span&gt; &lt;span class="ldml-embeddedsentence"&gt;Every time the boulder neared the top, it would roll back down, and Sisyphus would have to start over."&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; &lt;span data-paragraph-id="85643" data-sentence-id="85897" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;E.D. Hirsch, Jr.&lt;/span&gt; et al., &lt;i class="ldml-italics"&gt;The Dictionary of Cultural Literacy: What Every American Needs to Know&lt;/i&gt; 42 &lt;span class="ldml-parenthetical"&gt;(&lt;span class="ldml-entity"&gt;&lt;a class="ldml-reference"&gt;&lt;span class="ldml-cite"&gt;1st ed. 1988&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;)&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="86011" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr_4" class="ldml-notemarker" id="note-fr_4"&gt;4&lt;/a&gt; &lt;span data-paragraph-id="86011" data-sentence-id="86012" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;The Court&lt;/span&gt; cautioned that &lt;span class="ldml-quotation quote"&gt;"simple reliance"&lt;/span&gt; does not suffice to create a retroactivity exception.&lt;/span&gt; &lt;span data-paragraph-id="86011" data-sentence-id="86109" class="ldml-sentence"&gt;&lt;span class="ldml-entity"&gt;&lt;a href="/vid/891026221" data-vids="891026221" class="ldml-reference" data-prop-ids="sentence_86012"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Reynoldsville Casket&lt;/i&gt;&lt;/span&gt; , &lt;span class="ldml-cite"&gt;514 U.S. at 759&lt;/span&gt;, &lt;span class="ldml-cite"&gt;115 S.Ct. 1745&lt;/span&gt;&lt;/a&gt;&lt;/span&gt;.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="86164" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr_5" class="ldml-notemarker" id="note-fr_5"&gt;5&lt;/a&gt; &lt;span data-paragraph-id="86164" data-sentence-id="86165" class="ldml-sentence"&gt;Post-&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_86165"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; , same-sex couples must be allowed to enter into the lawful relationship of marriage.&lt;/span&gt; &lt;span data-paragraph-id="86164" data-sentence-id="86267" class="ldml-sentence"&gt;This includes same-sex couples who were unlawfully married pre-&lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_86267"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; .&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;div class="ldml-note ldml-note"&gt;&lt;p data-paragraph-id="86342" class="ldml-paragraph "&gt;&lt;sup class="ldml-superscript"&gt;&lt;/sup&gt;&lt;a href="#note-ref-fr_6" class="ldml-notemarker" id="note-fr_6"&gt;6&lt;/a&gt; &lt;span data-paragraph-id="86342" data-sentence-id="86343" class="ldml-sentence"&gt;The &lt;span class="ldml-entity"&gt;petition for marriage dissolution&lt;/span&gt; at the center of this appeal was filed by Pyfer in &lt;span class="ldml-entity"&gt;January 2018&lt;/span&gt;, almost two and a half years after &lt;span class="ldml-entity"&gt;&lt;a href="/vid/894234531" data-vids="894234531" class="ldml-reference" data-prop-ids="sentence_86343"&gt;&lt;span class="ldml-refname"&gt;&lt;i class="ldml-italics"&gt;Obergefell&lt;/i&gt;&lt;/span&gt;&lt;/a&gt;&lt;/span&gt; was announced.&lt;/span&gt;&lt;/p&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
 &lt;/div&gt;
&lt;/div&gt;